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                                          2010-2014
  Date                     From                            To                         Source
                                                                             Email - Electronic   Ticket
8/12/2010        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2202)
                                                                             Email - Electronic   Ticket
11/11/2010              Tehran, Iran                 Istanbul, Turkey
                                                                                     (GX2222)
                                                                             Email - Electronic   Ticket
11/12/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2222)
                                                                             Email - Electronic   Ticket
11/15/2010              Tehran, Iran                 Istanbul, Turkey
                                                                                     (GX2227)
                                                                             Email - Electronic   Ticket
12/11/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2235)
                                                                             Email - Electronic   Ticket
12/15/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2227)
                                                                             Email - Electronic   Ticket
 2/8/2011                London, UK                   Tehran, Iran
                                                                                     (GX2010)
                                                                             Email - Electronic   Ticket
2/17/2011               Tehran, Iran           Dubai, United Arab Emirates
                                                                                     (GX2012)
                                                                             Email - Electronic   Ticket
2/17/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2013)
                                                                             Email - Electronic   Ticket
2/19/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2012)
                                                                             Email - Electronic   Ticket
2/21/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX2209)
                                                                             Email - Electronic   Ticket
4/26/2011               Tehran, Iran           Dubai, United Arab Emirates
                                                                                     (GX2029)
                                                                             Email - Electronic   Ticket
4/30/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2029)
                                                                             Email - Electronic   Ticket
 5/4/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2035)
                                                                             Email - Electronic   Ticket
5/14/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2039)
                                                                             Email - Electronic   Ticket
5/18/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1104)
                                                                             Email - Electronic   Ticket
5/31/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1105)
                                                                             Email - Electronic   Ticket
6/19/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1104)
                                                                             Email - Electronic   Ticket
6/24/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2045)
                                                                             Email - Electronic   Ticket
6/28/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1106)
                                                                             Email - Electronic   Ticket
7/17/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2053)
                                                                             Email - Electronic   Ticket
7/31/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1105)
                                                                             Email - Electronic   Ticket
8/28/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1106)
                                                                             Email - Electronic   Ticket
9/17/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2067)
                                                                             Email - Electronic   Ticket
9/19/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1107)
                                                                             Email - Electronic   Ticket
9/28/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1107)
                                                                             Email - Electronic   Ticket
10/10/2011              Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1108)
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                                         2010-2014
  Date                    From                             To                   Source
                                                                       Email - Electronic Ticket
10/11/2011             Tehran, Iran              Istanbul, Turkey
                                                                               (GX1109)
                                                                       Email - Electronic Ticket
10/11/2011          Frankfurt, Germany                Tehran, Iran
                                                                               (GX1108)
                                                                       Email - Electronic Ticket
10/12/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX1109)
                                                                       Email - Electronic Ticket
10/13/2011             Tehran, Iran                  Vienna, Austria
                                                                               (GX1110)
                                                                       Email - Electronic Ticket
10/14/2011            Vienna, Austria                 Tehran, Iran
                                                                               (GX1110)
                                                                       Email - Electronic Ticket
11/10/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX2079)
                                                                       Email - Electronic Ticket
12/2/2011              Tehran, Iran              Istanbul, Turkey
                                                                               (GX2085)
                                                                       Email - Electronic Ticket
12/10/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX2085)
                                                                        Passport P95427954
4/10/2012                                             Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
4/11/2012              Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
 5/9/2012                                             Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
5/14/2012              Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport H95647761
 2/9/2014                                             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
2/12/2014              Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
10/8/2014                                             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
10/10/2014             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
12/13/2014                                            Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
12/15/2014             Tehran, Iran
                                                                             (GX206A-T)
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                                                           Clarity Fund Transvers via Stratus Global Investments
                                                                       Nov 24, 2011 - Dec 12, 2011
                         ORIGINATING         INTERMEDIARY                        BENEFICIARY
           DATE                                                                                                   CITY        COUNTRY          STATED PURPOSE                AMOUNT (USD)
                           PARTY                 PARTY                               PARTY
                                                                                                                                          Exchange of funds for Client
1    November 24, 2011     Clarity      Stratus Global Investments    GFH Short Interest Private Fund, Inc    Panama City      Panama                                    $       241,650.00
                                                                                                                                                    0045-7
                                                                                                                                          Exchange of funds for Client
2    November 24, 2011     Clarity      Stratus Global Investments    GFH Short Interest Private Fund, Inc    Panama City      Panama                                    $       238,155.00
                                                                                                                                                    0045-7
                                                                          Flores-Hidalgo Sociedades e
3    November 24, 2011     Clarity      Stratus Global Investments                                             Barcelona        Spain         Exchange of funds          $       439,150.50
                                                                                Inversiones, S.L.
                                                                                                                                               Legal Fees-Claims
4    November 25, 2011     Clarity      Stratus Global Investments             Apolo Zona Libre               Panama City      Panama                                    $       150,000.00
                                                                                                                                              Management-IPC19
                                                                                                                                               Legal Fees-Claims
5    November 25, 2011     Clarity      Stratus Global Investments         Samuel Carciente Sananes           Panama City      Panama                                    $       100,000.00
                                                                                                                                              Management-IPC20
                                                                                                                                               Legal Fees-Claims
6    November 25, 2011     Clarity      Stratus Global Investments         Senzani International C.A.         Willestamstad   Curacao                                    $       100,000.00
                                                                                                                                              Management-IPC21
                                                                                                              Los Angeles                      Legal Fees-Claims
7    November 25, 2011     Clarity      Stratus Global Investments         Maruja Ayala de Morales                              USA                                      $       100,000.00
                                                                                                                  (CA)                        Management-IPC22
                                                                                                                                               Legal Fees-Claims
8    November 25, 2011     Clarity      Stratus Global Investments            Kam Pong Cheung                    Enping         China                                    $       100,000.00
                                                                                                                                              Management-IPC23
                                                                                                                                               Legal Fees-Claims
9    November 25, 2011     Clarity      Stratus Global Investments             Agustin Gonzalez                 Maracay       Venezuela                                  $       70,000.00
                                                                                                                                              Management-IPC24
                                                                                                                                            Establishment fee of the
10   November 28, 2011     Clarity      Stratus Global Investments   Healy Consultants (Hong Kong) Limited     Hong Kong        China                                    $         4,800.00
                                                                                                                                             company "Perse VIP"

11   December 1, 2011      Clarity      Stratus Global Investments        America Economia 2021, C.A          Panama City      Panama     Doors for Venezuela Project    $       200,000.00

                                                                                                                                            Equipment for trucks /
12   December 1, 2011      Clarity      Stratus Global Investments       Corporacion Corriager C.A. LLC        Miami (FL)       USA                                      $       220,000.00
                                                                                                                                               Venezuela Project

13   December 1, 2011      Clarity      Stratus Global Investments             Profit Finacial INC            Panama City      Panama     Bricks for Venezuela Project   $       178,550.00

                                                                                                                                          Spare parts for vehicles for
14   December 1, 2011      Clarity      Stratus Global Investments             Lennox Parts LLC                Doral (FL)       USA                                      $       300,000.00
                                                                                                                                               Venezuela Project
                                                                                                                                               Legal Fees-Claims
15   December 1, 2011      Clarity      Stratus Global Investments             Tania Dos Santos               Weston (FL)       USA                                      $       100,000.00
                                                                                                                                              Management-IPC25
                                                                                                                                               Legal Fees-Claims
16   December 1, 2011      Clarity      Stratus Global Investments   Venezolana de Control Intermodal, C.A.     Caracas       Venezuela                                  $       500,000.00
                                                                                                                                              Management-IPC26
                                                                                                                                               Legal Fees-Claims
17   December 1, 2011      Clarity      Stratus Global Investments     Pablo Alejandro Fernandes Martins      Weston (FL)       USA                                      $       150,000.00
                                                                                                                                              Management-IPC27
                                                                                                                                               Legal Fees-Claims
18   December 1, 2011      Clarity      Stratus Global Investments     Virginland Technology Co. Limited       Guangzhou        China                                    $       40,000.00
                                                                                                                                              Management-IPC28
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                                                                                                                                    Legal Fees-Claims
19   December 1, 2011   Clarity      Stratus Global Investments             Pablo Fernandes             Weston (FL)       USA                           $   90,000.00
                                                                                                                                    Management-IPC29
                                                                                                                                    Legal Fees-Claims
20   December 1, 2011   Clarity      Stratus Global Investments        Games Plus Electronic C.A.         Caracas       Venezuela                       $   100,000.00
                                                                                                                                    Management-IPC30
                                                                      1. Totalbank Curacao N.V.                                     Legal Fees-Claims
21   December 1, 2011   Clarity      Stratus Global Investments                                         Willestamstad   Curacao                         $   100,000.00
                                                                      2. Inversiones Keromuchi CA                                   Management-IPC31
                                                                                                                                    Legal Fees-Claims
22   December 1, 2011   Clarity      Stratus Global Investments              Irene Vianello               Caracas       Venezuela                       $   126,000.00
                                                                                                                                    Management-IPC32
                                                                                                                                    Legal Fees-Claims
23   December 1, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   103,642.00
                                                                                                                                    Management-IPC33
                                                                      1. Banesco S.A.                                               Legal Fees-Claims
24   December 1, 2011   Clarity      Stratus Global Investments                                         Panama City      Panama                         $   115,507.00
                                                                      2. Inversiones A.M. Canaima C.A                               Management-IPC34
                                                                                                                                    Legal Fees-Claims
25   December 1, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   96,358.00
                                                                                                                                    Management-IPC35
                                                                                                                                    Legal Fees-Claims
26   December 1, 2011   Clarity      Stratus Global Investments    Global Morgan Group (HK) Limited      Hong Kong        China                         $   115,000.00
                                                                                                                                    Management-IPC36
                                                                                                                                    Legal Fees-Claims
27   December 1, 2011   Clarity      Stratus Global Investments             Fernando Padron               Caracas       Venezuela                       $   28,500.00
                                                                                                                                    Management-IPC37
                                                                                                                                    Legal Fees-Claims
28   December 6, 2011   Clarity      Stratus Global Investments    Ricardo Antonio Fernandes Sarrico       Aveiro       Portugal                        $   145,000.00
                                                                                                                                    Management-IPC38
                                                                                                                                    Legal Fees-Claims
29   December 6, 2011   Clarity      Stratus Global Investments              Franca Cravino               Varazze         Italy                         $   55,000.00
                                                                                                                                    Management-IPC39
                                                                                                        Staten Island               Legal Fees-Claims
30   December 6, 2011   Clarity      Stratus Global Investments   Vincenzo Conte and Alessandra Conte                     USA                           $   60,000.00
                                                                                                            (NY)                    Management-IPC40
                                                                                                                                    Legal Fees-Claims
31   December 6, 2011   Clarity      Stratus Global Investments    Pablo Alejandro Fernandes Martins       Aveiro       Portugal                        $   50,000.00
                                                                                                                                    Management-IPC41
                                                                                                                                    Legal Fees-Claims
32   December 6, 2011   Clarity      Stratus Global Investments        Senzani International C.A.       Willestamstad   Curacao                         $   200,000.00
                                                                                                                                    Management-IPC42
                                                                                                                                    Legal Fees-Claims
33   December 6, 2011   Clarity      Stratus Global Investments    Global Morgan Group (HK) Limited      Hong Kong        China                         $   170,000.00
                                                                                                                                    Management-IPC43
                                                                                                                                    Legal Fees-Claims
34   December 6, 2011   Clarity      Stratus Global Investments        Jeancenter Corporation S.A          Colon         Panama                         $   250,000.00
                                                                                                                                    Management-IPC44
                                                                                                                                    Legal Fees-Claims
35   December 6, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   115,839.00
                                                                                                                                    Management-IPC45
                                                                                                                                    Legal Fees-Claims
36   December 6, 2011   Clarity      Stratus Global Investments            AA Group Limited              Guangzhou        China                         $   325,000.00
                                                                                                                                    Management-IPC46
                                                                      1. Totalbank Curacao N.V.                                     Legal Fees-Claims
37   December 6, 2011   Clarity      Stratus Global Investments                                         Willestamstad   Curacao                         $   100,000.00
                                                                      2. Inversiones Keromuchi CA                                   Management-IPC47
                                                                                                                                    Legal Fees-Claims
38   December 6, 2011   Clarity      Stratus Global Investments        Senzani International C.A.       Willestamstad   Curacao                         $   100,000.00
                                                                                                                                    Management-IPC48
                                                                      Flores-Hidalgo Sociedades e
39   December 7, 2011   Clarity      Stratus Global Investments                                          Barcelona        Spain     Exchange of Funds   $   438,650.00
                                                                            Inversiones, S.L.
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                                                                                                                                    Exchange of Funds for Client
40   December 7, 2011    Clarity      Stratus Global Investments   GFH Short Interest Private Fund, Inc   Panama City    Panama                                    $     240,550.50
                                                                                                                                              0045-7
                                                                                                                                    Exchange of Funds for Client
41   December 7, 2011    Clarity      Stratus Global Investments   GFH Short Interest Private Fund, Inc   Panama City    Panama                                    $     242,100.00
                                                                                                                                              0045-7
                                                                      1. Banesco S.A                                                     Legal Fees-Claims
42   December 8, 2011    Clarity      Stratus Global Investments                                          Panama City    Panama                                    $      25,000.00
                                                                      2. Inversiones A.M. Canaima C.A                                   Management IPC49
                                                                                                                                     Spare parts for vehicles /
43   December 9, 2011    Clarity      Stratus Global Investments            Lennox Parts LLC               Doral (FL)     USA                                      $     450,000.00
                                                                                                                                         Venezuela Project
                                                                                                                                     Tale Provider / Venezuela
44   December 9, 2011    Clarity      Stratus Global Investments              Tecnoser SRL                 Modena         Italy                                    $     200,000.00
                                                                                                                                              Project
                                                                                                                                         Legal Fees- Claims
45   December 9, 2011    Clarity      Stratus Global Investments          May's Zona Libre, S.A             Colon        Panama                                    $     350,000.00
                                                                                                                                        Management-IPC49
                                                                                                                                         Legal Fees- Claims
46   December 12, 2011   Clarity      Stratus Global Investments     Global Morgan Group (HK) Lim.        Hong Kong       China                                    $     180,000.00
                                                                                                                                        Management-IPC50
                                                                                                                                         Legal Fees-Claims
47   December 12, 2011   Clarity      Stratus Global Investments    Ricardo Antonio FernandesSarrico        Aveiro      Portugal                                   $     150,000.00
                                                                                                                                        Management-IPC51
                                                                                                                                         Legal Fees-Claims
48   December 12, 2011   Clarity      Stratus Global Investments         Marsicano Tafuri Emilio            Guatire     Venezuela                                  $     100,000.00
                                                                                                                                        Management-IPC52
                                                                      1. Banesco S.A.                                                    Legal Fees-Claims
49   December 12, 2011   Clarity      Stratus Global Investments                                          Panama City    Panama                                    $     117,365.00
                                                                      2. Inversiones A.M. Canaima C.A                                   Management-IPC53

         TOTAL:                                                                                                                                                    $   8,171,817.00
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                          BY PURPOSE                                         BY COUNTRY                                                      BY BENEFICIARY

           Purpose               Count       Sum of Amount       Country       Count       Sum of Amount                   Beneficiary                Count       Sum of Amount

      Establishment Fee            1     $            4,800.00     China         7     $         934,800.00    GFH Short Interest Private Fund, Inc     4     $         962,455.50

                                                                                                                1. Banesco S.A
      Exchange of funds            6     $        1,840,256.00   Curacao         5     $         600,000.00                                             3     $         257,872.00
                                                                                                                2. Inversiones A.M. Canaima C.A

Legal fees - Claims Management    36     $        4,778,211.00     Italy         2     $         255,000.00      Global Morgan Group (HK) Lim.          3     $         465,000.00

      Venezuela Project            6     $        1,548,550.00   Panama          16    $        2,764,716.50         Jumbo Zona Libre, S.A              3     $         315,839.00

           TOTAL:                 49     $        8,171,817.00   Portugal        3     $         345,000.00         Senzani International C.A.          3     $         400,000.00

                                                                                                                  1. Totalbank Curacao N.V.
                                                                   Spain         2     $         877,800.50                                             2     $         200,000.00
                                                                                                                  2. Inversiones Keromuchi CA
                                                                                                                   Flores-Hidalgo Sociedades e
                                                                   USA           8     $        1,470,000.00                                            2     $         877,800.50
                                                                                                                         Inversiones, S.L.

                                                                 Venezuela       6     $         924,500.00             Lennox Parts LLC                2     $         750,000.00

                                                                 TOTAL:          49    $       8,171,817.00    Pablo Alejandro Fernandes Martins        2     $         200,000.00

                                                                                                               Ricardo Antonio Fernandes Sarrico        2     $         295,000.00

                                                                                                                        AA Group Limited                1     $         325,000.00

                                                                                                                        Agustin Gonzalez                1     $          70,000.00

                                                                                                                  America Economia 2021, C.A            1     $         200,000.00

                                                                                                                        Apolo Zona Libre                1     $         150,000.00

                                                                                                                 Corporacion Corriager C.A. LLC         1     $         220,000.00

                                                                                                                        Fernando Padron                 1     $          28,500.00

                                                                                                                         Franca Cravino                 1     $          55,000.00

                                                                                                                   Games Plus Electronic C.A.           1     $         100,000.00

                                                                                                                 Healy Consultants (Hong Kong)
                                                                                                                                                        1     $           4,800.00
                                                                                                                             Limited

                                                                                                                          Irene Vianello                1     $         126,000.00

                                                                                                                   Jeancenter Corporation S.A           1     $         250,000.00

                                                                                                                       Kam Pong Cheung                  1     $         100,000.00

                                                                                                                     Marsicano Tafuri Emilio            1     $         100,000.00

                                                                                                                    Maruja Ayala de Morales             1     $         100,000.00

                                                                                                                      May's Zona Libre, S.A             1     $         350,000.00

                                                                                                                        Pablo Fernandes                 1     $          90,000.00

                                                                                                                       Profit Finacial INC              1     $         178,550.00

                                                                                                                   Samuel Carciente Sananes             1     $         100,000.00

                                                                                                                        Tania Dos Santos                1     $         100,000.00

                                                                                                                          Tecnoser SRL                  1     $         200,000.00

                                                                                                               Venezolana de Control Intermodal,
                                                                                                                                                        1     $         500,000.00
                                                                                                                             C.A.
                                                                                                                 Vincenzo Conte and Alessandra
                                                                                                                                                        1     $          60,000.00
                                                                                                                              Conte

                                                                                                               Virginland Technology Co. Limited        1     $          40,000.00

                                                                                                                             TOTAL:                    49     $       8,171,817.00
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                                        Payment to Management 1
Date         From           Amount         Description
10.04.2011   Stratus Int.   USD305.885,‐ Annual salary
22.08.2011   SG             USD36.611,‐    Tuition fee
30.09.2011   SG             USD172.000,‐ Compensation/Salary+Bonus
21.11.2011   SG             USD35.901,‐    Salaries Sept/Oct11
09.01.2012   SG             USD24.000,‐    Salaries Nov/Dec11
18.04.2012   SG             USD36.000,‐    Salaries Jan/Feb/Mar12
13.06.2012   SG             USD24.000,‐    Salaries Apr/May12
25.09.2012   SG             USD36.000,‐    Salaries Jun/Jul/Aug12
25.12.2012   Ali Sadr       CAD65.779,38 Final Clearance for Venz project

                                        Payment to Bahram Karimi
21.05.2013 SG               TRY15.000,‐    Salaries Mar/Apr13 Akbank
13.08.2013 Straturk         USD11.685,28 Salaries May/Jun/Jul13 Akbank
27.11.2013 Straturk         USD25.000,‐    Advance payment
                                           Remaining payment for clearance the salary and partial
31.01.2014 Straturk         TRY50.000
                                           bonuses till end of Dec13
14.05.2014 Straturk         USD32.000      Salaries Jan/Feb/Mar/Apr14
14.08.2014 Straturk         TRY34.382,40 Salaries May/Jun14 USD16K
21.10.2014 Straturk         TRY71.974,40 Salaries Jul/Aug/Sept/Oct USD32K

                                           Payment to Ekrem Cınar
Date         From           Amount           Description
05.03.2013   SG             TRY75.717,60     Salaries Dec12, Jan,Feb13 USD42K
21.05.2013   SG             USD28.000        Salaries Mar,Apr13
05.06.2013   Straturk       USD10.000        Monthly advance
08.07.2013   Ali Sadr‐S     USD10.000        Salary Jun13
15.08.2013   Straturk       USD10.000        Salary Jul13
19.09.2013   Ali Sadr‐S     USD10.000        Salary Aug13
18.10.2013   Ali Sadr‐S     USD10.000        Salary Sept13
13.12.2013   Straturk       USD30.000        Salaries Oct‐Nov‐Dec13
07.03.2014   Straturk       USD20.000        Salaries Jan‐Feb14
05.05.2014   Straturk       USD20.000        Salaries Mar‐Apr14
09.05.2014   Straturk       USD45.000        Salary Compensation and performance bonus
15.07.2014   Straturk       TRY21.000        Last payment USD10K

                                        Payment to Mustafa Cetinel
Date         From           Amount         Description
05.06.2013   Straturk       USD10.000      Monthly advance
05.06.2013   Straturk       USD29.500      Close of Venezuela
08.07.2013   Ali Sadr‐S     USD10.000      Salary Jun13
15.08.2013   Straturk       USD10.000      Salary Jul13
19.09.2013   Ali Sadr‐S     USD10.000      Salary Aug13
18.10.2013   Ali Sadr‐S     USD10.000      Salary Sept13
13.12.2013   Straturk       USD30.000      Salaries Oct‐Nov‐Dec13
07.03.2014   Straturk       USD20.000      Salaries Jan‐Feb14
05.05.2014   Straturk       USD20.000      Salaries Mar‐Apr14
14.07.2014   Brittstone     USD20.000      Salaries May‐Jun14
29.08.2014   Ali Sadr‐S     USD20.000      Salaries Jul‐Aug14
28.11.2014   Ali Sadr‐S     USD30.000      Salaries Sept‐Oct‐Nov14

                                   Payment to Mohammad Hajigolam
Date         From           Amount       Description
09.10.2013   Straturk       USD12.000    Salaries Jul,Aug,Sept13
11.12.2013   Straturk       USD8.000     Salaries Oct,Nov13
07.03.2014   Straturk       USD8.000     Salaries Dec13,Jan14
09.05.2014   Straturk       USD8.000     Salaries Feb,Mar14
11.08.2014   Brittstone     USD12.747.82 Salaries Apr,May,Jun14
08.09.2014   Brittstone     USD8.000     Salaries Jul,Aug14

                                    Payment to Tekyen ‐ Semih Arslan
Date         From           Amount        Description
05.03.2013   SG             TRY122.050,05 IPC9‐10 For the total of USD66.700,27
08.08.2013   SG             USD35.353,46 IPC11
24.09.2013   SG             USD32.000     IPC12‐1st installment
30.09.2013   SG             USD31.550,64 IPC12‐2nd installment
12.12.2013   Straturk       USD56.254     IPC13
09.05.2014   Straturk       USD50.000     Final IPC‐1st installment
13.08.2014   Straturk       TRY125.349,60 Final IPC‐2nd and last installment USD58K
        Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 33 of 267


From:             Lake, Stephanie (USANYS)
To:               Weingarten, Reid; Heberlig, Brian; Silverman, Nicholas
Cc:               Krouse, Michael (USANYS); Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn
                  (USANYS) [Contractor]
Subject:          U.S. v. Sadr
Date:             Saturday, March 07, 2020 4:04:18 PM
Attachments:      GX 2284D.pdf
                  3508-008.pdf
                  GX 411.pdf
                  GX 456.pdf
                  GX 495A 2280 Statements.pdf
                  GX 495B 9288 Statements.pdf
                  GX 704_Redacted.pdf
                  GX 705A.pdf
                  GX 705B.pdf
                  GX 2304A (rev"d 2020.3.7).pdf
                  3504-10.pdf
                  3505-06.pdf
                  3513-02.pdf
                  3513-03.pdf


Counsel,
Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case-in-chief.
It’s possible that, depending on the defense case, we will call him as a rebuttal witness.
In addition, we’ve attached the following documents:
     - Updated GX 2284D – there were formatting problems with our version. We think the attached
         corrects them.
     - 3508-08 – 3500 from today
     - GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
     - GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
     - GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a
         stipulation that the defendant had bank accounts at HSBC from January 2010 through
         October 2013 might be simpler. Let us know how you prefer to proceed.
     - GX 704 – this is the modified version of the travel chart. Please confirm whether you have any
         remaining concerns.
     - GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please
         confirm whether you have any objections.
     - Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was
         cutting off some of the data. The content is the same.
     - 3504-10 – Peri 3500, which was provided in hard copy yesterday morning.
     - 3505-06 – Blair 3500, which was provided in hard copy yesterday morning.
     - 3513-02 – Paralegal 3500 for summary chart (you may already have this)
     - 3513-03 – Paralegal 3500 for summary chart (you may already have this)
We are still working on one additional summary chart, which we expect to provide later today.
Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637-1066
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 34 of 267




                 EXHIBIT 28
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 35 of 267


From:             Krouse, Michael (USANYS)
To:               Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Cc:               Lake, Stephanie (USANYS); Kim, Jane (USANYS) 4
Subject:          Draft
Date:             Sunday, March 08, 2020 9:49:51 PM
Attachments:      2020.03.08 Letter to Nathan re GX 411 (2).docx


Not sure Stephanie sent this to you.


From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Sunday, March 8, 2020 9:31 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS)
[Contractor] <GLynch@usa.doj.gov>
Subject: RE: Proofing and then I'll file these objections

Here’s a shitty draft.


From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Sunday, March 08, 2020 9:15 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>;
Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
<GLynch@usa.doj.gov>
Subject: Proofing and then I'll file these objections

In 10 minutes unless anyone has objections.

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637-2038
Email: jane.kim@usdoj.gov
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 36 of 267
                                        U.S. Department of Justice
[Type text]
                                                  United States Attorney
Septe                                             Southern District of New York

                                                  The Silvio J. Mollo Building
                                                  One Saint Andrew’s Plaza
                                                  New York, New York 10007


                                                   March 8, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:   United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

       The Court writes in response to the Court’s order from 9:00 this evening. The Government
apologizes for the lack of clarity in its prior email.

       The Government found GX 411 in its emails on Friday night, looked at the Commerzbank
subpoena production, and did not find it. The members of the team discussed the document the
next morning and confirmed that it likely had not been produced to the defense previously. The
Government had a paralegal stamp it later in the day, and produced it to the defense. The
Government did not specifically identify that GX 411 had not previously been produced in
discovery. Defense counsel responded shortly after the Government provided GX 411 and asked
how long the Government had GX 411, and why they had not previously received it. The
Government responded and explained that we had been aware of the letter since mid-January, and
had mistakenly believed that it was part of the discovery in the case.

     When SAUSA Lynch sent what is now GX 411 to the AUSAs in the case in January, the
AUSAs assumed that this was a document that came from this case (specifically, the subpoena to
Commerzbank), and that it was therefore a document that had been previously produced to the
      Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 37 of 267

The Honorable Alison J. Nathan, U.S.D.J.
March 8, 2020
Page 2

defense as part of discovery. This was an incorrect assumption. The document in fact was obtained
in an unrelated DANY investigation and was not provided to this Office before January 2020.

                                                      Respectfully submitted,
                                                      GEOFFREY S. BERMAN
                                                      United States Attorney

                                                By:          /s/
                                                      Jane Kim / Michael Krouse / Stephanie Lake
                                                         Assistant United States Attorneys
                                                      Garrett Lynch
                                                         Special Assistant United States Attorney
                                                      (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 38 of 267




                 EXHIBIT 29
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 39 of 267


From:             Kim, Jane (USANYS) 4
To:               Krouse, Michael (USANYS); Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Cc:               Lake, Stephanie (USANYS)
Subject:          RE: Draft
Date:             Sunday, March 08, 2020 9:55:55 PM


And really sorry for the quick turnaround – the order said we had to file by 10.


From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Sunday, March 8, 2020 9:50 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Draft

Not sure Stephanie sent this to you.


From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Sunday, March 8, 2020 9:31 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS)
[Contractor] <GLynch@usa.doj.gov>
Subject: RE: Proofing and then I'll file these objections

Here’s a shitty draft.


From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Sunday, March 08, 2020 9:15 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>;
Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
<GLynch@usa.doj.gov>
Subject: Proofing and then I'll file these objections

In 10 minutes unless anyone has objections.

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637-2038
Email: jane.kim@usdoj.gov
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 40 of 267




                 EXHIBIT 30
                                                           Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 41 of 267


Company Name: US GOVT
User name: harry calventas
Structure name: Default
Position: 987298206‐00001

Report Name: Call detail ‐ wireless number detail




Date from: Feb‐20 Date to: Mar‐20


Call detail ‐ local calls
Date                  Time In/Out number        Rate       Usage type Account authorization code   Origination        Destination          International call type Duration Airtime charges Long distance/Other charges Total call detail
         3/6/2020 8:41 AM      3479201412       Peak       M2MAllow                                New York      NY   Incoming      CL     N/A                             1              0                            0                0
         3/7/2020 9:23 AM      3479201412       Off‐Peak   N&W                                     Brooklyn      NY   Incoming      CL     N/A                            26              0                            0                0
         3/8/2020 9:49 AM      3479201412       Off‐Peak   N&W                                     Brooklyn      NY   Incoming      CL     N/A                             6              0                            0                0
         3/8/2020 8:44 PM      6468773221       Off‐Peak   M2MAllow                                New York      NY   Nwyrcyzn01      NY   N/A                             3              0                            0                0
         3/8/2020 9:33 PM      3478801399       Off‐Peak   N&W                                     New York      NY   Incoming      CL     N/A                             1              0                            0                0
         3/8/2020 9:52 PM      3478801399       Off‐Peak   N&W                                     New York      NY   Incoming      CL     N/A                             1              0                            0                0
         3/9/2020 8:08 AM      3478801399       Peak       M2MAllow                                New York      NY   Incoming      CL     N/A                             1              0                            0                0
         3/9/2020 8:29 AM      2128050278       Peak       PlanAllow                               New York      NY   New York      NY     N/A                             1              0                            0                0
         3/9/2020 8:36 AM      9175964282       Peak       M2MAllow                                New York      NY   Vm Deposit     CL    N/A                             1              0                            0                0
         3/9/2020 8:38 AM      9175964282       Peak       M2MAllow                                New York      NY   New York      NY     N/A                             1              0                            0                0
         3/9/2020 1:14 PM      6463060300       Peak       M2MAllow                                New York      NY   Nwyrcyzn01      NY   N/A                             1              0                            0                0
         3/9/2020 4:43 PM      2027464485       Peak       M2MAllow                                New York      NY   Washington     DC    N/A                             4              0                            0                0
         3/9/2020 5:49 PM      3479201412       Peak       M2MAllow                                New York      NY   Nwyrcyzn05      NY   N/A                             1              0                            0                0
         3/9/2020 5:50 PM      3479201412       Peak       M2MAllow                                New York      NY   Incoming      CL     N/A                             7              0                            0                0
         3/9/2020 6:17 PM      9175964282       Peak       M2MAllow                                New York      NY   New York      NY     N/A                             2              0                            0                0
        3/10/2020 3:12 PM      9175964282       Peak       M2MAllow                                New York      NY   Vm Deposit     CL    N/A                             1              0                            0                0
Company Name: US GOVT
User name: harry calventas
Structure name: Default
Position: 987298206‐00001

Report Name: Call detail ‐ wireless number detail




Call detail ‐ roaming calls
Date                Time      In/Out number     Rate       Usage type Account authorization code Origination          Destination          International call type Duration Airtime charges Long distance/Other charges Total call detail
Roaming Calls Total                                                                                                                                                        0              0                            0                0
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 42 of 267




                 EXHIBIT 31
                                                      Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 43 of 267


Company Name: US GOVT
User name: harry calventas
Structure name: Default
Position: 987298206‐00001

Report Name: Call detail ‐ wireless number detail




Date from: Feb‐20 Date to: Mar‐20


Call detail ‐ local calls
Date                       Time     In/Out number    Rate       Usage type Account authorization code   Origination        Destination           International call type Duration Airtime charges Long distanTotal call detail
                  3/6/2020 10:29 AM     5188522641   Peak       M2MAllow                                New York      NY   Albany        NY      N/A                             4              0          0                 0
                  3/6/2020 11:56 AM     3475043360   Peak       M2MAllow                                New York      NY   Nwyrcyzn05       NY   N/A                             2              0          0                 0
                  3/6/2020 11:58 AM     3475043360   Peak       M2MAllow                                New York      NY   Incoming       CL     N/A                             9              0          0                 0
                  3/6/2020 1:29 PM      6465294221   Peak       M2MAllow                                New York      NY   Nwyrcyzn01       NY   N/A                             2              0          0                 0
                  3/6/2020 6:38 PM      3019439078   Peak       M2MAllow                                New York      NY   Incoming       CL     N/A                             1              0          0                 0
                  3/7/2020 10:54 AM     5712450226   Off‐Peak   M2MAllow                                Brooklyn      NY   Vm Deposit      CL    N/A                             1              0          0                 0
                  3/7/2020 10:55 AM     6157672100   Off‐Peak   M2MAllow                                Brooklyn      NY   Nashville     TN      N/A                             2              0          0                 0
                  3/7/2020 10:56 AM     5712450226   Off‐Peak   N&W                                     Brooklyn      NY   Incoming       CL     N/A                             6              0          0                 0
                  3/7/2020 10:08 PM     3479201412   Off‐Peak   N&W                                     Brooklyn      NY   Incoming       CL     N/A                             9              0          0                 0
                  3/8/2020 9:27 PM      3478801399   Off‐Peak   N&W                                     Brooklyn      NY   Incoming       CL     N/A                             3              0          0                 0
                  3/8/2020 9:35 PM      3478801399   Off‐Peak   N&W                                     Brooklyn      NY   Incoming       CL     N/A                             2              0          0                 0
                  3/8/2020 9:53 PM      3478801399   Off‐Peak   M2MAllow                                Brooklyn      NY   Nwyrcyzn04       NY   N/A                             6              0          0                 0
                  3/8/2020 10:04 PM     3478801399   Off‐Peak   M2MAllow                                Brooklyn      NY   Nwyrcyzn04       NY   N/A                            15              0          0                 0
                  3/8/2020 10:19 PM     3478801399   Off‐Peak   M2MAllow                                Brooklyn      NY   Nwyrcyzn04       NY   N/A                             3              0          0                 0
                  3/9/2020 8:16 AM      3478801399   Peak       M2MAllow                                Brooklyn      NY   Incoming       CL     N/A                             2              0          0                 0
                  3/9/2020 10:54 AM     2027464485   Peak       M2MAllow                                New York      NY   Washington       DC   N/A                             4              0          0                 0
                  3/9/2020 7:24 PM      3472543679   Peak       M2MAllow                                New York      NY   New York       NY     N/A                             1              0          0                 0
                  3/9/2020 9:20 PM      3472139637   Off‐Peak   M2MAllow                                New York      NY   Nwyrcyzn03       NY   N/A                             8              0          0                 0
                  3/9/2020 9:27 PM      3478801399   Off‐Peak   M2MAllow                                New York      NY   Nwyrcyzn04       NY   N/A                             2              0          0                 0
                  3/9/2020 9:40 PM      5188522641   Off‐Peak   M2MAllow                                New York      NY   Albany        NY      N/A                             1              0          0                 0
                 3/10/2020 10:49 PM     3478801399   Off‐Peak   M2MAllow                                New York      NY   Nwyrcyzn04       NY   N/A                             3              0          0                 0
Company Name: US GOVT
User name: harry calventas
Structure name: Default
Position: 987298206‐00001

Report Name: Call detail ‐ wireless number detail




Call detail ‐ roaming calls
Date                        Time     In/Out number   Rate       Usage type Account authorization code Origination          Destination           International call type Duration Airtime charges Long distanTotal call detail
Roaming Calls Total                                                                                                                                                              0              0          0                 0
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 44 of 267




                 EXHIBIT 32
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 45 of 267


From:                Kim, Jane (USANYS) 4
To:                  Crowley, Shawn (USANYS)
Cc:                  Krouse, Michael (USANYS); Bove, Emil (USANYS)
Subject:             RE: Draft
Date:                Sunday, March 08, 2020 11:15:23 PM
Attachments:         [279] Def resp re brady.pdf
                     [279-1] Def resp re brady.pdf


Minus Stephanie (don’t want to stress her out/make her feel more sick).




From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Sunday, March 8, 2020 11:03 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>;
Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Subject: Re: Draft

Thanks guys. Can you forward along any reply? Thank you



      On Mar 8, 2020, at 9:55 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

      ﻿
      And really sorry for the quick turnaround – the order said we had to file by 10.

      From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
      Sent: Sunday, March 8, 2020 9:50 PM
      To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS)
      <EBove@usa.doj.gov>
      Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4
      <JKim4@usa.doj.gov>
      Subject: Draft

          Not sure Stephanie sent this to you.


      From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
      Sent: Sunday, March 8, 2020 9:31 PM
      To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
      <MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett
      (USANYS) [Contractor] <GLynch@usa.doj.gov>
      Subject: RE: Proofing and then I'll file these objections

          Here’s a shitty draft.
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 46 of 267


 From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
 Sent: Sunday, March 08, 2020 9:15 PM
 To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett
 <LynchG@dany.nyc.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch,
 Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
 Subject: Proofing and then I'll file these objections

 In 10 minutes unless anyone has objections.

 Jane Kim
 Assistant United States Attorney
 Southern District of New York
 One St. Andrew’s Plaza
 New York, New York 10007
 Phone: (212) 637-2038
 Email: jane.kim@usdoj.gov
        Case 1:18-cr-00224-AJN
          Case  1:18-cr-00224-AJNDocument 401-3
                                   Document 279 Filed
                                                 Filed02/22/21
                                                       03/08/20 Page
                                                                 Page47 of 2267
                                                                      1 of
Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                            March 8, 2020


 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re:      United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

         We respectfully reply to the government’s 10 p.m. letter regarding the belated production
 of GX 411. Dkt. No. 77. We also note that whereas the government apparently has access to
 documents that Commerzbank produced in response to a subpoena in some other matter, the
 government produced to defense exactly four documents from Commerzbank’s subpoena return
 in this matter (including a blank envelope and a duplicate).

         We attach the relevant correspondence between the parties that followed the first
 identification of GX 411 on Saturday March 7, 2020. We will be prepared to address the matter
 in Court tomorrow.

                                               Respectfully submitted,

                                               /s/ Brian M. Heberlig________
                                               Reid H. Weingarten
                                               STEPTOE & JOHNSON LLP
                                               1114 Avenue of the Americas
                                               New York, NY 10036
                                               Tel: (212) 506-3900
                                               Fax: (212) 506-3950
                                               rweingarten@steptoe.com
      Case 1:18-cr-00224-AJN
        Case  1:18-cr-00224-AJNDocument 401-3
                                 Document 279 Filed
                                               Filed02/22/21
                                                     03/08/20 Page
                                                               Page48 of 2267
                                                                    2 of

The Honorable Alison J. Nathan
March 8, 2020
Page 2

                                      Brian M. Heberlig (Pro Hac Vice)
                                      Bruce C. Bishop (Pro Hac Vice)
                                      David M. Fragale
                                      Nicholas P. Silverman (Pro Hac Vice)
                                      STEPTOE & JOHNSON LLP
                                      1330 Connecticut Avenue, N.W.
                                      Washington, DC 20036
                                      Tel: (202) 429-3000Bishop
                                      Fax: (202) 429-3902
                                      bheberlig@steptoe.com

                                      Counsel for Defendant Ali Sadr Hashemi Nejad

cc:    Counsel of Record (via ECF)
Case
 Case1:18-cr-00224-AJN
       1:18-cr-00224-AJNDocument
                         Document401-3
                                   279-1Filed 02/22/21
                                          Filed 03/08/20Page
                                                         Page491of
                                                                 of267
                                                                    3




         Exhibit A
              Case
               Case1:18-cr-00224-AJN
                     1:18-cr-00224-AJNDocument
                                       Document401-3
                                                 279-1Filed 02/22/21
                                                        Filed 03/08/20Page
                                                                       Page502of
                                                                               of267
                                                                                  3




From:               Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent:               Saturday, March 7, 2020 5:36 PM
To:                 Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid; Silverman, Nicholas
Cc:                 Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                    [Contractor]
Subject:            RE: U.S. v. Sadr


Brian,

WedonotagreewithyourcharacterizationofGX430,431,432,or411asBrady.TheseareallexhibitstheGovernment
hasintroducedorisseekingtointroduceinourcase.PerhapsyoucanexplainhowitisyouthinkGX411ishelpfulto
yourcase.

Inanyevent,wehavebeenawareofthelettersincemidͲJanuary.WethoughtitwaspartoftheCommerzbank
subpoenareturnthatwasproducedindiscovery.WenowunderstandthatitcamefromanunrelatedDANY
investigation,andthereforewasnotintheCommerzbanksubpoenareturn.

ItisnotcleartoushowthisdocumentwouldhavebeenrelevanttotheOFACwitness’stestimony.

Jane

From:Heberlig,Brian<BHeberlig@steptoe.com>
Sent:Saturday,March7,20204:57PM
To:Lake,Stephanie(USANYS)<SLake@usa.doj.gov>;Weingarten,Reid<RWeingarten@steptoe.com>;Silverman,
Nicholas<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<MKrouse@usa.doj.gov>;Kim,Jane(USANYS)4<JKim4@usa.doj.gov>;Lynch,Garrett
(USANYS)[Contractor]<GLynch@usa.doj.gov>;Milione,Shawn(USANYS)[Contractor]<SMilione@usa.doj.gov>
Subject:RE:U.S.v.Sadr

Werequestimmediatedisclosureof(1)whereGX411camefrom,(2)howlongithasbeenin
thegovernment’spossession,(3)whyweareonlyreceivingittoday.Thisisthesecond
episode—alongwithGX430,GX431,andGX432—ofthegovernmentproducingfundamentally
exculpatorydocumentsmidͲtrial.Inthisinstance,thedocumentwasproducedafterthe
government’sOFACwitness,whowouldhavebeensubjecttocrossͲexaminationonthis
document.Providethisinformationby6pmorwewillseetheinterventionoftheCourt.

From:Lake,Stephanie(USANYS)<Stephanie.Lake@usdoj.gov>
Sent:Saturday,March7,20204:24PM
To:Weingarten,Reid<RWeingarten@steptoe.com>;Heberlig,Brian<BHeberlig@steptoe.com>;Silverman,Nicholas
<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<Michael.Krouse@usdoj.gov>;Kim,Jane(USANYS)4<Jane.Kim@usdoj.gov>;Lynch,
Garrett(USANYS)[Contractor]<Garrett.Lynch@usdoj.gov>;Milione,Shawn(USANYS)[Contractor]
<Shawn.Milione@usdoj.gov>
Subject:RE:U.S.v.Sadr

Counsel,
                                                            1
               Case
                Case1:18-cr-00224-AJN
                      1:18-cr-00224-AJNDocument
                                        Document401-3
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                                                                        Page513of
                                                                                of267
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
Weattemptedtosendyouanumberofattachments,whichwillnotgothroughwithoutencryption.Itlookslike
Steptoe’sserversareblockingtheencryptedemail.Shawnwilluploadthefilestothelinkhehasbeenusing.The
descriptionsarebelow.

Stephanie

From:Lake,Stephanie(USANYS)
Sent:Saturday,March07,20204:04PM
To:Weingarten,Reid<RWeingarten@steptoe.com>;Heberlig,Brian<BHeberlig@steptoe.com>;Silverman,Nicholas
<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<MKrouse@usa.doj.gov>;Kim,Jane(USANYS)4<JKim4@usa.doj.gov>;Lynch,Garrett
(USANYS)[Contractor]<GLynch@usa.doj.gov>;Milione,Shawn(USANYS)[Contractor]<SMilione@usa.doj.gov>
Subject:U.S.v.Sadr

Counsel,

Mr.Dubowitzisstillveryill.Asaresult,wedonotintendtocallhimasawitnessinourcaseͲinͲchief.It’spossiblethat,
dependingonthedefensecase,wewillcallhimasarebuttalwitness.

Inaddition,we’veattachedthefollowingdocuments:

     Ͳ UpdatedGX2284D–therewereformattingproblemswithourversion.Wethinktheattachedcorrectsthem.
     Ͳ 3508Ͳ08–3500fromtoday
     Ͳ GX411–weintendtoofferthisonMonday.Letusknowifyouwillstipulatetoauthenticity.
     Ͳ GX456–weintendtoofferthisonMonday.Letusknowifyouwillstipulatetoauthenticity.
     Ͳ GX495A&B–weintendtooffertheseonMonday(likelyinredactedform),althoughthinkastipulationthat
         thedefendanthadbankaccountsatHSBCfromJanuary2010throughOctober2013mightbesimpler.Letus
         knowhowyouprefertoproceed.
     Ͳ GX704–thisisthemodifiedversionofthetravelchart.Pleaseconfirmwhetheryouhaveanyremaining
         concerns.
     Ͳ GX705A&B–thesearesummarychartsreflectingtheinformationinGX2090A.Pleaseconfirmwhetheryou
         haveanyobjections.
     Ͳ UpdatedGX2304A–weenlargedsomeofthecells,astheformattingofthePDFdexcelfilewascuttingoffsome
         ofthedata.Thecontentisthesame.
     Ͳ 3504Ͳ10–Peri3500,whichwasprovidedinhardcopyyesterdaymorning.
     Ͳ 3505Ͳ06–Blair3500,whichwasprovidedinhardcopyyesterdaymorning.
     Ͳ 3513Ͳ02–Paralegal3500forsummarychart(youmayalreadyhavethis)
     Ͳ 3513Ͳ03–Paralegal3500forsummarychart(youmayalreadyhavethis)

Wearestillworkingononeadditionalsummarychart,whichweexpecttoprovidelatertoday.

StephanieLake
AssistantUnitedStatesAttorney
SouthernDistrictofNewYork
OneSaintAndrew’sPlaza
NewYork,NY10007
Tel:(212)637Ͳ1066





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                 EXHIBIT 33
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 53 of 267


From:            Krouse, Michael (USANYS)
To:              Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Cc:              Kim, Jane (USANYS) 4; Lake, Stephanie (USANYS)
Subject:         Here is the reply
Date:            Sunday, March 08, 2020 11:19:08 PM
Attachments:     Defense reply.pdf
                 Defense reply (attachment).pdf




Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2279
        Case 1:18-cr-00224-AJN
          Case  1:18-cr-00224-AJNDocument 401-3
                                   Document 279 Filed
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                                                                 Page54 of 2267
                                                                      1 of
Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                            March 8, 2020


 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re:      United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

         We respectfully reply to the government’s 10 p.m. letter regarding the belated production
 of GX 411. Dkt. No. 77. We also note that whereas the government apparently has access to
 documents that Commerzbank produced in response to a subpoena in some other matter, the
 government produced to defense exactly four documents from Commerzbank’s subpoena return
 in this matter (including a blank envelope and a duplicate).

         We attach the relevant correspondence between the parties that followed the first
 identification of GX 411 on Saturday March 7, 2020. We will be prepared to address the matter
 in Court tomorrow.

                                               Respectfully submitted,

                                               /s/ Brian M. Heberlig________
                                               Reid H. Weingarten
                                               STEPTOE & JOHNSON LLP
                                               1114 Avenue of the Americas
                                               New York, NY 10036
                                               Tel: (212) 506-3900
                                               Fax: (212) 506-3950
                                               rweingarten@steptoe.com
      Case 1:18-cr-00224-AJN
        Case  1:18-cr-00224-AJNDocument 401-3
                                 Document 279 Filed
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                                                               Page55 of 2267
                                                                    2 of

The Honorable Alison J. Nathan
March 8, 2020
Page 2

                                      Brian M. Heberlig (Pro Hac Vice)
                                      Bruce C. Bishop (Pro Hac Vice)
                                      David M. Fragale
                                      Nicholas P. Silverman (Pro Hac Vice)
                                      STEPTOE & JOHNSON LLP
                                      1330 Connecticut Avenue, N.W.
                                      Washington, DC 20036
                                      Tel: (202) 429-3000Bishop
                                      Fax: (202) 429-3902
                                      bheberlig@steptoe.com

                                      Counsel for Defendant Ali Sadr Hashemi Nejad

cc:    Counsel of Record (via ECF)
Case
 Case1:18-cr-00224-AJN
       1:18-cr-00224-AJNDocument
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                                                         Page561of
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         Exhibit A
              Case
               Case1:18-cr-00224-AJN
                     1:18-cr-00224-AJNDocument
                                       Document401-3
                                                 279-1Filed 02/22/21
                                                        Filed 03/08/20Page
                                                                       Page572of
                                                                               of267
                                                                                  3




From:               Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent:               Saturday, March 7, 2020 5:36 PM
To:                 Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid; Silverman, Nicholas
Cc:                 Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                    [Contractor]
Subject:            RE: U.S. v. Sadr


Brian,

WedonotagreewithyourcharacterizationofGX430,431,432,or411asBrady.TheseareallexhibitstheGovernment
hasintroducedorisseekingtointroduceinourcase.PerhapsyoucanexplainhowitisyouthinkGX411ishelpfulto
yourcase.

Inanyevent,wehavebeenawareofthelettersincemidͲJanuary.WethoughtitwaspartoftheCommerzbank
subpoenareturnthatwasproducedindiscovery.WenowunderstandthatitcamefromanunrelatedDANY
investigation,andthereforewasnotintheCommerzbanksubpoenareturn.

ItisnotcleartoushowthisdocumentwouldhavebeenrelevanttotheOFACwitness’stestimony.

Jane

From:Heberlig,Brian<BHeberlig@steptoe.com>
Sent:Saturday,March7,20204:57PM
To:Lake,Stephanie(USANYS)<SLake@usa.doj.gov>;Weingarten,Reid<RWeingarten@steptoe.com>;Silverman,
Nicholas<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<MKrouse@usa.doj.gov>;Kim,Jane(USANYS)4<JKim4@usa.doj.gov>;Lynch,Garrett
(USANYS)[Contractor]<GLynch@usa.doj.gov>;Milione,Shawn(USANYS)[Contractor]<SMilione@usa.doj.gov>
Subject:RE:U.S.v.Sadr

Werequestimmediatedisclosureof(1)whereGX411camefrom,(2)howlongithasbeenin
thegovernment’spossession,(3)whyweareonlyreceivingittoday.Thisisthesecond
episode—alongwithGX430,GX431,andGX432—ofthegovernmentproducingfundamentally
exculpatorydocumentsmidͲtrial.Inthisinstance,thedocumentwasproducedafterthe
government’sOFACwitness,whowouldhavebeensubjecttocrossͲexaminationonthis
document.Providethisinformationby6pmorwewillseetheinterventionoftheCourt.

From:Lake,Stephanie(USANYS)<Stephanie.Lake@usdoj.gov>
Sent:Saturday,March7,20204:24PM
To:Weingarten,Reid<RWeingarten@steptoe.com>;Heberlig,Brian<BHeberlig@steptoe.com>;Silverman,Nicholas
<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<Michael.Krouse@usdoj.gov>;Kim,Jane(USANYS)4<Jane.Kim@usdoj.gov>;Lynch,
Garrett(USANYS)[Contractor]<Garrett.Lynch@usdoj.gov>;Milione,Shawn(USANYS)[Contractor]
<Shawn.Milione@usdoj.gov>
Subject:RE:U.S.v.Sadr

Counsel,
                                                            1
               Case
                Case1:18-cr-00224-AJN
                      1:18-cr-00224-AJNDocument
                                        Document401-3
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                                                                                of267
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
Weattemptedtosendyouanumberofattachments,whichwillnotgothroughwithoutencryption.Itlookslike
Steptoe’sserversareblockingtheencryptedemail.Shawnwilluploadthefilestothelinkhehasbeenusing.The
descriptionsarebelow.

Stephanie

From:Lake,Stephanie(USANYS)
Sent:Saturday,March07,20204:04PM
To:Weingarten,Reid<RWeingarten@steptoe.com>;Heberlig,Brian<BHeberlig@steptoe.com>;Silverman,Nicholas
<nsilverman@steptoe.com>
Cc:Krouse,Michael(USANYS)<MKrouse@usa.doj.gov>;Kim,Jane(USANYS)4<JKim4@usa.doj.gov>;Lynch,Garrett
(USANYS)[Contractor]<GLynch@usa.doj.gov>;Milione,Shawn(USANYS)[Contractor]<SMilione@usa.doj.gov>
Subject:U.S.v.Sadr

Counsel,

Mr.Dubowitzisstillveryill.Asaresult,wedonotintendtocallhimasawitnessinourcaseͲinͲchief.It’spossiblethat,
dependingonthedefensecase,wewillcallhimasarebuttalwitness.

Inaddition,we’veattachedthefollowingdocuments:

     Ͳ UpdatedGX2284D–therewereformattingproblemswithourversion.Wethinktheattachedcorrectsthem.
     Ͳ 3508Ͳ08–3500fromtoday
     Ͳ GX411–weintendtoofferthisonMonday.Letusknowifyouwillstipulatetoauthenticity.
     Ͳ GX456–weintendtoofferthisonMonday.Letusknowifyouwillstipulatetoauthenticity.
     Ͳ GX495A&B–weintendtooffertheseonMonday(likelyinredactedform),althoughthinkastipulationthat
         thedefendanthadbankaccountsatHSBCfromJanuary2010throughOctober2013mightbesimpler.Letus
         knowhowyouprefertoproceed.
     Ͳ GX704–thisisthemodifiedversionofthetravelchart.Pleaseconfirmwhetheryouhaveanyremaining
         concerns.
     Ͳ GX705A&B–thesearesummarychartsreflectingtheinformationinGX2090A.Pleaseconfirmwhetheryou
         haveanyobjections.
     Ͳ UpdatedGX2304A–weenlargedsomeofthecells,astheformattingofthePDFdexcelfilewascuttingoffsome
         ofthedata.Thecontentisthesame.
     Ͳ 3504Ͳ10–Peri3500,whichwasprovidedinhardcopyyesterdaymorning.
     Ͳ 3505Ͳ06–Blair3500,whichwasprovidedinhardcopyyesterdaymorning.
     Ͳ 3513Ͳ02–Paralegal3500forsummarychart(youmayalreadyhavethis)
     Ͳ 3513Ͳ03–Paralegal3500forsummarychart(youmayalreadyhavethis)

Wearestillworkingononeadditionalsummarychart,whichweexpecttoprovidelatertoday.

StephanieLake
AssistantUnitedStatesAttorney
SouthernDistrictofNewYork
OneSaintAndrew’sPlaza
NewYork,NY10007
Tel:(212)637Ͳ1066





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                 EXHIBIT 34
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 60 of 267


From:                 Kim, Jane (USANYS) 4
To:                   Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Cc:                   Krouse, Michael (USANYS)
Subject:              RE: Draft
Date:                 Sunday, March 08, 2020 11:30:19 PM
Attachments:          [280] Def resp re brady.pdf
                      [280-1] Def resp re brady.pdf


Their second response. Well, I’m glad Stephanie asked me to send the emails so this doesn’t stress
her more.


From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Sunday, March 8, 2020 11:28 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: Re: Draft

We’re going to smash these guys.

On Mar 8, 2020, at 11:23 PM, Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov> wrote:

      Thank you. We’ll leave you guys alone tonight unless you need us. Hang in there—we’ll
      get through this just fine. We’re excited for your summations



               On Mar 8, 2020, at 11:15 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
               wrote:

               ﻿
               Minus Stephanie (don’t want to stress her out/make her feel more sick).




               From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
               Sent: Sunday, March 8, 2020 11:03 PM
               To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
               Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Bove, Emil
               (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie (USANYS)
               <SLake@usa.doj.gov>
               Subject: Re: Draft

                   Thanks guys. Can you forward along any reply? Thank you




                         On Mar 8, 2020, at 9:55 PM, Kim, Jane (USANYS) 4
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 61 of 267


          <JKim4@usa.doj.gov> wrote:

          ﻿
          And really sorry for the quick turnaround – the order said we
          had to file by 10.


          From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
          Sent: Sunday, March 8, 2020 9:50 PM
          To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>;
          Bove, Emil (USANYS) <EBove@usa.doj.gov>
          Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim,
          Jane (USANYS) 4 <JKim4@usa.doj.gov>
          Subject: Draft

          Not sure Stephanie sent this to you.


          From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
          Sent: Sunday, March 8, 2020 9:31 PM
          To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse,
          Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett
          <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS)
          [Contractor] <GLynch@usa.doj.gov>
          Subject: RE: Proofing and then I'll file these objections

          Here’s a shitty draft.


          From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
          Sent: Sunday, March 08, 2020 9:15 PM
          To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
          Lynch, Garrett <LynchG@dany.nyc.gov>; Lake, Stephanie
          (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS)
          [Contractor] <GLynch@usa.doj.gov>
          Subject: Proofing and then I'll file these objections

          In 10 minutes unless anyone has objections.

          Jane Kim
          Assistant United States Attorney
          Southern District of New York
          One St. Andrew’s Plaza
          New York, New York 10007
          Phone: (212) 637-2038
          Email: jane.kim@usdoj.gov
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 62 of 267


     <[279] Def resp re brady.pdf>
     <[279-1] Def resp re brady.pdf>
        Case 1:18-cr-00224-AJN
          Case  1:18-cr-00224-AJNDocument 401-3
                                   Document 280 Filed
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                                                                 Page63 of 2267
                                                                      1 of
Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                            March 8, 2020


 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re:      United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

        We respectfully submit the attached Exhibit B to our letter response to the government’s
 explanation for its Saturday afternoon production of GX 411. Exhibit B is a more complete
 version of Exhibit A.

                                               Respectfully submitted,

                                               /s/ Brian M. Heberlig________
                                               Reid H. Weingarten
                                               STEPTOE & JOHNSON LLP
                                               1114 Avenue of the Americas
                                               New York, NY 10036
                                               Tel: (212) 506-3900
                                               Fax: (212) 506-3950
                                               rweingarten@steptoe.com


                                               Brian M. Heberlig (Pro Hac Vice)
                                               Bruce C. Bishop (Pro Hac Vice)
                                               David M. Fragale
                                               Nicholas P. Silverman (Pro Hac Vice)
                                               STEPTOE & JOHNSON LLP
                                               1330 Connecticut Avenue, N.W.
                                               Washington, DC 20036
                                               Tel: (202) 429-3000Bishop
                                               Fax: (202) 429-3902
      Case 1:18-cr-00224-AJN
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The Honorable Alison J. Nathan
March 8, 2020
Page 2

                                      bheberlig@steptoe.com

                                      Counsel for Defendant Ali Sadr Hashemi Nejad

cc:    Counsel of Record (via ECF)
Case
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      1:18-cr-00224-AJN Document
                         Document401-3
                                  280-1 Filed
                                         Filed02/22/21
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         Exhibit B
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From:                      Silverman, Nicholas
Sent:                      Sunday, March 8, 2020 1:36 PM
To:                        Kim, Jane (USANYS) 4; Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid
Cc:                        Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                           [Contractor]
Subject:                   RE: U.S. v. Sadr
Attachments:               092-1 2019-02-25 Pretrial Mem 6 - Exhibit A-c2.pdf



Counsel:

     (1) Are there any other documents in the government’s possession that have not been produced?
     (2) Is there any other Brady information in the government’s possession that has not been produced?
     (3) Is there any information in the government’s possession, custody, or control showing OFAC’s response
         to this letter? This is subject to production under Giglio and/or Napue because it would at a minimum
         undermine Ted Kim’s testimony (A) that to his knowledge, nothing relating to this matter was
         investigated by OFAC, (B) that “it matters a lot” if Iranian involvement in a transaction is concealed,
         and (C) that hiding “Iranian connections … would make it very difficult for me to do my job.”
     (4) As we have said, our requests for Brady and Giglio are continuing in nature. I have attached our
         September 2018 letter in case you want a non-exclusive list of examples of the type of information
         covered by Brady and Giglio in this case. Obviously, any information contrary to government witness
         testimony would be another example.
     (5) Regarding the authenticity of GX 411, we stipulate to authenticity.
     (6) GX 704 – Please let us know what modifications have been made.
     (7) GX 495A, 495B – What is the relevance of Sadr having bank accounts at HSBX from January 2010
         through October 2013?
     (8) GX 456 – We are reviewing and anticipate stipulating to authenticity.
     (9) GX 705A & 705B – We are reviewing.
     (10)         GX 2304A – Subject to our continuing objection (which we understand to have been overruled),
         no further objection.


Nicholas P. Silverman
Associate
nsilverman@steptoe.com


Steptoe
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+1 617 595 6559 mobile           1330 Connecticut Avenue, NW
+1 202 429 3902 fax              Washington, DC 20036
                                 www.steptoe.com


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you are not the intended recipient, please do not read, copy, distribute, or use this information. If you have received this transmission in error, please
notify the sender immediately by reply e-mail and then delete this message.




From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Sunday, March 8, 2020 9:41 AM

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To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian, Reid, and Nick:

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.

Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you please let us know
your position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?

Thanks,
Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 10:09 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid
<RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.
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Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

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   ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
   ‐   3508‐08 – 3500 from today
   ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
       the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
       know how you prefer to proceed.
   ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
       concerns.
   ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
       have any objections.
   ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
       of the data. The content is the same.
   ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
   ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                       September 25, 2018




By Electronic Mail

Andrew DeFilippis
Matthew Laroche
Rebekah Donaleski
Assistant United States Attorneys
Garrett Lynch
Special Assistant United States Attorney
U.S. Attorney’s Office for the
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007

        Re:      United States v. Ali Sadr Hashemi Nejad, No. 18 Cr. 224 (ALC)
                 Request for Discovery, Brady Material, and Particulars

Dear Counsel:

        On behalf of defendant Ali Sadr Hashemi Nejad, we request that the government provide
“open file” discovery in this case, including the prompt production of all of the documents and
other evidence it has obtained in its investigation and all grand jury transcripts, FBI 302s, and
interview memoranda.

        In the event that you elect not to provide “open file” discovery, Sadr respectfully submits
this formal request for discovery in this case, pursuant to the Fifth and Sixth Amendments to the
United States Constitution; Rules 12, 16, and 26.2 of the Federal Rules of Criminal Procedure;
Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
progeny; the Department of Justice’s “Guidance for Prosecutors Regarding Criminal Discovery”;
and the additional authority set forth below.

       We understand that Sadr’s prior counsel at Arnold & Porter made earlier discovery
requests in this matter, including requests in letters and emails dated: March 21, March 25,
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March 29, April 3, May 15, July 5, July 10, July 26, August 2, August 23, and September 4,
2018. We adopt those requests and ask that you provide any future responsive material directly
to us. Arnold & Porter has provided us with copies of your prior discovery letters and emails
and the discovery productions to date, and we do not need you to reproduce them to us.
Although some of these discovery requests overlap with prior requests by Arnold & Porter, we
submit them to ensure that Sadr has fully protected his rights to discovery and Brady/Giglio
material in this matter.

        Sadr requests that you produce and/or permit him to inspect and copy or photograph the
materials specified below. This request encompasses not only documents1 and information in the
possession, custody, or control of, or that have been reviewed by, the U.S. Attorney’s Office for
the Southern District of New York and the Federal Bureau of Investigation, but also documents
and information in the possession, custody, and control of, or that have been reviewed by, the
Manhattan District Attorney’s Office, and any other federal, state or local agency allied with the
prosecution or involved in any way in investigating the activities alleged in the Indictment or
related conduct. As used in this letter, the words “government” and “you” include your office
and the above-referenced federal, state, or local agencies.

        Sadr requests that the government comply with all of its discovery obligations under
federal law, including, but not limited to, the following:2

I.     Search Warrant Returns

         We request clarification of the government’s position on the discoverability of the data
and documents collected pursuant to search warrants in the investigation. It is our understanding
that the government has produced the full and unfiltered email accounts of Sadr collected
pursuant to search warrants. Arnold & Porter requested the “terabyte” of unfiltered data and
documents from non-Sadr accounts obtained pursuant to search warrants, in an April 3, 2018
letter and an August 2, 2018 email. With respect to that data, it is our understanding that the
government has produced only a subset of materials that it has deemed “pertinent.” We reiterate
Sadr’s request for complete, unfiltered data and documents from all accounts obtained by the


       1
         The word “documents” includes, but is not limited to, all books, papers, letters,
correspondence, reports, memoranda, studies, calendars, appointment books, diaries, notes,
messages, e-mail, text messages, instant messages, other computer facilitated or transmitted
materials, images, photographs, polaroids, information in any computer database, audio and
video tapes, recordings, transcripts, ledgers, printouts, contracts, checks, receipts, and all copies
or portions thereof, and any other written, recorded, or memorialized material of any nature
whatsoever.
       2
        All of these requests are continuing in nature, requiring supplementation in accordance
with Fed. R. Crim. P. 16(c).
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government pursuant to search warrants. If you decline to provide these materials, please
indicate:

       1.      The search terms and/or other filtering process used by the government to identify
the “pertinent” documents from the search warrant returns for the non-Sadr accounts; and

       2.     How the government has satisfied its Brady obligations with respect to the
purportedly non-pertinent data and documents from the search warrant returns for the non-Sadr
accounts.

II.    Statements of the Defendant

        1.      Any written or recorded statements made by Sadr within the possession, custody,
or control of the government, the existence of which is known, or by the exercise of due
diligence may become known, to the government. See Fed. R. Crim. P. 16(a)(1)(B)(i). This
request includes, without limitation:

              a.      All notes, reports, and memoranda summarizing any statement by Sadr to
                      law enforcement officials at the time of his arrest;

              b.      All transcripts and recordings of conversations in which Sadr was a
                      participant;

              c.      All wire and oral communications made by Sadr that were transmitted to
                      or intercepted by, for or on behalf of any government agent or employee
                      or any agency or entity of the U.S. government;

              d.      All written and recorded statements of witnesses that reflect, relate, or
                      incorporate any statements made by Sadr; and

              e.      All other documents that purport to reflect, relate, or incorporate any
                      statements made by Sadr.

       2.      The portion of any written record containing the substance of any oral statement
made by Sadr, whether before or after arrest, in response to interrogation by any person then
known to the defendant to be a government agent. See Fed. R. Crim. P. 16(a)(1)(B)(ii). This
request includes without limitation, all documents, including notes, prepared by any FBI
employee or agent that contain the substance of any relevant statement made by Sadr.

         3.     The substance of any other oral statement made by Sadr, whether before or after
arrest, in response to interrogation by any person then known by Sadr to be a government agent.
See Fed. R. Crim. P. 16(a)(1)(A).
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III.    Documents and Tangible Objects

         1.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that were obtained from or belong to Sadr, or that belonged to Sadr
at the time of the alleged offenses, or that belong or belonged to any agent of Sadr or any entity
allegedly owned or controlled by Sadr. See Fed. R. Crim. P. 16(a)(1)(E)(iii). This request
includes all documents as to which the government or any entity assigned Sadr as a custodian,
whether hard copy or electronic records.

        2.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that the government intends to use at trial in its case-in-chief. See
Fed. R. Crim. P. 16(a)(1)(E)(ii). We request that any materials in this category be specifically
identified from among the materials produced pursuant to the defendant’s other Rule 16 and
Brady requests, both to enable counsel to prepare effectively for trial and to afford Sadr an
opportunity to move to suppress any evidence the prosecution intends to use in its case-in-chief.
See Fed. R. Crim. P. 12(b)(3)(C) and 12(b)(4)(B).

        3.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that are material to the preparation of Sadr’s defense, see Fed. R.
Crim. P. 16(a)(l)(E)(i), including, but not limited to, those items set forth in paragraphs III.4 to
III.14 below.

        4.     All documents reflecting the alleged specific “international financial transactions”
at issue in Count Two of the indictment. Indictment ¶ 19.

       5.     All documents reflecting the alleged “financial transactions” at issue in Counts
Three and Four of the indictment. Indictment ¶¶ 23, 26.

        6.     All documents reflecting the alleged false and fraudulent pretenses,
representations and promises at issue in Counts Three and Four of the indictment. Indictment
¶¶ 23, 26.

       7.     All documents reflecting the alleged monetary transactions and transfers at issue
in Counts Five and Six of the indictment. Indictment ¶¶ 29, 32.

        8.      All documents relating to Sadr or the conduct alleged in the indictment that were
introduced as exhibits before the grand jury. We request that any materials in this category be
specifically identified from among the materials produced pursuant to the defendant’s other Rule
16 and Brady requests.

       9.      All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by or for the grand jury or pursuant to any grand jury or trial subpoena. This request
includes any documents furnished informally to prosecutors in lieu of formal compliance with a
subpoena.
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       10.     All documents relating to Sadr or the conduct alleged in the indictment obtained
from any witness who testified before the grand jury, or who was interviewed or consulted
during the course of the grand jury investigation.

       11.    All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by any search or seizure pursuant to a search warrant or otherwise.

       12.    All documents relating to Sadr or the conduct alleged in the indictment obtained
from any federal, state or local governmental, regulatory or legislative body or agency.

        13.     All documents relating to press releases or press conferences concerning Sadr or
the investigation of the defendant, and all other documents relating to any contacts between the
government and representatives of the media concerning Sadr or the investigation of the
defendant.

       14.   All documents relating to the reputation of Sadr, including, without limitation,
any documents relating to Sadr’s reputation for honesty, integrity, or competence.

IV.    Brady and Giglio Material

       Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, including Giglio v.
United States, 405 U.S. 150 (1972), United States v. Agurs, 427 U.S. 97 (1976), United States v.
Bagley, 473 U.S. 667 (1985), Kyles v. Whitney, 514 U.S. 419 (1995), and New York Rule of
Professional Conduct 3.8, Sadr requests immediate identification and disclosure of all documents
and information (in whatever form) that are favorable to the defense or that would tend to
exculpate Sadr or mitigate his culpability with respect to the charges in the indictment, that
would tend to impeach any potential witness against Sadr, or that are relevant to the issue of
sentencing, including but not limited to the following:

        1.      Any document or information indicating or tending to establish that any of the
allegations in the indictment are not true.

        2.      Any document or information indicating or tending to establish that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not violate government laws, regulations, standards or established
business practices.

        3.     Any document or information indicating or tending to establish that Sadr believed
that any meeting, conversation, use of words, practice, or conduct that is the subject of the
indictment or forms the basis of the indictment did not constitute a crime.

        4.      Any document or information indicating or tending to establish that any other
person (including but not limited to the alleged co-conspirators) believed that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not constitute a crime.
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        5.      Any documents or information indicating or tending to establish that Sadr did not
instigate, control, authorize, approve, or acquiesce in the practices that are the subject of the
indictment.

        6.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not false.

        7.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not material.

       8.     Any documents or information indicating or tending to establish that a third
person was responsible for the financial transactions at issue in any count of the indictment.

        9.     Any document or information indicating or tending to establish that Sadr engaged
in any conduct that forms the basis of the indictment in reliance upon advice provided by counsel
or accountants.

       10.     Any document or information (in whatever form) that could be used to impeach
any potential government witness, or any person whose statements will be introduced pursuant to
Fed. R. Evid. 801(d)(2)(C), (D), or (E), including but not limited to:

               a.      Any document or information relating to any conviction, arrest, or
                       criminal record of, and any criminal charge brought against, any potential
                       government witness;

               b.      Any document or information relating to promises, consideration, or
                       inducements made to any potential government witness, whether directly
                       to the witness or indirectly to the witness’ attorney, friends, family,
                       employer, business associates, or other culpable or at risk third-party.
                       “Consideration” means anything of value or use, including immunity
                       grants, whether formal or informal, witness fees, transportation or
                       relocation assistance, money, dropped or reduced charges or suggestions
                       of favorable treatment with respect to any federal, state or local criminal,
                       civil, or administrative matter, expectations of downward departures or
                       motions for reduction of sentence, considerations regarding forfeiture of
                       assets, or stays of deportation or other immigration status considerations;

               c.      Any document or information tending to show the bias of a potential
                       government witness, including animosity toward Sadr, animosity toward
                       any group or entity of which Sadr is a member or with which Sadr is
                       affiliated, a relationship with the alleged victim, or known but uncharged
                       criminal conduct that may provide an incentive to curry favor with a
                       prosecutor;

               d.      Any document or information affecting the reliability of a potential
                       government witness’s testimony, including known alcohol or substance
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                      abuse, mental health issues or other issues that could affect the witness’s
                      ability to perceive and recall events;

               e.     Any document or information relating to any inconsistency in statements
                      given by any potential government witness;

               f.     Any document or information relating to any inconsistency between
                      agents’ and/or prosecutors’ rough notes and FBI 302s or other memoranda
                      of interviews of any potential government witness;

               g.     Any document or information bearing adversely on the character or
                      reputation for truthfulness of any potential government witness; and

               h.     Each specific instance of conduct from which it could be inferred that any
                      potential government witness is untruthful.

        11.     The date of and participants in each and every interview (including not only
interviews conducted by the U.S. Attorney’s Office or the Manhattan District Attorney’s Office,
but also interviews conducted by third parties), debriefing, “queen for a day” session, proffer,
deposition, or other statement or description of the alleged facts made by each potential
government witness (whether directly or indirectly, such as a proffer made by counsel). In
addition, please specify, as to each such witness, the first date on which the witness made any
allegation that Sadr engaged in any allegedly unlawful conduct or any conduct alleged in the
indictment.

         As you are aware, New York has adopted Rule of Professional Conduct 3.8, entitled
“Special Responsibilities of Prosecutors and Other Government Lawyers,” which provides that a
prosecutor “shall make timely disclosure to [the defense] of evidence or information known to
the prosecutor or other government lawyer that tends to negate the guilt of the accused, mitigate
the degree of the offense, or reduce the sentence . . . .” Rule 3.8(b). The Supreme Court has
recognized that Rule 3.8 imposes a higher standard on prosecutors than the standards mandating
disclosure of exculpatory evidence under Brady. See Kyles, 514 U.S. at 437 (“[Brady] requires
less of the prosecution than the ABA Standards for Criminal Justice, which call generally for
prosecutorial disclosures of any evidence tending to exculpate or mitigate.”); ABA Standards for
Criminal Justice, Prosecution Function and Defense Function 3-3.11(a) (3d ed. 1993) (“A
prosecutor should not intentionally fail to make timely disclosure to the defense, at the earliest
feasible opportunity, of the existence of all evidence or information which tends to negate the
guilt of the accused or mitigate the offense charged or which would tend to reduce the
punishment of the accused”); ABA Model Rule of Professional Conduct 3.8(d) (1984) (“The
prosecutor in a criminal case shall . . . make timely disclosure to the defense of all evidence or
information known to the prosecutor that tends to negate the guilt of the accused or mitigates the
offense”).

       We contend that the foregoing categories of information constitute Brady and Rule 3.8(b)
material, and that disclosure should take place immediately. Sadr further requests that the
      Case
      Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN Document
                               Document401-3
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                                        280-1 Filed02/22/21
                                                    02/25/19 Page
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                                                                  13of
                                                                  9 of 267
                                                                     of14
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government identify with particularity and provide copies of all materials that qualify as Brady
and Rule 3.8 material, as described above. Please advise us promptly whether the government
will be producing Brady material immediately even if it is contained in what might otherwise be
considered as Jencks material, or whether you take the position that you are not obligated to
produce such material at this time.

       We also request the underlying source material for any Brady and Rule 3.8(d)
information, as opposed to any summary letter or paraphrased description of the information.
Please advise us promptly whether the government will not be producing underlying source
material.

       For purposes of the Brady doctrine, “the format of the information does not determine
whether it is discoverable.” U.S. Attorneys’ Manual § 9-5.002.B.5 (2018). For example,
material exculpatory information that is provided “during a conversation with an agent or a
witness is no less discoverable than if that same information were contained in an email.” Id.
We therefore request that all such information be memorialized and produced to Sadr.

V.     Purportedly Privileged Material

        Sadr specifically requests that the government produce all documents or information (in
whatever form) produced to the government—or over which the government otherwise has
custody, control, or possession—that are responsive to Sadr’s discovery and Brady/Giglio
requests contained herein or that the government would otherwise be legally required to produce,
over which any individual or entity has asserted the attorney-client privilege and/or the attorney
work product doctrine. This request applies to all such documents produced pursuant to (a) a
non-waiver agreement between any individual or entity and the government, (b) a court order
pursuant to Fed. R. Evid. 502, or (c) a court order concluding that the documents are covered by
the crime-fraud exception to the attorney-client privilege.

        Sadr also requests that you identify any person or entity that has asserted any attorney-
client privilege, work product privilege, common interest privilege, or any other privilege as the
basis for withholding or not producing, in whole or in part, any documents to the government or
the grand jury during the investigation. Sadr further requests that you provide all documents
(including all privilege logs) with respect to the assertion of or challenge to any such claimed
privileges. This request specifically encompasses all pleadings, court orders, correspondence,
and other material related to any grand jury litigation by the government in which it challenged
any assertion of any privilege.

VI.    Criminal Records

       Pursuant to Rule 16(a)(1)(D) of the Federal Rules of Criminal Procedure, Sadr requests
copies of his prior criminal record, if any.
       Case
        Case1:18-cr-00224-AJN
       Case  1:18-cr-00224-ALC Document
             1:18-cr-00224-AJN  Document401-3
                               Document   92-1 Filed
                                         280-1 Filed02/22/21
                                               Filed 03/08/20 Page
                                                     02/25/19 Page78
                                                              Page 14of
                                                                   10 of267
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VII.    Jencks Material

         Pursuant to the Jencks Act, 18 U.S.C. § 3500, and Rule 26.2 of the Federal Rules of
Criminal Procedure, Sadr requests that the government provide a list of the names and addresses
of all witnesses that the government intends to call in its case-in-chief and all statements of those
witnesses in the possession, custody, or control of the government or any other government
entity, including, but not limited to, notes of interviews, FBI 302s, or other summaries prepared
by government attorneys or agents, and grand jury transcripts and any other witness statements.
We request that the government begin providing this material as soon as possible, or in any event
no later than ninety (90) days prior to the start of trial.

VIII. Scientific Evidence

        Pursuant to Rule 16(a)(1)(F) of the Federal Rules of Criminal Procedure, Sadr requests
documentation relating to all requests for, and the results of, physical or mental examinations,
scientific tests, or experiments that were conducted in connection with the investigation of the
charges contained in the indictment. This includes, but is not limited to:

               a.      all forensic examinations of any computer hard drive, handheld cellular
                       telephone or mobile device that Sadr possessed or to which Sadr had
                       access;

               b.      all handwriting exemplars, handwriting samples, handwriting or document
                       analyses, and all documents examined or used in or related to such
                       analyses;

               c.      all fingerprint and palm print exemplars, fingerprint samples,
                       comparisons, and opinions of fingerprint experts, and all documents
                       examined or used in connection with, or that relate to, those opinions; and

               d.      all polygraph examinations, psychological stress examinations, hypnotic
                       procedures, or any other scientific procedures devised to determine
                       whether a subject is telling the truth, or to refresh a witness’ memory, and
                       all documents that refer or relate to such examinations.

IX.     Other Crimes Evidence

        Pursuant to the Fifth and Sixth Amendments to the United States Constitution and Rules
403 and 404(b)(2) of the Federal Rules of Evidence, Sadr requests that the government disclose
all evidence of similar crimes, wrongs, or acts, allegedly committed by Sadr (or any person
alleged to have been acting pursuant to his instructions), upon which the government intends to
rely on at trial.
      Case
       Case1:18-cr-00224-AJN
      Case  1:18-cr-00224-ALC Document
            1:18-cr-00224-AJN  Document401-3
                              Document   92-1 Filed
                                        280-1 Filed02/22/21
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X.     Suppression Issues

      1.      As a predicate to potential motions pursuant to Rule 12(b) of the Federal Rules Of
Criminal Procedure, see Rule 12(b)(4)(B), Sadr requests that he be informed:

              a.      Whether the government intends to offer into evidence any statement
                      made by Sadr or any family member, and the substance of any such
                      statement;

              b.      Whether any evidence in the government’s possession, custody, or control
                      was obtained by a search and seizure conducted by the government, and a
                      description of such evidence;

              c.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through electronic or mechanical surveillance, including
                      without limitation, wiretaps, body wires, pen registers, and/or surveillance
                      of telephone calls, and a description of such evidence;

              d.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through the use of a beeper or other tracking device, and a
                      description of such evidence;

              e.      In connection with any tape recording, wiretaps, or other surveillance of
                      the defendant during the investigation of the allegations of the indictment
                      or any related allegations, Sadr seeks:

                       i.    The names and addresses of all such persons whose personal or
                             business telephones the government tapped or monitored, or whose
                             conversations or actions the government monitored by other means
                             without the person’s knowledge;

                      ii.    Transcripts or other records of the statements or conversations
                             monitored;

                     iii.    The original recorded tapes created during such surveillance;

                     iv.     The procedures used to conduct such surveillance; and

                      v.     The authority under which such surveillance was conducted.

              f.      Whether any evidence in the government's possession, custody, or control
                      was obtained through a mail cover and/or trash cover and a description of
                      such evidence; and

              g.      The identities of any informant or undercover agent employed by the
                      government during its investigation of the charges of the indictment.
       Case
        Case1:18-cr-00224-AJN
       Case  1:18-cr-00224-ALC Document
             1:18-cr-00224-AJN  Document401-3
                               Document   92-1 Filed
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                                                                   12 of267
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        2.       Sadr requests that the prosecution disclose whether it intends to offer in its case-
in-chief, as a statement by the defendant, any of the following, and that it provide the substance
of any such statement:

               a.      Any statement as to which the defendant allegedly manifested his adoption
                       or belief in its truth. See Fed. R. Evid. 801(d)(2)(B).

               b.      Any statement made by another which was purportedly authorized by the
                       defendant. See Fed. R. Evid. 801(d)(2)(C).

               c.      Any statement made by an agent or servant of the defendant concerning a
                       matter within the scope of his agency or employment made during the
                       existence of such a relationship. See Fed. R. Evid. 801(d)(2)(D).

               d.      Any statement made by an alleged co-conspirator of the defendant during
                       the course and in furtherance of any alleged conspiracy. See Fed. R.
                       Evid. 801(d)(2)(E).

XI.     Hearsay

       Sadr requests notice of any hearsay statement that the government plans to offer at trial
under Federal Rule of Evidence 807, including its particulars, the declarant’s name and address,
and other information giving Sadr a fair opportunity to meet the statement. Fed. R. Evid. 807(b).

XII.    Charts and Summaries

        Pursuant to Fed. R. Evid. 1006, Sadr requests that he be advised whether the government
will seek to offer any chart, summary, or calculation in evidence and, if so, (1) that all such
charts, summaries, and calculations be produced, and (2) that all writings, recordings, or other
information on which such charts, summaries, or calculations are based be made available for
inspection and copying.

XIII. Electronically Stored Information

       Sadr requests that the government comply with the “Recommendations for Electronically
Stored Information (ESI) Discovery Production in Federal Criminal Cases” issued by the
Department of Justice and Administrative Office of the U.S. Courts Joint Working Group on
Electronic Technology in the Criminal Justice System in February 2012. To that end, Sadr
requests the ability to “meet and confer” with the government as needed to discuss the nature,
volume, and mechanics of the government’s production of ESI discovery. Among other things,
Sadr makes the following requests:

        1.     The government should produce ESI received from third parties in the format it
               was received. However, if the government has further processed ESI received
               from third parties, such as by adding load files, converting native files to TIFF
               images, extracting metadata or other coding, or making electronic files
      Case
       Case1:18-cr-00224-AJN
      Case  1:18-cr-00224-ALC Document
            1:18-cr-00224-AJN  Document401-3
                              Document   92-1 Filed
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              searchable, the government should produce such enhanced ESI in discovery to
              save Sadr the expense of replicating this work. Sadr does not seek any
              government attorney work product by this request.

       2.     The government should produce a table of contents describing the general
              categories of information available as ESI discovery in order to expedite Sadr’s
              review of discovery and avoid discovery disputes, unnecessary expense, and
              undue delay. Further, the government should produce the cover letters that
              accompanied and described the third party productions of ESI and other
              documents to facilitate Sadr’s review.

       3.     For all ESI produced from a seized, searched, or subpoenaed third-party digital
              device (e.g., computer, hard drive, thumb drive, CD, DVD, cell phone,
              Blackberry, iPhone, Android, smart phone, smart watch, or personal digital
              assistant), the government should identify the digital device that held the ESI,
              identify the device’s owner or custodian, and identify the location where the
              device was seized, searched, or from where it was produced.

       4.     The government should produce any materials received in paper form in
              converted digital files that can be viewed and searched. These materials should
              be produced in multi-page TIFF and OCR format where each document is one file
              that may have multiple pages. Alternatively, a less preferable option would be
              production in multi-page, searchable PDF format. Under no circumstances should
              paper materials be converted into single-page TIFF images without document
              breaks.

       5.     All production of ESI should maintain parent-child relationships between
              documents, such as where an email (the parent document) has attachments (the
              child documents).

XIV. Bill of Particulars

       We also adopt Arnold & Porter’s August 23, 2018 letter requesting a bill of particulars
regarding the allegations in the indictment. We need specification of those allegations in the
indictment to permit Sadr to prepare to defend the charges against him. Please advise us whether
the government will provide the requested information so that we can determine whether it will
be necessary to move for a bill of particulars under Federal Rule of Criminal Procedure 7(f).
      Case
       Case1:18-cr-00224-AJN
      Case  1:18-cr-00224-ALC Document
            1:18-cr-00224-AJN  Document401-3
                              Document   92-1 Filed
                                        280-1 Filed02/22/21
                                              Filed 03/08/20 Page
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                                                                  14 of267
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       Please let us know promptly whether there are any requests set forth in this letter with
which you decline to comply. We are available to discuss any of the foregoing requests at your
convenience. We reserve the right to supplement these requests as we continue to review the
discovery material and prepare for trial. Thank you for your consideration.

                                            Sincerely,



                                            Brian M. Heberlig
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 83 of 267




                 EXHIBIT 36
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 84 of 267


From:            Crowley, Shawn (USANYS)
To:              Kim, Jane (USANYS) 4
Cc:              Bove, Emil (USANYS); Krouse, Michael (USANYS)
Subject:         Re: Draft
Date:            Sunday, March 08, 2020 11:34:54 PM


Did we (it doesn’t matter who) respond to their last email at 1:30? Can you guys please
forward us all correspondence relating to this document?


       On Mar 8, 2020, at 11:30 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
       wrote:


       ﻿
       Their second response. Well, I’m glad Stephanie asked me to send the emails so this
       doesn’t stress her more.


       From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
       Sent: Sunday, March 8, 2020 11:28 PM
       To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
       Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
       <MKrouse@usa.doj.gov>
       Subject: Re: Draft

       We’re going to smash these guys.

       On Mar 8, 2020, at 11:23 PM, Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
       wrote:

             Thank you. We’ll leave you guys alone tonight unless you need us. Hang in
             there—we’ll get through this just fine. We’re excited for your
             summations



                        On Mar 8, 2020, at 11:15 PM, Kim, Jane (USANYS) 4
                        <JKim4@usa.doj.gov> wrote:

                    ﻿
                    Minus Stephanie (don’t want to stress her out/make her feel
                    more sick).




                    From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
                    Sent: Sunday, March 8, 2020 11:03 PM
                    To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 85 of 267


          Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
          Bove, Emil (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie
          (USANYS) <SLake@usa.doj.gov>
          Subject: Re: Draft

          Thanks guys. Can you forward along any reply? Thank you




                    On Mar 8, 2020, at 9:55 PM, Kim, Jane
                    (USANYS) 4 <JKim4@usa.doj.gov> wrote:

                ﻿
                And really sorry for the quick turnaround – the
                order said we had to file by 10.


                From: Krouse, Michael (USANYS)
                <MKrouse@usa.doj.gov>
                Sent: Sunday, March 8, 2020 9:50 PM
                To: Crowley, Shawn (USANYS)
                <SCrowley@usa.doj.gov>; Bove, Emil (USANYS)
                <EBove@usa.doj.gov>
                Cc: Lake, Stephanie (USANYS)
                <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4
                <JKim4@usa.doj.gov>
                Subject: Draft

                    Not sure Stephanie sent this to you.


                From: Lake, Stephanie (USANYS)
                <SLake@usa.doj.gov>
                Sent: Sunday, March 8, 2020 9:31 PM
                To: Kim, Jane (USANYS) 4
                <JKim4@usa.doj.gov>; Krouse, Michael
                (USANYS) <MKrouse@usa.doj.gov>; Lynch,
                Garrett <LynchG@dany.nyc.gov>; Lynch,
                Garrett (USANYS) [Contractor]
                <GLynch@usa.doj.gov>
                Subject: RE: Proofing and then I'll file these
                objections

                Here’s a shitty draft.


                From: Kim, Jane (USANYS) 4
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 86 of 267


                  <JKim4@usa.doj.gov>
                  Sent: Sunday, March 08, 2020 9:15 PM
                  To: Krouse, Michael (USANYS)
                  <MKrouse@usa.doj.gov>; Lynch, Garrett
                  <LynchG@dany.nyc.gov>; Lake, Stephanie
                  (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett
                  (USANYS) [Contractor] <GLynch@usa.doj.gov>
                  Subject: Proofing and then I'll file these
                  objections

                  In 10 minutes unless anyone has objections.

                  Jane Kim
                  Assistant United States Attorney
                  Southern District of New York
                  One St. Andrew’s Plaza
                  New York, New York 10007
                  Phone: (212) 637-2038
                  Email: jane.kim@usdoj.gov


             <[279] Def resp re brady.pdf>
             <[279-1] Def resp re brady.pdf>
 <[280] Def resp re brady.pdf>
 <[280-1] Def resp re brady.pdf>
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 87 of 267


From:           Kim, Jane (USANYS) 4
To:             Bove, Emil (USANYS)
Cc:             Crowley, Shawn (USANYS); Krouse, Michael (USANYS)
Subject:        Re: Draft
Date:           Sunday, March 08, 2020 11:35:53 PM


We spoke to them by phone at 2:30 and walked through each category of their questions. I
think this is it but will double check.

On Mar 8, 2020, at 11:27 PM, Bove, Emil (USANYS) <EBove@usa.doj.gov> wrote:


       We’re going to smash these guys.

       On Mar 8, 2020, at 11:23 PM, Crowley, Shawn (USANYS)
       <SCrowley@usa.doj.gov> wrote:


            Thank you. We’ll leave you guys alone tonight unless you need us.
            Hang in there—we’ll get through this just fine. We’re excited for
            your summations


                       On Mar 8, 2020, at 11:15 PM, Kim, Jane (USANYS) 4
                       <JKim4@usa.doj.gov> wrote:


                   ﻿
                       Minus Stephanie (don’t want to stress her out/make her feel
                       more sick).




                       From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
                       Sent: Sunday, March 8, 2020 11:03 PM
                       To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
                       Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
                       Bove, Emil (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie
                       (USANYS) <SLake@usa.doj.gov>
                       Subject: Re: Draft

                       Thanks guys. Can you forward along any reply? Thank you



                                 On Mar 8, 2020, at 9:55 PM, Kim, Jane
                                 (USANYS) 4 <JKim4@usa.doj.gov> wrote:

                             ﻿
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 88 of 267


               And really sorry for the quick turnaround – the
               order said we had to file by 10.


               From: Krouse, Michael (USANYS)
               <MKrouse@usa.doj.gov>
               Sent: Sunday, March 8, 2020 9:50 PM
               To: Crowley, Shawn (USANYS)
               <SCrowley@usa.doj.gov>; Bove, Emil (USANYS)
               <EBove@usa.doj.gov>
               Cc: Lake, Stephanie (USANYS)
               <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4
               <JKim4@usa.doj.gov>
               Subject: Draft

               Not sure Stephanie sent this to you.


               From: Lake, Stephanie (USANYS)
               <SLake@usa.doj.gov>
               Sent: Sunday, March 8, 2020 9:31 PM
               To: Kim, Jane (USANYS) 4
               <JKim4@usa.doj.gov>; Krouse, Michael
               (USANYS) <MKrouse@usa.doj.gov>; Lynch,
               Garrett <LynchG@dany.nyc.gov>; Lynch,
               Garrett (USANYS) [Contractor]
               <GLynch@usa.doj.gov>
               Subject: RE: Proofing and then I'll file these
               objections

               Here’s a shitty draft.


               From: Kim, Jane (USANYS) 4
               <JKim4@usa.doj.gov>
               Sent: Sunday, March 08, 2020 9:15 PM
               To: Krouse, Michael (USANYS)
               <MKrouse@usa.doj.gov>; Lynch, Garrett
               <LynchG@dany.nyc.gov>; Lake, Stephanie
               (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett
               (USANYS) [Contractor] <GLynch@usa.doj.gov>
               Subject: Proofing and then I'll file these
               objections

               In 10 minutes unless anyone has objections.

               Jane Kim
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 89 of 267


               Assistant United States Attorney
               Southern District of New York
               One St. Andrew’s Plaza
               New York, New York 10007
               Phone: (212) 637-2038
               Email: jane.kim@usdoj.gov


          <[279] Def resp re brady.pdf>
          <[279-1] Def resp re brady.pdf>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 90 of 267




                 EXHIBIT 37
       Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 91 of 267


From:           Bove, Emil (USANYS)
To:             Birger, Laura (USANYS)
Cc:             Crowley, Shawn (USANYS)
Subject:        Sadr
Date:           Monday, March 09, 2020 5:43:57 AM
Attachments:    127126528741.pdf
                ATT00001.htm
                18cr224 Order 3.08.20.pdf
                ATT00002.htm
                [280-1] Def resp re brady.pdf
                ATT00003.htm


Hi Laura,

Attached are additional filings from last night. We held off on distributing these more broadly
because we weren’t sure how much would come in, and didn’t want to send 3-4 update emails.
The defense ended up not saying much other than to file the attached correspondence with the
team. Our plan is to send an internal update once we hear from AJN at 9 this morning, but we
wanted you to have seen these documents before you call the court.

In these attachments, you’ll see that AJN asked follow-up questions about our initial letter. We
found the answers to the questions to be unfortunate, particularly the fact that the team did not
flag for defense counsel that the document was being produced for the first time. We’re going
to talk to the unit about the disclosure issues here and in Schulte once the dust settles with the
trials.

Thanks again for making this call.

Emil
     Case   1:18-cr-00224-AJN
         Case  1:18-cr-00224-AJNDocument 401-3
                                  Document 277 Filed
                                                 Filed02/22/21
                                                       03/08/20 Page
                                                                 Page92  of 2267
                                                                       1 of
                                            U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 8, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

       The Court writes in response to the Court’s order from 9:00 this evening. The Government
apologizes for the lack of clarity in its prior email.

         The Government found GX 411 in its emails on Friday night, looked at the Bank-1
subpoena production, and did not find it. The members of the team discussed the document the
next morning and confirmed that it likely had not been produced to the defense previously. The
Government promptly had a paralegal mark it as an exhibit and produced it to the defense along
with other exhibits and 3500 materials. The Government made clear that GX 411 was a newly
marked exhibit and that we intended to offer it, and asked the defense if they would stipulate to
authenticity. Defense counsel responded shortly after the Government provided GX 411 and asked
how long the Government had GX 411, and why they had not previously received it. The
Government responded and explained that we had been aware of the letter since mid-January, and
that, at the time, the Government had mistakenly believed it was part of the discovery in the case.

        When SAUSA Lynch sent what is now GX 411 to the AUSAs in the case in January, the
AUSAs assumed that this was a document that came from this case (specifically, the subpoena to
Bank-1), and that it was therefore a document that had been previously produced to the defense as
part of the Rule 16 discovery. This was an incorrect assumption. The document in fact was
     Case 1:18-cr-00224-AJN
       Case  1:18-cr-00224-AJNDocument 401-3
                                Document 277 Filed
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The Honorable Alison J. Nathan, U.S.D.J.
March 8, 2020
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obtained in an unrelated DANY investigation and was not provided to this Office before January
2020.

                                                    Respectfully submitted,
                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                              By:          /s/
                                                    Jane Kim / Michael Krouse / Stephanie Lake
                                                       Assistant United States Attorneys
                                                    Garrett Lynch
                                                       Special Assistant United States Attorney
                                                    (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 94 of 267
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         Exhibit B
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                                                                                 2 of 267




From:                      Silverman, Nicholas
Sent:                      Sunday, March 8, 2020 1:36 PM
To:                        Kim, Jane (USANYS) 4; Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid
Cc:                        Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                           [Contractor]
Subject:                   RE: U.S. v. Sadr
Attachments:               092-1 2019-02-25 Pretrial Mem 6 - Exhibit A-c2.pdf



Counsel:

     (1) Are there any other documents in the government’s possession that have not been produced?
     (2) Is there any other Brady information in the government’s possession that has not been produced?
     (3) Is there any information in the government’s possession, custody, or control showing OFAC’s response
         to this letter? This is subject to production under Giglio and/or Napue because it would at a minimum
         undermine Ted Kim’s testimony (A) that to his knowledge, nothing relating to this matter was
         investigated by OFAC, (B) that “it matters a lot” if Iranian involvement in a transaction is concealed,
         and (C) that hiding “Iranian connections … would make it very difficult for me to do my job.”
     (4) As we have said, our requests for Brady and Giglio are continuing in nature. I have attached our
         September 2018 letter in case you want a non-exclusive list of examples of the type of information
         covered by Brady and Giglio in this case. Obviously, any information contrary to government witness
         testimony would be another example.
     (5) Regarding the authenticity of GX 411, we stipulate to authenticity.
     (6) GX 704 – Please let us know what modifications have been made.
     (7) GX 495A, 495B – What is the relevance of Sadr having bank accounts at HSBX from January 2010
         through October 2013?
     (8) GX 456 – We are reviewing and anticipate stipulating to authenticity.
     (9) GX 705A & 705B – We are reviewing.
     (10)         GX 2304A – Subject to our continuing objection (which we understand to have been overruled),
         no further objection.


Nicholas P. Silverman
Associate
nsilverman@steptoe.com


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+1 617 595 6559 mobile           1330 Connecticut Avenue, NW
+1 202 429 3902 fax              Washington, DC 20036
                                 www.steptoe.com


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you are not the intended recipient, please do not read, copy, distribute, or use this information. If you have received this transmission in error, please
notify the sender immediately by reply e-mail and then delete this message.




From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Sunday, March 8, 2020 9:41 AM

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To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian, Reid, and Nick:

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.

Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you please let us know
your position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?

Thanks,
Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 10:09 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid
<RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.
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Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

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   ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
   ‐   3508‐08 – 3500 from today
   ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
       the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
       know how you prefer to proceed.
   ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
       concerns.
   ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
       have any objections.
   ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
       of the data. The content is the same.
   ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
   ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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Brian M. Heberlig
202 429 8134
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Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                       September 25, 2018




By Electronic Mail

Andrew DeFilippis
Matthew Laroche
Rebekah Donaleski
Assistant United States Attorneys
Garrett Lynch
Special Assistant United States Attorney
U.S. Attorney’s Office for the
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007

        Re:      United States v. Ali Sadr Hashemi Nejad, No. 18 Cr. 224 (ALC)
                 Request for Discovery, Brady Material, and Particulars

Dear Counsel:

        On behalf of defendant Ali Sadr Hashemi Nejad, we request that the government provide
“open file” discovery in this case, including the prompt production of all of the documents and
other evidence it has obtained in its investigation and all grand jury transcripts, FBI 302s, and
interview memoranda.

        In the event that you elect not to provide “open file” discovery, Sadr respectfully submits
this formal request for discovery in this case, pursuant to the Fifth and Sixth Amendments to the
United States Constitution; Rules 12, 16, and 26.2 of the Federal Rules of Criminal Procedure;
Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
progeny; the Department of Justice’s “Guidance for Prosecutors Regarding Criminal Discovery”;
and the additional authority set forth below.

       We understand that Sadr’s prior counsel at Arnold & Porter made earlier discovery
requests in this matter, including requests in letters and emails dated: March 21, March 25,
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March 29, April 3, May 15, July 5, July 10, July 26, August 2, August 23, and September 4,
2018. We adopt those requests and ask that you provide any future responsive material directly
to us. Arnold & Porter has provided us with copies of your prior discovery letters and emails
and the discovery productions to date, and we do not need you to reproduce them to us.
Although some of these discovery requests overlap with prior requests by Arnold & Porter, we
submit them to ensure that Sadr has fully protected his rights to discovery and Brady/Giglio
material in this matter.

        Sadr requests that you produce and/or permit him to inspect and copy or photograph the
materials specified below. This request encompasses not only documents1 and information in the
possession, custody, or control of, or that have been reviewed by, the U.S. Attorney’s Office for
the Southern District of New York and the Federal Bureau of Investigation, but also documents
and information in the possession, custody, and control of, or that have been reviewed by, the
Manhattan District Attorney’s Office, and any other federal, state or local agency allied with the
prosecution or involved in any way in investigating the activities alleged in the Indictment or
related conduct. As used in this letter, the words “government” and “you” include your office
and the above-referenced federal, state, or local agencies.

        Sadr requests that the government comply with all of its discovery obligations under
federal law, including, but not limited to, the following:2

I.     Search Warrant Returns

         We request clarification of the government’s position on the discoverability of the data
and documents collected pursuant to search warrants in the investigation. It is our understanding
that the government has produced the full and unfiltered email accounts of Sadr collected
pursuant to search warrants. Arnold & Porter requested the “terabyte” of unfiltered data and
documents from non-Sadr accounts obtained pursuant to search warrants, in an April 3, 2018
letter and an August 2, 2018 email. With respect to that data, it is our understanding that the
government has produced only a subset of materials that it has deemed “pertinent.” We reiterate
Sadr’s request for complete, unfiltered data and documents from all accounts obtained by the


       1
         The word “documents” includes, but is not limited to, all books, papers, letters,
correspondence, reports, memoranda, studies, calendars, appointment books, diaries, notes,
messages, e-mail, text messages, instant messages, other computer facilitated or transmitted
materials, images, photographs, polaroids, information in any computer database, audio and
video tapes, recordings, transcripts, ledgers, printouts, contracts, checks, receipts, and all copies
or portions thereof, and any other written, recorded, or memorialized material of any nature
whatsoever.
       2
        All of these requests are continuing in nature, requiring supplementation in accordance
with Fed. R. Crim. P. 16(c).
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government pursuant to search warrants. If you decline to provide these materials, please
indicate:

       1.      The search terms and/or other filtering process used by the government to identify
the “pertinent” documents from the search warrant returns for the non-Sadr accounts; and

       2.     How the government has satisfied its Brady obligations with respect to the
purportedly non-pertinent data and documents from the search warrant returns for the non-Sadr
accounts.

II.    Statements of the Defendant

        1.      Any written or recorded statements made by Sadr within the possession, custody,
or control of the government, the existence of which is known, or by the exercise of due
diligence may become known, to the government. See Fed. R. Crim. P. 16(a)(1)(B)(i). This
request includes, without limitation:

              a.      All notes, reports, and memoranda summarizing any statement by Sadr to
                      law enforcement officials at the time of his arrest;

              b.      All transcripts and recordings of conversations in which Sadr was a
                      participant;

              c.      All wire and oral communications made by Sadr that were transmitted to
                      or intercepted by, for or on behalf of any government agent or employee
                      or any agency or entity of the U.S. government;

              d.      All written and recorded statements of witnesses that reflect, relate, or
                      incorporate any statements made by Sadr; and

              e.      All other documents that purport to reflect, relate, or incorporate any
                      statements made by Sadr.

       2.      The portion of any written record containing the substance of any oral statement
made by Sadr, whether before or after arrest, in response to interrogation by any person then
known to the defendant to be a government agent. See Fed. R. Crim. P. 16(a)(1)(B)(ii). This
request includes without limitation, all documents, including notes, prepared by any FBI
employee or agent that contain the substance of any relevant statement made by Sadr.

         3.     The substance of any other oral statement made by Sadr, whether before or after
arrest, in response to interrogation by any person then known by Sadr to be a government agent.
See Fed. R. Crim. P. 16(a)(1)(A).
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III.    Documents and Tangible Objects

         1.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that were obtained from or belong to Sadr, or that belonged to Sadr
at the time of the alleged offenses, or that belong or belonged to any agent of Sadr or any entity
allegedly owned or controlled by Sadr. See Fed. R. Crim. P. 16(a)(1)(E)(iii). This request
includes all documents as to which the government or any entity assigned Sadr as a custodian,
whether hard copy or electronic records.

        2.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that the government intends to use at trial in its case-in-chief. See
Fed. R. Crim. P. 16(a)(1)(E)(ii). We request that any materials in this category be specifically
identified from among the materials produced pursuant to the defendant’s other Rule 16 and
Brady requests, both to enable counsel to prepare effectively for trial and to afford Sadr an
opportunity to move to suppress any evidence the prosecution intends to use in its case-in-chief.
See Fed. R. Crim. P. 12(b)(3)(C) and 12(b)(4)(B).

        3.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that are material to the preparation of Sadr’s defense, see Fed. R.
Crim. P. 16(a)(l)(E)(i), including, but not limited to, those items set forth in paragraphs III.4 to
III.14 below.

        4.     All documents reflecting the alleged specific “international financial transactions”
at issue in Count Two of the indictment. Indictment ¶ 19.

       5.     All documents reflecting the alleged “financial transactions” at issue in Counts
Three and Four of the indictment. Indictment ¶¶ 23, 26.

        6.     All documents reflecting the alleged false and fraudulent pretenses,
representations and promises at issue in Counts Three and Four of the indictment. Indictment
¶¶ 23, 26.

       7.     All documents reflecting the alleged monetary transactions and transfers at issue
in Counts Five and Six of the indictment. Indictment ¶¶ 29, 32.

        8.      All documents relating to Sadr or the conduct alleged in the indictment that were
introduced as exhibits before the grand jury. We request that any materials in this category be
specifically identified from among the materials produced pursuant to the defendant’s other Rule
16 and Brady requests.

       9.      All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by or for the grand jury or pursuant to any grand jury or trial subpoena. This request
includes any documents furnished informally to prosecutors in lieu of formal compliance with a
subpoena.
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       10.     All documents relating to Sadr or the conduct alleged in the indictment obtained
from any witness who testified before the grand jury, or who was interviewed or consulted
during the course of the grand jury investigation.

       11.    All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by any search or seizure pursuant to a search warrant or otherwise.

       12.    All documents relating to Sadr or the conduct alleged in the indictment obtained
from any federal, state or local governmental, regulatory or legislative body or agency.

        13.     All documents relating to press releases or press conferences concerning Sadr or
the investigation of the defendant, and all other documents relating to any contacts between the
government and representatives of the media concerning Sadr or the investigation of the
defendant.

       14.   All documents relating to the reputation of Sadr, including, without limitation,
any documents relating to Sadr’s reputation for honesty, integrity, or competence.

IV.    Brady and Giglio Material

       Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, including Giglio v.
United States, 405 U.S. 150 (1972), United States v. Agurs, 427 U.S. 97 (1976), United States v.
Bagley, 473 U.S. 667 (1985), Kyles v. Whitney, 514 U.S. 419 (1995), and New York Rule of
Professional Conduct 3.8, Sadr requests immediate identification and disclosure of all documents
and information (in whatever form) that are favorable to the defense or that would tend to
exculpate Sadr or mitigate his culpability with respect to the charges in the indictment, that
would tend to impeach any potential witness against Sadr, or that are relevant to the issue of
sentencing, including but not limited to the following:

        1.      Any document or information indicating or tending to establish that any of the
allegations in the indictment are not true.

        2.      Any document or information indicating or tending to establish that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not violate government laws, regulations, standards or established
business practices.

        3.     Any document or information indicating or tending to establish that Sadr believed
that any meeting, conversation, use of words, practice, or conduct that is the subject of the
indictment or forms the basis of the indictment did not constitute a crime.

        4.      Any document or information indicating or tending to establish that any other
person (including but not limited to the alleged co-conspirators) believed that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not constitute a crime.
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        5.      Any documents or information indicating or tending to establish that Sadr did not
instigate, control, authorize, approve, or acquiesce in the practices that are the subject of the
indictment.

        6.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not false.

        7.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not material.

       8.     Any documents or information indicating or tending to establish that a third
person was responsible for the financial transactions at issue in any count of the indictment.

        9.     Any document or information indicating or tending to establish that Sadr engaged
in any conduct that forms the basis of the indictment in reliance upon advice provided by counsel
or accountants.

       10.     Any document or information (in whatever form) that could be used to impeach
any potential government witness, or any person whose statements will be introduced pursuant to
Fed. R. Evid. 801(d)(2)(C), (D), or (E), including but not limited to:

               a.      Any document or information relating to any conviction, arrest, or
                       criminal record of, and any criminal charge brought against, any potential
                       government witness;

               b.      Any document or information relating to promises, consideration, or
                       inducements made to any potential government witness, whether directly
                       to the witness or indirectly to the witness’ attorney, friends, family,
                       employer, business associates, or other culpable or at risk third-party.
                       “Consideration” means anything of value or use, including immunity
                       grants, whether formal or informal, witness fees, transportation or
                       relocation assistance, money, dropped or reduced charges or suggestions
                       of favorable treatment with respect to any federal, state or local criminal,
                       civil, or administrative matter, expectations of downward departures or
                       motions for reduction of sentence, considerations regarding forfeiture of
                       assets, or stays of deportation or other immigration status considerations;

               c.      Any document or information tending to show the bias of a potential
                       government witness, including animosity toward Sadr, animosity toward
                       any group or entity of which Sadr is a member or with which Sadr is
                       affiliated, a relationship with the alleged victim, or known but uncharged
                       criminal conduct that may provide an incentive to curry favor with a
                       prosecutor;

               d.      Any document or information affecting the reliability of a potential
                       government witness’s testimony, including known alcohol or substance
     Case
      Case1:18-cr-00224-AJN
       Case 1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document401-3
                               Document 92-1 Filed
                                       280-1  Filed02/22/21
                                                    02/25/19 Page
                                                    03/08/20  Page107
                                                                   8 ofof
                                                                   12 of14267
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                      abuse, mental health issues or other issues that could affect the witness’s
                      ability to perceive and recall events;

               e.     Any document or information relating to any inconsistency in statements
                      given by any potential government witness;

               f.     Any document or information relating to any inconsistency between
                      agents’ and/or prosecutors’ rough notes and FBI 302s or other memoranda
                      of interviews of any potential government witness;

               g.     Any document or information bearing adversely on the character or
                      reputation for truthfulness of any potential government witness; and

               h.     Each specific instance of conduct from which it could be inferred that any
                      potential government witness is untruthful.

        11.     The date of and participants in each and every interview (including not only
interviews conducted by the U.S. Attorney’s Office or the Manhattan District Attorney’s Office,
but also interviews conducted by third parties), debriefing, “queen for a day” session, proffer,
deposition, or other statement or description of the alleged facts made by each potential
government witness (whether directly or indirectly, such as a proffer made by counsel). In
addition, please specify, as to each such witness, the first date on which the witness made any
allegation that Sadr engaged in any allegedly unlawful conduct or any conduct alleged in the
indictment.

         As you are aware, New York has adopted Rule of Professional Conduct 3.8, entitled
“Special Responsibilities of Prosecutors and Other Government Lawyers,” which provides that a
prosecutor “shall make timely disclosure to [the defense] of evidence or information known to
the prosecutor or other government lawyer that tends to negate the guilt of the accused, mitigate
the degree of the offense, or reduce the sentence . . . .” Rule 3.8(b). The Supreme Court has
recognized that Rule 3.8 imposes a higher standard on prosecutors than the standards mandating
disclosure of exculpatory evidence under Brady. See Kyles, 514 U.S. at 437 (“[Brady] requires
less of the prosecution than the ABA Standards for Criminal Justice, which call generally for
prosecutorial disclosures of any evidence tending to exculpate or mitigate.”); ABA Standards for
Criminal Justice, Prosecution Function and Defense Function 3-3.11(a) (3d ed. 1993) (“A
prosecutor should not intentionally fail to make timely disclosure to the defense, at the earliest
feasible opportunity, of the existence of all evidence or information which tends to negate the
guilt of the accused or mitigate the offense charged or which would tend to reduce the
punishment of the accused”); ABA Model Rule of Professional Conduct 3.8(d) (1984) (“The
prosecutor in a criminal case shall . . . make timely disclosure to the defense of all evidence or
information known to the prosecutor that tends to negate the guilt of the accused or mitigates the
offense”).

       We contend that the foregoing categories of information constitute Brady and Rule 3.8(b)
material, and that disclosure should take place immediately. Sadr further requests that the
      Case
       Case1:18-cr-00224-AJN
        Case 1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN  Document401-3
                                Document 92-1 Filed
                                        280-1  Filed02/22/21
                                                     02/25/19 Page
                                                     03/08/20  Page108
                                                                    9 ofof
                                                                    13 of14267
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government identify with particularity and provide copies of all materials that qualify as Brady
and Rule 3.8 material, as described above. Please advise us promptly whether the government
will be producing Brady material immediately even if it is contained in what might otherwise be
considered as Jencks material, or whether you take the position that you are not obligated to
produce such material at this time.

       We also request the underlying source material for any Brady and Rule 3.8(d)
information, as opposed to any summary letter or paraphrased description of the information.
Please advise us promptly whether the government will not be producing underlying source
material.

       For purposes of the Brady doctrine, “the format of the information does not determine
whether it is discoverable.” U.S. Attorneys’ Manual § 9-5.002.B.5 (2018). For example,
material exculpatory information that is provided “during a conversation with an agent or a
witness is no less discoverable than if that same information were contained in an email.” Id.
We therefore request that all such information be memorialized and produced to Sadr.

V.     Purportedly Privileged Material

        Sadr specifically requests that the government produce all documents or information (in
whatever form) produced to the government—or over which the government otherwise has
custody, control, or possession—that are responsive to Sadr’s discovery and Brady/Giglio
requests contained herein or that the government would otherwise be legally required to produce,
over which any individual or entity has asserted the attorney-client privilege and/or the attorney
work product doctrine. This request applies to all such documents produced pursuant to (a) a
non-waiver agreement between any individual or entity and the government, (b) a court order
pursuant to Fed. R. Evid. 502, or (c) a court order concluding that the documents are covered by
the crime-fraud exception to the attorney-client privilege.

        Sadr also requests that you identify any person or entity that has asserted any attorney-
client privilege, work product privilege, common interest privilege, or any other privilege as the
basis for withholding or not producing, in whole or in part, any documents to the government or
the grand jury during the investigation. Sadr further requests that you provide all documents
(including all privilege logs) with respect to the assertion of or challenge to any such claimed
privileges. This request specifically encompasses all pleadings, court orders, correspondence,
and other material related to any grand jury litigation by the government in which it challenged
any assertion of any privilege.

VI.    Criminal Records

       Pursuant to Rule 16(a)(1)(D) of the Federal Rules of Criminal Procedure, Sadr requests
copies of his prior criminal record, if any.
       Case
        Case
        Case1:18-cr-00224-AJN
              1:18-cr-00224-ALCDocument
             1:18-cr-00224-AJN  Document
                                Document401-3
                                          92-1 Filed
                                         280-1  Filed02/22/21
                                                Filed 03/08/20 Page
                                                      02/25/19  Page109
                                                               Page  10 of
                                                                     14of  267
                                                                        of14
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VII.    Jencks Material

         Pursuant to the Jencks Act, 18 U.S.C. § 3500, and Rule 26.2 of the Federal Rules of
Criminal Procedure, Sadr requests that the government provide a list of the names and addresses
of all witnesses that the government intends to call in its case-in-chief and all statements of those
witnesses in the possession, custody, or control of the government or any other government
entity, including, but not limited to, notes of interviews, FBI 302s, or other summaries prepared
by government attorneys or agents, and grand jury transcripts and any other witness statements.
We request that the government begin providing this material as soon as possible, or in any event
no later than ninety (90) days prior to the start of trial.

VIII. Scientific Evidence

        Pursuant to Rule 16(a)(1)(F) of the Federal Rules of Criminal Procedure, Sadr requests
documentation relating to all requests for, and the results of, physical or mental examinations,
scientific tests, or experiments that were conducted in connection with the investigation of the
charges contained in the indictment. This includes, but is not limited to:

               a.      all forensic examinations of any computer hard drive, handheld cellular
                       telephone or mobile device that Sadr possessed or to which Sadr had
                       access;

               b.      all handwriting exemplars, handwriting samples, handwriting or document
                       analyses, and all documents examined or used in or related to such
                       analyses;

               c.      all fingerprint and palm print exemplars, fingerprint samples,
                       comparisons, and opinions of fingerprint experts, and all documents
                       examined or used in connection with, or that relate to, those opinions; and

               d.      all polygraph examinations, psychological stress examinations, hypnotic
                       procedures, or any other scientific procedures devised to determine
                       whether a subject is telling the truth, or to refresh a witness’ memory, and
                       all documents that refer or relate to such examinations.

IX.     Other Crimes Evidence

        Pursuant to the Fifth and Sixth Amendments to the United States Constitution and Rules
403 and 404(b)(2) of the Federal Rules of Evidence, Sadr requests that the government disclose
all evidence of similar crimes, wrongs, or acts, allegedly committed by Sadr (or any person
alleged to have been acting pursuant to his instructions), upon which the government intends to
rely on at trial.
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
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                                                                   15of  267
                                                                      of14
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X.     Suppression Issues

      1.      As a predicate to potential motions pursuant to Rule 12(b) of the Federal Rules Of
Criminal Procedure, see Rule 12(b)(4)(B), Sadr requests that he be informed:

              a.      Whether the government intends to offer into evidence any statement
                      made by Sadr or any family member, and the substance of any such
                      statement;

              b.      Whether any evidence in the government’s possession, custody, or control
                      was obtained by a search and seizure conducted by the government, and a
                      description of such evidence;

              c.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through electronic or mechanical surveillance, including
                      without limitation, wiretaps, body wires, pen registers, and/or surveillance
                      of telephone calls, and a description of such evidence;

              d.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through the use of a beeper or other tracking device, and a
                      description of such evidence;

              e.      In connection with any tape recording, wiretaps, or other surveillance of
                      the defendant during the investigation of the allegations of the indictment
                      or any related allegations, Sadr seeks:

                       i.    The names and addresses of all such persons whose personal or
                             business telephones the government tapped or monitored, or whose
                             conversations or actions the government monitored by other means
                             without the person’s knowledge;

                      ii.    Transcripts or other records of the statements or conversations
                             monitored;

                     iii.    The original recorded tapes created during such surveillance;

                     iv.     The procedures used to conduct such surveillance; and

                      v.     The authority under which such surveillance was conducted.

              f.      Whether any evidence in the government's possession, custody, or control
                      was obtained through a mail cover and/or trash cover and a description of
                      such evidence; and

              g.      The identities of any informant or undercover agent employed by the
                      government during its investigation of the charges of the indictment.
       Case
        Case
        Case1:18-cr-00224-AJN
              1:18-cr-00224-ALCDocument
             1:18-cr-00224-AJN  Document
                                Document401-3
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                                                Filed 03/08/20 Page
                                                      02/25/19  Page111
                                                               Page  12 of
                                                                     16of  267
                                                                        of14
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        2.       Sadr requests that the prosecution disclose whether it intends to offer in its case-
in-chief, as a statement by the defendant, any of the following, and that it provide the substance
of any such statement:

               a.      Any statement as to which the defendant allegedly manifested his adoption
                       or belief in its truth. See Fed. R. Evid. 801(d)(2)(B).

               b.      Any statement made by another which was purportedly authorized by the
                       defendant. See Fed. R. Evid. 801(d)(2)(C).

               c.      Any statement made by an agent or servant of the defendant concerning a
                       matter within the scope of his agency or employment made during the
                       existence of such a relationship. See Fed. R. Evid. 801(d)(2)(D).

               d.      Any statement made by an alleged co-conspirator of the defendant during
                       the course and in furtherance of any alleged conspiracy. See Fed. R.
                       Evid. 801(d)(2)(E).

XI.     Hearsay

       Sadr requests notice of any hearsay statement that the government plans to offer at trial
under Federal Rule of Evidence 807, including its particulars, the declarant’s name and address,
and other information giving Sadr a fair opportunity to meet the statement. Fed. R. Evid. 807(b).

XII.    Charts and Summaries

        Pursuant to Fed. R. Evid. 1006, Sadr requests that he be advised whether the government
will seek to offer any chart, summary, or calculation in evidence and, if so, (1) that all such
charts, summaries, and calculations be produced, and (2) that all writings, recordings, or other
information on which such charts, summaries, or calculations are based be made available for
inspection and copying.

XIII. Electronically Stored Information

       Sadr requests that the government comply with the “Recommendations for Electronically
Stored Information (ESI) Discovery Production in Federal Criminal Cases” issued by the
Department of Justice and Administrative Office of the U.S. Courts Joint Working Group on
Electronic Technology in the Criminal Justice System in February 2012. To that end, Sadr
requests the ability to “meet and confer” with the government as needed to discuss the nature,
volume, and mechanics of the government’s production of ESI discovery. Among other things,
Sadr makes the following requests:

        1.     The government should produce ESI received from third parties in the format it
               was received. However, if the government has further processed ESI received
               from third parties, such as by adding load files, converting native files to TIFF
               images, extracting metadata or other coding, or making electronic files
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
                                                    02/25/19  Page112
                                                             Page  13 of
                                                                   17of  267
                                                                      of14
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              searchable, the government should produce such enhanced ESI in discovery to
              save Sadr the expense of replicating this work. Sadr does not seek any
              government attorney work product by this request.

       2.     The government should produce a table of contents describing the general
              categories of information available as ESI discovery in order to expedite Sadr’s
              review of discovery and avoid discovery disputes, unnecessary expense, and
              undue delay. Further, the government should produce the cover letters that
              accompanied and described the third party productions of ESI and other
              documents to facilitate Sadr’s review.

       3.     For all ESI produced from a seized, searched, or subpoenaed third-party digital
              device (e.g., computer, hard drive, thumb drive, CD, DVD, cell phone,
              Blackberry, iPhone, Android, smart phone, smart watch, or personal digital
              assistant), the government should identify the digital device that held the ESI,
              identify the device’s owner or custodian, and identify the location where the
              device was seized, searched, or from where it was produced.

       4.     The government should produce any materials received in paper form in
              converted digital files that can be viewed and searched. These materials should
              be produced in multi-page TIFF and OCR format where each document is one file
              that may have multiple pages. Alternatively, a less preferable option would be
              production in multi-page, searchable PDF format. Under no circumstances should
              paper materials be converted into single-page TIFF images without document
              breaks.

       5.     All production of ESI should maintain parent-child relationships between
              documents, such as where an email (the parent document) has attachments (the
              child documents).

XIV. Bill of Particulars

       We also adopt Arnold & Porter’s August 23, 2018 letter requesting a bill of particulars
regarding the allegations in the indictment. We need specification of those allegations in the
indictment to permit Sadr to prepare to defend the charges against him. Please advise us whether
the government will provide the requested information so that we can determine whether it will
be necessary to move for a bill of particulars under Federal Rule of Criminal Procedure 7(f).
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
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                                                             Page  14 of
                                                                   18of  267
                                                                      of14
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       Please let us know promptly whether there are any requests set forth in this letter with
which you decline to comply. We are available to discuss any of the foregoing requests at your
convenience. We reserve the right to supplement these requests as we continue to review the
discovery material and prepare for trial. Thank you for your consideration.

                                            Sincerely,



                                            Brian M. Heberlig
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 114 of 267




                  EXHIBIT 38
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 115 of 267


From:            Kim, Jane (USANYS) 4
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Cc:              Krouse, Michael (USANYS)
Subject:         Fwd: Order in 18cr224
Date:            Monday, March 09, 2020 5:48:07 AM
Attachments:     18cr224 Order 3.9.20.pdf
                 ATT00001.htm




Begin forwarded message:


      From: Nathan NYSD Chambers <NathanNYSDChambers@nysd.uscourts.gov>
      Date: March 9, 2020 at 1:08:53 AM EDT
      To: "Kim, Jane (USANYS) 4" <Jane.Kim@usdoj.gov>, "Lake, Stephanie
      (USANYS)" <Stephanie.Lake@usdoj.gov>, "Bbishop_steptoe.com"
      <Bbishop@steptoe.com>, "Fragale, David" <DFragale@steptoe.com>, "Levin,
      Michelle" <mlevin@steptoe.com>, "Silverman, Nicholas"
      <nsilverman@steptoe.com>, "Weingarten, Reid" <RWeingarten@steptoe.com>,
      "Lynch, Garrett" <LynchG@dany.nyc.gov>, "Lynch, Garrett (USANYS)
      [Contractor]" <Garrett.Lynch@usdoj.gov>, "Heberlig, Brian"
      <BHeberlig@steptoe.com>, "Krouse, Michael (USANYS)"
      <Michael.Krouse@usdoj.gov>
      Subject: RE: Order in 18cr224


      Counsel,

      Attached please find an Order from Judge Nathan that will appear on the docket
      today. Please confirm receipt.

      Sincerely,
      Alyssa O’Gallagher
      Law Clerk to the Hon. Alison J. Nathan


      From: Nathan NYSD Chambers
      Sent: Sunday, March 8, 2020 9:42 PM
      To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS)
      <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale,
      David <DFragale@steptoe.com>; Levin, Michelle <mlevin@steptoe.com>; Silverman,
      Nicholas <nsilverman@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>;
      Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
      <Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse,
      Michael (USANYS) <Michael.Krouse@usdoj.gov>
      Subject: RE: Order in 18cr224

      Counsel,
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 116 of 267



 Attached please find another Order from Judge Nathan that will appear on the docket
 on Monday. Please confirm receipt.

 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan



 From: Nathan NYSD Chambers
 Sent: Sunday, March 8, 2020 9:06 PM
 To: 'Kim, Jane (USANYS) 4' <Jane.Kim@usdoj.gov>; 'Lake, Stephanie (USANYS)'
 <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>;
 'Fragale, David' <DFragale@steptoe.com>; 'Levin, Michelle' <mlevin@steptoe.com>;
 'Silverman, Nicholas' <nsilverman@steptoe.com>; 'Weingarten, Reid'
 <RWeingarten@steptoe.com>; 'Lynch, Garrett' <LynchG@dany.nyc.gov>; 'Lynch,
 Garrett (USANYS) [Contractor]' <Garrett.Lynch@usdoj.gov>; 'Heberlig, Brian'
 <BHeberlig@steptoe.com>; 'Krouse, Michael (USANYS)' <Michael.Krouse@usdoj.gov>
 Subject: RE: Order in 18cr224

 Counsel,

 Attached please find another Order from Judge Nathan that will appear on the docket
 on Monday. Please confirm receipt.

 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan



 From: Nathan NYSD Chambers
 Sent: Sunday, March 8, 2020 5:01 PM
 To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS)
 <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale,
 David <DFragale@steptoe.com>; Levin, Michelle <mlevin@steptoe.com>; Silverman,
 Nicholas <nsilverman@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>;
 Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
 <Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse,
 Michael (USANYS) <Michael.Krouse@usdoj.gov>
 Subject: RE: Order in 18cr224

 Counsel,

 Attached please find a third Order from Judge Nathan that will appear on the docket on
 Monday. Please confirm receipt.
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 117 of 267



 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan



 From: Nathan NYSD Chambers
 Sent: Sunday, March 8, 2020 4:04 PM
 To: 'Kim, Jane (USANYS) 4' <Jane.Kim@usdoj.gov>; 'Lake, Stephanie (USANYS)'
 <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>;
 'Fragale, David' <DFragale@steptoe.com>; 'Levin, Michelle' <mlevin@steptoe.com>;
 'Silverman, Nicholas' <nsilverman@steptoe.com>; 'Weingarten, Reid'
 <RWeingarten@steptoe.com>; 'Lynch, Garrett' <LynchG@dany.nyc.gov>; 'Lynch,
 Garrett (USANYS) [Contractor]' <Garrett.Lynch@usdoj.gov>; 'Heberlig, Brian'
 <BHeberlig@steptoe.com>; 'Krouse, Michael (USANYS)' <Michael.Krouse@usdoj.gov>
 Subject: RE: Order in 18cr224

 Counsel,

 Attached please find another Order from Judge Nathan that will appear on the docket
 on Monday. Please confirm receipt.

 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan

 From: Nathan NYSD Chambers
 Sent: Sunday, March 8, 2020 12:48 PM
 To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS)
 <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale,
 David <DFragale@steptoe.com>; Levin, Michelle <mlevin@steptoe.com>; Silverman,
 Nicholas <nsilverman@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>;
 Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
 <Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse,
 Michael (USANYS) <Michael.Krouse@usdoj.gov>
 Subject: RE: Order in 18cr224

 Counsel,

 Please confirm receipt of this Order.

 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 118 of 267




 From: Nathan NYSD Chambers
 Sent: Sunday, March 8, 2020 12:41 PM
 To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS)
 <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale,
 David <DFragale@steptoe.com>; Levin, Michelle <mlevin@steptoe.com>; Silverman,
 Nicholas <nsilverman@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>;
 Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
 <Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse,
 Michael (USANYS) <Michael.Krouse@usdoj.gov>
 Subject: Order in 18cr224

 Counsel,

 Attached please find an Order from Judge Nathan that will appear on the docket on
 Monday.

 Sincerely,
 Alyssa O’Gallagher
 Law Clerk to the Hon. Alison J. Nathan
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 119 of 267




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 United States of America,

                –v–
                                                                    18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                        ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       The parties shall be ready to begin today, March 9, 2020, at 8:30 a.m. The Government

shall be prepared to discuss, among other matters, its representation to the Court (in response to

the Court’s March 8, 2020 Order) that it “made clear” in its March 7 correspondence with Mr.

Sadr’s counsel “that GX 411 was a newly marked exhibit.” See Dkt. No. 277.

       SO ORDERED.


Dated: March ___9___, 2020
       New York, New York


                                                ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 120 of 267




                  EXHIBIT 39
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 121 of 267
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Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 123 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 124 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 125 of 267




                  EXHIBIT 40
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 126 of 267


From:           Crowley, Shawn (USANYS)
To:             Kim, Jane (USANYS) 4
Cc:             Bove, Emil (USANYS); Krouse, Michael (USANYS)
Subject:        Re: Order in 18cr224
Date:           Monday, March 09, 2020 7:24:04 AM


Thanks guys. I know you’ve got this, but I think we need to fall on our sword big time here.
We didn’t make that clear in the transmittal email and shouldn’t have represented that we did.
We’ll see you soon. It’s going to be ok.


       On Mar 9, 2020, at 5:48 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
       wrote:


       ﻿



       Begin forwarded message:


            From: Nathan NYSD Chambers
            <NathanNYSDChambers@nysd.uscourts.gov>
            Date: March 9, 2020 at 1:08:53 AM EDT
            To: "Kim, Jane (USANYS) 4" <Jane.Kim@usdoj.gov>, "Lake,
            Stephanie (USANYS)" <Stephanie.Lake@usdoj.gov>,
            "Bbishop_steptoe.com" <Bbishop@steptoe.com>, "Fragale, David"
            <DFragale@steptoe.com>, "Levin, Michelle"
            <mlevin@steptoe.com>, "Silverman, Nicholas"
            <nsilverman@steptoe.com>, "Weingarten, Reid"
            <RWeingarten@steptoe.com>, "Lynch, Garrett"
            <LynchG@dany.nyc.gov>, "Lynch, Garrett (USANYS)
            [Contractor]" <Garrett.Lynch@usdoj.gov>, "Heberlig, Brian"
            <BHeberlig@steptoe.com>, "Krouse, Michael (USANYS)"
            <Michael.Krouse@usdoj.gov>
            Subject: RE: Order in 18cr224


            Counsel,

            Attached please find an Order from Judge Nathan that will appear on the
            docket today. Please confirm receipt.

            Sincerely,
            Alyssa O’Gallagher
            Law Clerk to the Hon. Alison J. Nathan

            From: Nathan NYSD Chambers
            Sent: Sunday, March 8, 2020 9:42 PM
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 127 of 267


      To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie
      (USANYS) <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com
      <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin,
      Michelle <mlevin@steptoe.com>; Silverman, Nicholas
      <nsilverman@steptoe.com>; Weingarten, Reid
      <RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>;
      Lynch, Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>;
      Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
      <Michael.Krouse@usdoj.gov>
      Subject: RE: Order in 18cr224

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      Sincerely,
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      From: Nathan NYSD Chambers
      Sent: Sunday, March 8, 2020 9:06 PM
      To: 'Kim, Jane (USANYS) 4' <Jane.Kim@usdoj.gov>; 'Lake, Stephanie
      (USANYS)' <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com
      <Bbishop@steptoe.com>; 'Fragale, David' <DFragale@steptoe.com>;
      'Levin, Michelle' <mlevin@steptoe.com>; 'Silverman, Nicholas'
      <nsilverman@steptoe.com>; 'Weingarten, Reid'
      <RWeingarten@steptoe.com>; 'Lynch, Garrett' <LynchG@dany.nyc.gov>;
      'Lynch, Garrett (USANYS) [Contractor]' <Garrett.Lynch@usdoj.gov>;
      'Heberlig, Brian' <BHeberlig@steptoe.com>; 'Krouse, Michael (USANYS)'
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      From: Nathan NYSD Chambers
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 128 of 267


      Sent: Sunday, March 8, 2020 5:01 PM
      To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie
      (USANYS) <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com
      <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin,
      Michelle <mlevin@steptoe.com>; Silverman, Nicholas
      <nsilverman@steptoe.com>; Weingarten, Reid
      <RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>;
      Lynch, Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>;
      Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
      <Michael.Krouse@usdoj.gov>
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      Attached please find a third Order from Judge Nathan that will appear on
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      From: Nathan NYSD Chambers
      Sent: Sunday, March 8, 2020 4:04 PM
      To: 'Kim, Jane (USANYS) 4' <Jane.Kim@usdoj.gov>; 'Lake, Stephanie
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      <Bbishop@steptoe.com>; 'Fragale, David' <DFragale@steptoe.com>;
      'Levin, Michelle' <mlevin@steptoe.com>; 'Silverman, Nicholas'
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      'Heberlig, Brian' <BHeberlig@steptoe.com>; 'Krouse, Michael (USANYS)'
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      From: Nathan NYSD Chambers
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 129 of 267


      Sent: Sunday, March 8, 2020 12:48 PM
      To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie
      (USANYS) <Stephanie.Lake@usdoj.gov>; Bbishop_steptoe.com
      <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin,
      Michelle <mlevin@steptoe.com>; Silverman, Nicholas
      <nsilverman@steptoe.com>; Weingarten, Reid
      <RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>;
      Lynch, Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>;
      Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
      <Michael.Krouse@usdoj.gov>
      Subject: RE: Order in 18cr224

      Counsel,

      Please confirm receipt of this Order.

      Sincerely,
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      Law Clerk to the Hon. Alison J. Nathan



      From: Nathan NYSD Chambers
      Sent: Sunday, March 8, 2020 12:41 PM
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      <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin,
      Michelle <mlevin@steptoe.com>; Silverman, Nicholas
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      <RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>;
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      Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
      <Michael.Krouse@usdoj.gov>
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      docket on Monday.

      Sincerely,
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      Law Clerk to the Hon. Alison J. Nathan

 <18cr224 Order 3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 130 of 267




                  EXHIBIT 41
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 131 of 267


From:            Kim, Jane (USANYS) 4
To:              Krouse, Michael (USANYS)
Cc:              Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Subject:         Re: Order in 18cr224
Date:            Monday, March 09, 2020 7:38:09 AM


I’ve already stabbed myself.

On Mar 9, 2020, at 7:34 AM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:


       I’m ready to fall. I’m here if you’d like to discuss.

       Sent from my iPhone

       On Mar 9, 2020, at 7:24 AM, Crowley, Shawn (USANYS)
       <SCrowley@usa.doj.gov> wrote:


             Thanks guys. I know you’ve got this, but I think we need to fall on
             our sword big time here. We didn’t make that clear in the transmittal
             email and shouldn’t have represented that we did. We’ll see you
             soon. It’s going to be ok.


                        On Mar 9, 2020, at 5:48 AM, Kim, Jane (USANYS) 4
                        <JKim4@usa.doj.gov> wrote:


                    ﻿



                    Begin forwarded message:


                             From: Nathan NYSD Chambers
                             <NathanNYSDChambers@nysd.uscourts.gov>
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                             To: "Kim, Jane (USANYS) 4"
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                             "Bbishop_steptoe.com"
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                             <DFragale@steptoe.com>, "Levin,
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                             Reid" <RWeingarten@steptoe.com>,
                             "Lynch, Garrett" <LynchG@dany.nyc.gov>,
                             "Lynch, Garrett (USANYS) [Contractor]"
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 132 of 267


                <Garrett.Lynch@usdoj.gov>, "Heberlig,
                Brian" <BHeberlig@steptoe.com>, "Krouse,
                Michael (USANYS)"
                <Michael.Krouse@usdoj.gov>
                Subject: RE: Order in 18cr224


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                Please confirm receipt.

                Sincerely,
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                From: Nathan NYSD Chambers
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                <mlevin@steptoe.com>; Silverman, Nicholas
                <nsilverman@steptoe.com>; Weingarten, Reid
                <RWeingarten@steptoe.com>; Lynch, Garrett
                <LynchG@dany.nyc.gov>; Lynch, Garrett
                (USANYS) [Contractor]
                <Garrett.Lynch@usdoj.gov>; Heberlig, Brian
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Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 133 of 267


                From: Nathan NYSD Chambers
                Sent: Sunday, March 8, 2020 9:06 PM
                To: 'Kim, Jane (USANYS) 4'
                <Jane.Kim@usdoj.gov>; 'Lake, Stephanie
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                <mlevin@steptoe.com>; 'Silverman, Nicholas'
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                Reid' <RWeingarten@steptoe.com>; 'Lynch,
                Garrett' <LynchG@dany.nyc.gov>; 'Lynch,
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                <mlevin@steptoe.com>; Silverman, Nicholas
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                <LynchG@dany.nyc.gov>; Lynch, Garrett
                (USANYS) [Contractor]
                <Garrett.Lynch@usdoj.gov>; Heberlig, Brian
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                (USANYS) <Michael.Krouse@usdoj.gov>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 134 of 267


                Subject: RE: Order in 18cr224

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                Bbishop_steptoe.com
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                <DFragale@steptoe.com>; 'Levin, Michelle'
                <mlevin@steptoe.com>; 'Silverman, Nicholas'
                <nsilverman@steptoe.com>; 'Weingarten,
                Reid' <RWeingarten@steptoe.com>; 'Lynch,
                Garrett' <LynchG@dany.nyc.gov>; 'Lynch,
                Garrett (USANYS) [Contractor]'
                <Garrett.Lynch@usdoj.gov>; 'Heberlig, Brian'
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                Sent: Sunday, March 8, 2020 12:48 PM
                To: Kim, Jane (USANYS) 4
                <Jane.Kim@usdoj.gov>; Lake, Stephanie
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 135 of 267


                (USANYS) <Stephanie.Lake@usdoj.gov>;
                Bbishop_steptoe.com
                <Bbishop@steptoe.com>; Fragale, David
                <DFragale@steptoe.com>; Levin, Michelle
                <mlevin@steptoe.com>; Silverman, Nicholas
                <nsilverman@steptoe.com>; Weingarten, Reid
                <RWeingarten@steptoe.com>; Lynch, Garrett
                <LynchG@dany.nyc.gov>; Lynch, Garrett
                (USANYS) [Contractor]
                <Garrett.Lynch@usdoj.gov>; Heberlig, Brian
                <BHeberlig@steptoe.com>; Krouse, Michael
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                <nsilverman@steptoe.com>; Weingarten, Reid
                <RWeingarten@steptoe.com>; Lynch, Garrett
                <LynchG@dany.nyc.gov>; Lynch, Garrett
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                (USANYS) <Michael.Krouse@usdoj.gov>
                Subject: Order in 18cr224

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Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 136 of 267


                Monday.

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           <18cr224 Order 3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 137 of 267




                  EXHIBIT 42
       Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 138 of 267


From:                    Strauss, Audrey (USANYS)
To:                      Crowley, Shawn (USANYS); Birger, Laura (USANYS)
Cc:                      Bove, Emil (USANYS)
Subject:                 RE: Order in 18cr224
Date:                    Monday, March 09, 2020 9:49:14 AM


Yes.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 9:44 AM
To: Birger, Laura (USANYS) <LBirger@usa.doj.gov>; Strauss, Audrey (USANYS)
<AStrauss@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Re: Order in 18cr224

We just left court. Are you available to discuss briefly? Thanks.



            On Mar 9, 2020, at 8:31 AM, Birger, Laura (USANYS) <LBirger@usa.doj.gov> wrote:

        ﻿
        Ok. I’d come too but I am still on this stopped train.



                      On Mar 9, 2020, at 8:30 AM, Crowley, Shawn (USANYS)
                      <SCrowley@usa.doj.gov> wrote:

                  ﻿
                  No problem. I spoke to her. I think she appreciated the heads up, but also
                  made clear that this morning is going to be unpleasant. She asked if we
                  were aware of the disclosure issues. I assured her that we are and have
                  been working with the team on them all weekend. I also said we’d be in
                  court this morning and she said something like “yes I’d hope so.” It seems
                  important to her that this has been elevated.



                            On Mar 9, 2020, at 8:09 AM, Birger, Laura (USANYS)
                            <LBirger@usa.doj.gov> wrote:

                            ﻿
                            Thanks. I’m so sorry.



                                    On Mar 9, 2020, at 8:08 AM, Crowley, Shawn
                                    (USANYS) <SCrowley@usa.doj.gov> wrote:
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 139 of 267


                ﻿
                No problem. Will call now



                          On Mar 9, 2020, at 8:03 AM,
                          Birger, Laura (USANYS)
                          <LBirger@usa.doj.gov> wrote:

                      ﻿
                      ﻿
                      I am stuck on a train. This is not a
                      call I want to make from the train,
                      both due to sensitivity and
                      connection problems. At this
                      point, I don’t see how I can get to
                      a place from which I can call
                      before an 8:30 appearance. I’m
                      so sorry but can one of you call?
                       Just say you are her supervisor
                      and you wanted the court to
                      know why she isn’t there.



                                On Mar 9, 2020, at
                                6:56 AM, Crowley,
                                Shawn (USANYS)
                                <SCrowley@usa.doj.gov>
                                wrote:

                                ﻿
                                For timing purposes,
                                Judge Nathan issued
                                this order saying we
                                are starting this
                                morning at 8:30 and
                                should be prepared
                                to address a
                                representation we
                                made in an earlier
                                filing.



                                Begin forwarded
                                message:
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 140 of 267


                               From:
                               "Kim,
                               Jane
                               (USANYS)
                               4"
                               <JKim4@usa.doj.gov>
                               Date:
                               March
                               9, 2020
                               at
                               5:48:11
                               AM
                               EDT
                               To:
                               "Bove,
                               Emil
                               (USANYS)"
                               <EBove@usa.doj.gov>,
                               "Crowley,
                               Shawn
                               (USANYS)"
                               <SCrowley@usa.doj.gov>
                               Cc:
                               "Krouse,
                               Michael
                               (USANYS)"
                               <MKrouse@usa.doj.gov>
                               Subject:
                               Fwd:
                               Order
                               in
                               18cr224

                               ﻿




                               Begin
                               forwarded
                               message:

                                    From:
                                    Nathan
                                    NYSD
                                    Chambers
                                    <NathanNYSDChambers@nysd.uscourts.gov>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 141 of 267


                                   Date:
                                   March
                                   9,
                                   2020
                                   at
                                   1:08:53
                                   AM
                                   EDT
                                   To:
                                   "Kim,
                                   Jane
                                   (USANYS)
                                   4"
                                   <Jane.Kim@usdoj.gov>,
                                   "Lake,
                                   Stephanie
                                   (USANYS)"
                                   <Stephanie.Lake@usdoj.gov>,
                                   "Bbishop_steptoe.com"
                                   <Bbishop@steptoe.com>,
                                   "Fragale,
                                   David"
                                   <DFragale@steptoe.com>,
                                   "Levin,
                                   Michelle"
                                   <mlevin@steptoe.com>,
                                   "Silverman,
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                                   "Weingarten,
                                   Reid"
                                   <RWeingarten@steptoe.com>,
                                   "Lynch,
                                   Garrett"
                                   <LynchG@dany.nyc.gov>,
                                   "Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]"
                                   <Garrett.Lynch@usdoj.gov>,
                                   "Heberlig,
                                   Brian"
                                   <BHeberlig@steptoe.com>,
                                   "Krouse,
                                   Michael
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 142 of 267


                                   (USANYS)"
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Attached
                                   please
                                   find
                                   an
                                   Order
                                   from
                                   Judge
                                   Nathan
                                   that
                                   will
                                   appear
                                   on
                                   the
                                   docket
                                   today.
                                   Please
                                   confirm
                                   receipt.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan


                                   From:
                                   Nathan
                                   NYSD
                                   Chambers
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 143 of 267


                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   9:42
                                   PM
                                   To:
                                   Kim,
                                   Jane
                                   (USANYS)
                                   4
                                   <Jane.Kim@usdoj.gov>;
                                   Lake,
                                   Stephanie
                                   (USANYS)
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   Fragale,
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                                   Lynch,
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                                   (USANYS)
                                   [Contractor]
                                   <Garrett.Lynch@usdoj.gov>;
                                   Heberlig,
                                   Brian
                                   <BHeberlig@steptoe.com>;
                                   Krouse,
                                   Michael
                                   (USANYS)
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 144 of 267


                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Attached
                                   please
                                   find
                                   another
                                   Order
                                   from
                                   Judge
                                   Nathan
                                   that
                                   will
                                   appear
                                   on
                                   the
                                   docket
                                   on
                                   Monday.
                                   Please
                                   confirm
                                   receipt.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan



                                   From:
                                   Nathan
                                   NYSD
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 145 of 267


                                   Chambers
                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   9:06
                                   PM
                                   To:
                                   'Kim,
                                   Jane
                                   (USANYS)
                                   4'
                                   <Jane.Kim@usdoj.gov>;
                                   'Lake,
                                   Stephanie
                                   (USANYS)'
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   'Fragale,
                                   David'
                                   <DFragale@steptoe.com>;
                                   'Levin,
                                   Michelle'
                                   <mlevin@steptoe.com>;
                                   'Silverman,
                                   Nicholas'
                                   <nsilverman@steptoe.com>;
                                   'Weingarten,
                                   Reid'
                                   <RWeingarten@steptoe.com>;
                                   'Lynch,
                                   Garrett'
                                   <LynchG@dany.nyc.gov>;
                                   'Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]'
                                   <Garrett.Lynch@usdoj.gov>;
                                   'Heberlig,
                                   Brian'
                                   <BHeberlig@steptoe.com>;
                                   'Krouse,
                                   Michael
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 146 of 267


                                   (USANYS)'
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Attached
                                   please
                                   find
                                   another
                                   Order
                                   from
                                   Judge
                                   Nathan
                                   that
                                   will
                                   appear
                                   on
                                   the
                                   docket
                                   on
                                   Monday.
                                   Please
                                   confirm
                                   receipt.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan



                                   From:
                                   Nathan
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 147 of 267


                                   NYSD
                                   Chambers
                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   5:01
                                   PM
                                   To:
                                   Kim,
                                   Jane
                                   (USANYS)
                                   4
                                   <Jane.Kim@usdoj.gov>;
                                   Lake,
                                   Stephanie
                                   (USANYS)
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   Fragale,
                                   David
                                   <DFragale@steptoe.com>;
                                   Levin,
                                   Michelle
                                   <mlevin@steptoe.com>;
                                   Silverman,
                                   Nicholas
                                   <nsilverman@steptoe.com>;
                                   Weingarten,
                                   Reid
                                   <RWeingarten@steptoe.com>;
                                   Lynch,
                                   Garrett
                                   <LynchG@dany.nyc.gov>;
                                   Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]
                                   <Garrett.Lynch@usdoj.gov>;
                                   Heberlig,
                                   Brian
                                   <BHeberlig@steptoe.com>;
                                   Krouse,
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 148 of 267


                                   Michael
                                   (USANYS)
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Attached
                                   please
                                   find
                                   a
                                   third
                                   Order
                                   from
                                   Judge
                                   Nathan
                                   that
                                   will
                                   appear
                                   on
                                   the
                                   docket
                                   on
                                   Monday.
                                   Please
                                   confirm
                                   receipt.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 149 of 267


                                   From:
                                   Nathan
                                   NYSD
                                   Chambers
                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   4:04
                                   PM
                                   To:
                                   'Kim,
                                   Jane
                                   (USANYS)
                                   4'
                                   <Jane.Kim@usdoj.gov>;
                                   'Lake,
                                   Stephanie
                                   (USANYS)'
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   'Fragale,
                                   David'
                                   <DFragale@steptoe.com>;
                                   'Levin,
                                   Michelle'
                                   <mlevin@steptoe.com>;
                                   'Silverman,
                                   Nicholas'
                                   <nsilverman@steptoe.com>;
                                   'Weingarten,
                                   Reid'
                                   <RWeingarten@steptoe.com>;
                                   'Lynch,
                                   Garrett'
                                   <LynchG@dany.nyc.gov>;
                                   'Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]'
                                   <Garrett.Lynch@usdoj.gov>;
                                   'Heberlig,
                                   Brian'
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 150 of 267


                                   <BHeberlig@steptoe.com>;
                                   'Krouse,
                                   Michael
                                   (USANYS)'
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Attached
                                   please
                                   find
                                   another
                                   Order
                                   from
                                   Judge
                                   Nathan
                                   that
                                   will
                                   appear
                                   on
                                   the
                                   docket
                                   on
                                   Monday.
                                   Please
                                   confirm
                                   receipt.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 151 of 267


                                   From:
                                   Nathan
                                   NYSD
                                   Chambers
                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   12:48
                                   PM
                                   To:
                                   Kim,
                                   Jane
                                   (USANYS)
                                   4
                                   <Jane.Kim@usdoj.gov>;
                                   Lake,
                                   Stephanie
                                   (USANYS)
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   Fragale,
                                   David
                                   <DFragale@steptoe.com>;
                                   Levin,
                                   Michelle
                                   <mlevin@steptoe.com>;
                                   Silverman,
                                   Nicholas
                                   <nsilverman@steptoe.com>;
                                   Weingarten,
                                   Reid
                                   <RWeingarten@steptoe.com>;
                                   Lynch,
                                   Garrett
                                   <LynchG@dany.nyc.gov>;
                                   Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]
                                   <Garrett.Lynch@usdoj.gov>;
                                   Heberlig,
                                   Brian
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 152 of 267


                                   <BHeberlig@steptoe.com>;
                                   Krouse,
                                   Michael
                                   (USANYS)
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   RE:
                                   Order
                                   in
                                   18cr224

                                   Counsel,

                                   Please
                                   confirm
                                   receipt
                                   of
                                   this
                                   Order.

                                   Sincerely,
                                   Alyssa
                                   O’Gallagher
                                   Law
                                   Clerk
                                   to
                                   the
                                   Hon.
                                   Alison
                                   J.
                                   Nathan



                                   From:
                                   Nathan
                                   NYSD
                                   Chambers
                                   Sent:
                                   Sunday,
                                   March
                                   8,
                                   2020
                                   12:41
                                   PM
                                   To:
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 153 of 267


                                   Kim,
                                   Jane
                                   (USANYS)
                                   4
                                   <Jane.Kim@usdoj.gov>;
                                   Lake,
                                   Stephanie
                                   (USANYS)
                                   <Stephanie.Lake@usdoj.gov>;
                                   Bbishop_steptoe.com
                                   <Bbishop@steptoe.com>;
                                   Fragale,
                                   David
                                   <DFragale@steptoe.com>;
                                   Levin,
                                   Michelle
                                   <mlevin@steptoe.com>;
                                   Silverman,
                                   Nicholas
                                   <nsilverman@steptoe.com>;
                                   Weingarten,
                                   Reid
                                   <RWeingarten@steptoe.com>;
                                   Lynch,
                                   Garrett
                                   <LynchG@dany.nyc.gov>;
                                   Lynch,
                                   Garrett
                                   (USANYS)
                                   [Contractor]
                                   <Garrett.Lynch@usdoj.gov>;
                                   Heberlig,
                                   Brian
                                   <BHeberlig@steptoe.com>;
                                   Krouse,
                                   Michael
                                   (USANYS)
                                   <Michael.Krouse@usdoj.gov>
                                   Subject:
                                   Order
                                   in
                                   18cr224

                                   Counsel,
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 154 of 267


                                    Attached
                                    please
                                    find
                                    an
                                    Order
                                    from
                                    Judge
                                    Nathan
                                    that
                                    will
                                    appear
                                    on
                                    the
                                    docket
                                    on
                                    Monday.

                                    Sincerely,
                                    Alyssa
                                    O’Gallagher
                                    Law
                                    Clerk
                                    to
                                    the
                                    Hon.
                                    Alison
                                    J.
                                    Nathan
                          <18cr224 Order
                          3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 155 of 267




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                  EXHIBIT 44
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 158 of 267


From:             Bove, Emil (USANYS)
To:               Kim, Jane (USANYS) 4
Cc:               Kaveh.Miremadi@treasury.gov; MariaHelene.VanWagenberg@treasury.gov; Jacqueline.Brewer@treasury.gov;
                  Lake, Stephanie (USANYS); Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch, Garrett (USANYS)
                  [Contractor]; Crowley, Shawn (USANYS)
Subject:          Re: Time Sensitive Question
Date:             Monday, March 09, 2020 10:25:13 AM


Hi Kaveh, what number can we reach you at?

On Mar 9, 2020, at 10:04 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:


        I don’t. I’m adding my Chiefs to this chain.

        On Mar 9, 2020, at 9:23 AM, "Kaveh.Miremadi@treasury.gov"
        <Kaveh.Miremadi@treasury.gov> wrote:


              Hi Jane,

              Do you know who or what division in OFAC this letter was sent to? I’m
              searching our records now. We may not be able to get you a
              comprehensive answer this morning.

              Kaveh


              From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
              Sent: Sunday, March 8, 2020 5:58 PM
              To: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg,
              Maria-Helene <MariaHelene.VanWagenberg@treasury.gov>; Brewer,
              Jacqueline <Jacqueline.Brewer@treasury.gov>
              Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse,
              Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett
              <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
              <Garrett.Lynch@usdoj.gov>
              Subject: Time Sensitive Question


              ** Caution: External email. Pay attention to suspicious links and
              attachments. Send suspicious email to suspect@treasury.gov **




              Kaveh, Maria, and Jacqui:
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 159 of 267


      I’m attaching a letter dated June 16, 2011, from Commerzbank to OFAC
      concerning a specific payment. Could you please let us know what actions
      OFAC took in response to this letter? We need to update the Court on
      this issue tomorrow morning, so any information would be hugely
      appreciated.

      Thank you in advance,
      Jane


      Jane Kim
      Assistant United States Attorney
      Southern District of New York
      One St. Andrew’s Plaza
      New York, New York 10007
      Phone: (212) 637-2038
      Email: jane.kim@usdoj.gov
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 160 of 267




                  EXHIBIT 45
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 161 of 267


From:           Laroche, Matthew (USANYS)
To:             Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:        OFAC Emails
Date:           Monday, March 09, 2020 10:27:44 AM
Attachments:    RE Case.msg.msg
                .msg.msg
                RE Sadr.msg.msg


These are the only three emails I could find re OFAC. The first one is what I mentioned but I
can’t find any follow-up after that one.
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 162 of 267


From:            Michael.Dondarski@treasury.gov
To:              LynchG@dany.nyc.gov
Cc:              Laroche, Matthew (USANYS); Ethan.Walpole@treasury.gov; Rosanna.Wells@treasury.gov
Subject:         RE: Case
Date:            Tuesday, September 26, 2017 4:00:00 PM


Garrett,
Thanks again for speaking last week and for passing along the slide deck. I’m copying Ethan Walpole
and Rosie Wells from OFAC Enforcement on this email so they can coordinate with you on next steps
or follow-up with any questions they have.
Best,
Mike
From: Lynch, Garrett [mailto:LynchG@dany.nyc.gov]
Sent: Friday, September 22, 2017 3:12 PM
To: Dondarski, Michael
Cc: Laroche, Matthew (USANYS)
Subject: Case
Michael,
Thanks for the call yesterday. As always, great to chat with you. Attached is the powerpoint I
mentioned which gives a rough sketch of the case, the players, and the evidence. Obviously, it’s the
tip of the iceberg – we’re happy to share more information, records, etc.
Have a great weekend. Who know…maybe you’ll be a father the next time we speak!
Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335-4335
lynchg@dany.nyc.gov




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information from the New York County District Attorney's Office and are intended solely for
the use of the individuals or entity to whom it has been addressed. If you are not the intended
recipient, you are hereby notified that any dissemination or copying of this email is strictly
prohibited. If you have received this email in error, please delete it and notify the sender by
return email.
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From:            Lynch, Garrett
To:              DeFilippis, Andrew (USANYS); Laroche, Matthew (USANYS)
Date:            Thursday, March 28, 2019 12:31:50 PM


FYI – I just spoke to a guy I know who’s the director of enforcement at OFAC to run by him the
arguments they raise in their first motion about the applicability of the ITSR language (in effect at the
time) to the conduct here. Confirmed the thoughts I had – we can chat whenever you guys have a
chance.
Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335-4335
lynchg@dany.nyc.gov




This email communication and any files transmitted with it contain privileged and confidential
information from the New York County District Attorney's Office and are intended solely for
the use of the individuals or entity to whom it has been addressed. If you are not the intended
recipient, you are hereby notified that any dissemination or copying of this email is strictly
prohibited. If you have received this email in error, please delete it and notify the sender by
return email.
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 164 of 267


From:            Denton, David (USANYS)
To:              Laroche, Matthew (USANYS); DeFilippis, Andrew (USANYS)
Cc:              Kim, Jane (USANYS) 4; Krouse, Michael (USANYS)
Subject:         RE: Sadr
Date:            Monday, June 24, 2019 9:52:39 AM


Figured that they weren’t licensed, we just had an issue come up during Atilla jury deliberations
about the proof on the lack of licenses, so it’s probably just worth asking OFAC to write us one of
those letters, and we can have Lisa Pallucconi or whoever ends up being our OFAC witness offer it as
an official record.
From: Laroche, Matthew (USANYS)
Sent: Monday, June 24, 2019 9:49 AM
To: DeFilippis, Andrew (USANYS) ; Denton, David (USANYS)
Cc: Kim, Jane (USANYS) 4 ; Krouse, Michael (USANYS)
Subject: RE: Sadr
Also, if the question is whether the relevant entities ever got licenses, they didn’t. But if you’re
looking for something formal from OFAC on the shared, we don’t have it.
From: Laroche, Matthew (USANYS)
Sent: Monday, June 24, 2019 9:40 AM
To: DeFilippis, Andrew (USANYS) <ADeFilippis@usa.doj.gov>; Denton, David (USANYS)
<DDenton@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr
We had a few calls with Michael Dondarski at OFAC who is familiar with the case but I don’t
remember running license checks.
From: DeFilippis, Andrew (USANYS) <ADeFilippis@usa.doj.gov>
Sent: Monday, June 24, 2019 9:37 AM
To: Denton, David (USANYS) <DDenton@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; Laroche, Matthew (USANYS) <MLaroche@usa.doj.gov>
Subject: RE: Sadr
I don’t remember if we did…copying in Laroche. Matt, did we run any OFAC license checks in Sadr?
From: Denton, David (USANYS) <DDenton@usa.doj.gov>
Sent: Monday, June 24, 2019 9:31 AM
To: DeFilippis, Andrew (USANYS) <ADeFilippis@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: Sadr
Flip,
Did you guys have OFAC run a formal license check on the various individuals/entities here? Didn’t
see one on the shared, but wasn’t sure if I was just looking in the wrong place.
Thanks,
Dave
David W. Denton, Jr.
Assistant U.S. Attorney
U.S. Attorney’s Office
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 165 of 267


Southern District of New York
(212) 637-2744
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                  EXHIBIT 46
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 167 of 267


From:            Denton, David (USANYS)
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         OFAC Comms re Sadr
Date:            Monday, March 09, 2020 10:30:36 AM
Attachments:     RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 Resume.msg.msg
                 RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 FW OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 RE OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 Re OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 OFAC Witness Help - SDNY Nejad Prosecution.msg.msg
                 RE OFAC Witness Help.msg.msg
                 OFAC.msg.msg


Attached are my emails with OFAC, which are all ministerial related to getting a formal license check
and trial witness. I had one call with Frank Swerda and Maria van Wagenberg just to explain what
we were looking for in terms of testimony, and referencing the testimony Lisa Pallucconi gave in the
Atilla trial as an example, without discussing particulars of entities or regs, which is reflected in a
short summary email to the team also attached. I left the team at the end of July before a license
check request was sent, so I don’t know exactly what was asked for there.


David W. Denton, Jr.
Assistant U.S. Attorney
U.S. Attorney’s Office
Southern District of New York
(212) 637-2744
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 168 of 267




                  EXHIBIT 47
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 169 of 267


From:            Crowley, Shawn (USANYS)
To:              Donaleski, Rebekah (USANYS)
Cc:              Bove, Emil (USANYS)
Subject:         Sadr
Date:            Monday, March 09, 2020 10:36:10 AM


Hey—can you give us a quick call on Sadr when you get a min? Thanks

Shawn G. Crowley
Co-Chief, Terrorism and International Narcotics Unit
United States Attorney’s Office
Southern District of New York
212-637-1034 (o)
347-880-1399 (c)
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                  EXHIBIT 48
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 171 of 267


From:              Kaveh.Miremadi@treasury.gov
To:                Bove, Emil (USANYS); Kim, Jane (USANYS) 4
Cc:                MariaHelene.VanWagenberg@treasury.gov; Jacqueline.Brewer@treasury.gov; Lake, Stephanie (USANYS);
                   Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch, Garrett (USANYS) [Contractor]; Crowley, Shawn
                   (USANYS)
Subject:           RE: Time Sensitive Question
Date:              Monday, March 09, 2020 10:50:09 AM


Cell: 202-746-4485


From: Bove, Emil (USANYS) <Emil.Bove@usdoj.gov>
Sent: Monday, March 9, 2020 10:25 AM
To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Cc: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg, Maria-Helene
<MariaHelene.VanWagenberg@treasury.gov>; Brewer, Jacqueline
<Jacqueline.Brewer@treasury.gov>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>;
Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; LynchG@dany.nyc.gov; Lynch, Garrett
(USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Crowley, Shawn (USANYS)
<Shawn.Crowley@usdoj.gov>
Subject: Re: Time Sensitive Question


** Caution: External email. Pay attention to suspicious links and attachments. Send
suspicious email to suspect@treasury.gov **




Hi Kaveh, what number can we reach you at?

On Mar 9, 2020, at 10:04 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

        I don’t. I’m adding my Chiefs to this chain.

        On Mar 9, 2020, at 9:23 AM, "Kaveh.Miremadi@treasury.gov"
        <Kaveh.Miremadi@treasury.gov> wrote:

              Hi Jane,

              Do you know who or what division in OFAC this letter was sent to? I’m
              searching our records now. We may not be able to get you a
              comprehensive answer this morning.

              Kaveh


              From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 172 of 267


      Sent: Sunday, March 8, 2020 5:58 PM
      To: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg,
      Maria-Helene <MariaHelene.VanWagenberg@treasury.gov>; Brewer,
      Jacqueline <Jacqueline.Brewer@treasury.gov>
      Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse,
      Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett
      <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
      <Garrett.Lynch@usdoj.gov>
      Subject: Time Sensitive Question


      ** Caution: External email. Pay attention to suspicious links and
      attachments. Send suspicious email to suspect@treasury.gov **




      Kaveh, Maria, and Jacqui:

      I’m attaching a letter dated June 16, 2011, from Commerzbank to OFAC
      concerning a specific payment. Could you please let us know what actions
      OFAC took in response to this letter? We need to update the Court on
      this issue tomorrow morning, so any information would be hugely
      appreciated.

      Thank you in advance,
      Jane


      Jane Kim
      Assistant United States Attorney
      Southern District of New York
      One St. Andrew’s Plaza
      New York, New York 10007
      Phone: (212) 637-2038
      Email: jane.kim@usdoj.gov
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                  EXHIBIT 49
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 174 of 267


From:            DeFilippis, Andrew (USANYS)
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         Emails
Date:            Monday, March 09, 2020 11:40:08 AM
Attachments:     RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 RE OFAC.msg.msg
                 OFAC.msg.msg




Andrew J. DeFilippis
Assistant United States Attorney
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007
(212) 637-2231
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 175 of 267




                  EXHIBIT 50
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                  EXHIBIT 51
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 180 of 267
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                  EXHIBIT 52
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 183 of 267


From:          Crowley, Shawn (USANYS)
To:            DeFilippis, Andrew (USANYS)
Cc:            Bove, Emil (USANYS)
Subject:       GX 411 (002).pdf
Date:          Monday, March 09, 2020 11:47:52 AM
Attachments:   GX 411 (002).pdf
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 184 of 267
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Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 192 of 267
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                  EXHIBIT 53
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 197 of 267


From:            DeFilippis, Andrew (USANYS)
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         FW:
Date:            Monday, March 09, 2020 12:05:26 PM


Also just came across this one.


Andrew J. DeFilippis
Assistant United States Attorney
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007
(212) 637-2231


From: DeFilippis, Andrew (USANYS) <ADeFilippis@usa.doj.gov>
Sent: Monday, April 1, 2019 7:14 AM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: Re:

Thanks. Would you have time for call today or tomorrow with Reid/Brian to clarify their position re a
possible resolution? Let me know some good times and I’ll email them to propose something. Will
also call you this morning re the motions.




On Mar 28, 2019, at 12:31 PM, Lynch, Garrett <LynchG@dany.nyc.gov> wrote:

       FYI – I just spoke to a guy I know who’s the director of enforcement at OFAC to run by
       him the arguments they raise in their first motion about the applicability of the ITSR
       language (in effect at the time) to the conduct here. Confirmed the thoughts I had –
       we can chat whenever you guys have a chance.

       Garrett A. Lynch
       Deputy Bureau Chief
       Major Economic Crimes Bureau
       New York County District Attorney’s Office
       (212) 335-4335
       lynchg@dany.nyc.gov




       This email communication and any files transmitted with it contain privileged and
       confidential information from the New York County District Attorney's Office
       and are intended solely for the use of the individuals or entity to whom it has been
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 198 of 267


 addressed. If you are not the intended recipient, you are hereby notified that any
 dissemination or copying of this email is strictly prohibited. If you have received
 this email in error, please delete it and notify the sender by return email.
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                  EXHIBIT 54
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 200 of 267


From:          DeFilippis, Andrew (USANYS)
To:            Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:       Draft Declaration
Date:          Monday, March 09, 2020 12:20:19 PM
Attachments:   Draft-Declaration.docx
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 201 of 267




From approximately April 2017 through approximately May 2019, I was one of the Assistant
United States Attorneys assigned to this case.
I have conducted a diligent review of my files (including, but not limited to, emails, hard copy
correspondence, hard copy files, and notes) for any materials reflecting communications or
correspondence between the prosecution team and the U.S. Department of the Treasury’s Office
of Foreign Assets Control (“OFAC”) concerning the issues set forth in the document marked as
Government Exhibit 411. I have located no such materials.
I do not recall conducting any communications with a representative of OFAC on this case. The
aforementioned search of my files did identify eight email messages (on which I was copied) in
which Special Assistant United States Attorney Garrett Lynch and United States Attorney
Matthew Laroche discussed scheduling a potential call between our team and a representative of
OFAC in July 2017. I do not recall, and the emails do not reflect, the intended subject of the
call. It appears from the emails that Special Assistant United States Attorney Lynch made initial
contact with OFAC regarding available times for such a call. It also appears from the emails that
the call did not go forward at the tentatively scheduled time. I do not recall any subsequent call
or communications with OFAC on this case.
I do not believe I engaged in any communications with OFAC regarding the disclosure to OFAC
set forth in Government Exhibit 411. I am currently unaware of any efforts by OFAC to
investigate, or take enforcement action against, the defendant and/or his companies, nor am I
aware of any decision by OFAC to decline to do so.
I became aware during my involvement in this case that certain entities relevant to the charged
conduct were previously designated by OFAC, but I do not recall any communications with
OFAC on that issue.
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                  EXHIBIT 55
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 203 of 267


From:            Birger, Laura (USANYS)
To:              Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Subject:         RE:
Date:            Monday, March 09, 2020 12:22:07 PM


OK. I know this is obvious, but these declarations will be scrutinized for inaccuracies. We must be
accurate.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 12:19 PM
To: Birger, Laura (USANYS) <LBirger@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: RE:

Will do. We’ve spoken with each of the AUSAs on the case who are not in the courtroom (Denton,
Laroche, Steph, Donaleski, and DeFilippis) and they’re doing comprehensive searches of their files
for any correspondence with or about OFAC. They’re also working on draft declarations. We’ll send
you the transcript from this morning when we get it.


From: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Sent: Monday, March 09, 2020 12:16 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject:

I know you are handling a million different things. But, please remember to keep me and Audrey
informed on Sadr developments as the day proceeds. There is intense interest in each step that is
being taken.

Laura Grossfield Birger
Chief, Criminal Division
United States Attorney’s Office, SDNY
(212) 637-1117
Laura.Birger@usdoj.gov
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                  EXHIBIT 56
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From:          Crowley, Shawn (USANYS)
To:            Bove, Emil (USANYS)
Subject:       Draft-Declaration. sgc.docx
Date:          Monday, March 09, 2020 12:35:32 PM
Attachments:   Draft-Declaration. sgc.docx
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 206 of 267




From approximately April 2017 through approximately May 2019, I was one of the Assistant
United States Attorneys assigned to this case.
I have conducted a diligen comprehensivet review of my files (including, but not limited to,
emails, hard copy correspondence, hard copy files, and notes) for any materials reflecting
communications or correspondence between the prosecution team and the U.S. Department of
the Treasury’s Office of Foreign Assets Control (“OFAC”) concerning the issues set forth in the
document marked as Government Exhibit 411. I have located no such materials.
I do not recall conducting any communications with a representative of OFAC on this case. The
aforementioned search of my files did identify identified eight email messages (on which I was
copied) in which Special Assistant United States Attorney Garrett Lynch and Assistant United
States Attorney Matthew Laroche discussed scheduling a potential call between our team and a
representative of OFAC in July 2017. I do not recall, and the emails do not reflect, the intended
subject of the call. It appears from the emails that Special Assistant United States
AttorneyAUSA Lynch made initial contact with OFAC regarding available times for such a call.
It also appears from the emails that the call did not go forward at the tentatively scheduled time.
I do not recall any subsequent call or communications with OFAC on this case.
I do not believe I engaged in any communications with OFAC regarding the disclosure to OFAC
set forth in Government Exhibit 411, or any other decision or action taken by OFAC regarding
the defendant and/or his companies. I am currently unaware of any efforts by OFAC to
investigate, or take enforcement action against, the defendant and/or his companies, nor am I
aware of any decision by OFAC to decline to do so.
I became aware during my involvement in this case that certain entities relevant to the charged
conduct were previously designated by OFAC, but I do not recall any communications with
OFAC on that issue.
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                  EXHIBIT 57
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From:               Crowley, Shawn (USANYS)
To:                 Strauss, Audrey (USANYS); Birger, Laura (USANYS)
Cc:                 Bove, Emil (USANYS)
Subject:            Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:               Monday, March 09, 2020 2:21:45 PM
Attachments:        K39TSADE.pdf
                    ATT00001.htm


﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the AUSAs are
 scrubbing their files and drafting their declarations.


Begin forwarded message:


      From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
      Date: March 9, 2020 at 2:05:16 PM EDT
      To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn
      (USANYS)" <SCrowley@usa.doj.gov>
      Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224
      (AJN)


      ﻿


      From: Goretti Moya <gmoya@sdreporters.com>
      Sent: Monday, March 9, 2020 2:05 PM
      To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
      Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)




          From: DeLuca, Michael (USANYS) [Contractor] <Michael.DeLuca@usdoj.gov>
          Sent: Monday, March 09, 2020 10:43 AM
          To: Info <Info@sdreporters.com>; reporters <reporters@sdreporters.com>
          Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

          Good morning – We have a time-sensitive request for this morning’s transcript in the
          ongoing trial in front of Judge Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
          (AJN). We are requesting a copy of this morning’s transcript (from before the jury
          entered the courtroom) as soon as possible, and will pay any fees associated with the
          expedited request.

          Could you please let me know when we would be able to get this? I’m sorry for the
          urgent request and I appreciate your help.

          Thank you,
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 Michael

 Michael DeLuca
 Paralegal, Terrorism & International Narcotics Unit
 U.S. Attorney’s Office, SDNY
 Desk: (212) 637-2248
 Cell: (646) 265-8172
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 210 of 267




                  EXHIBIT 58
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 211 of 267


From:          DeFilippis, Andrew (USANYS)
To:            Donaleski, Rebekah (USANYS)
Cc:            Crowley, Shawn (USANYS)
Subject:       Draft-Declaration-DeFilippis.docx
Date:          Monday, March 09, 2020 3:19:41 PM
Attachments:   Draft-Declaration-DeFilippis.docx
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                -v.-                                            DECLARATION

 ALI SADR HASHEMI NEJAD,                                        18 CR 224 (ALC)



        Defendant.


               I, ANDREW J. DeFILIPPIS, pursuant to Title 28, United States Code, Section

1746, declare under penalty of perjury:

               1.      I am an attorney admitted to the bar of the State of New York and the bar

of this Court, and one of the Assistant United States Attorneys for the Southern District of New

York previously responsible for this matter.

               2.      From approximately April 2017 through approximately May 2019, I was

one of the Assistant United States Attorneys assigned to this case.

               3.      I have conducted a diligent review of my files (including, but not limited to,

emails, hard copy correspondence, hard copy files, and notes) for any materials reflecting

communications or correspondence between the prosecution team and the U.S. Department of the

Treasury’s Office of Foreign Assets Control (“OFAC”) concerning the issues set forth in the

document marked as Government Exhibit 411. I have located no such materials.

               4.      I do not recall conducting any communications with a representative of

OFAC on this case. The aforementioned search of my files did identify eight email messages (on

which I was copied) in which Special Assistant United States Attorney Garrett Lynch and United

States Attorney Matthew Laroche discussed scheduling a potential call between our team and a



                                                 1
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 213 of 267




representative of OFAC in July 2017. I do not recall, and the emails do not reflect, the intended

subject of the call. It appears from the emails that Special Assistant United States Attorney Lynch

made initial contact with OFAC regarding available times for such a call. It also appears from the

emails that the call did not go forward at the tentatively scheduled time. I do not recall any

subsequent call or communications with OFAC on this case.

               5.     I do not recall, nor have I located any materials that reflect, that I engaged

in any communications with OFAC regarding (1) the disclosure to OFAC set forth in Government

Exhibit 411, (2) any efforts by OFAC to investigate, or take enforcement action against, the

defendant and/or his companies, or (3) any decision by OFAC to decline to investigate, or take

enforcement action against, the defendant and/or his companies.

               6.     I became aware during my involvement in this case that certain entities

relevant to the charged conduct were previously designated by OFAC, but I do not recall having

any communications with OFAC on that issue, nor have I located any materials reflecting such

communications.

                I declare under penalty of perjury that, to the best of my knowledge, the foregoing
information is true and correct.

Dated:         New York, New York
               March 9, 2020

                                                     _________________________________
                                                     Andrew J. DeFilippis
                                                     Assistant United States Attorney




                                                2
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                  EXHIBIT 59
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 215 of 267


From:               Crowley, Shawn (USANYS)
To:                 Strauss, Audrey (USANYS); Bove, Emil (USANYS)
Cc:                 Birger, Laura (USANYS)
Subject:            RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:               Monday, March 09, 2020 3:24:14 PM
Attachments:        127126528741.pdf
                    [280-1] Def resp re brady.pdf


Thanks. Attaching the email chain in which we produce GX 411 (Saturday at 4:04 p.m.) as well as the
letter we filed with Judge Nathan in which we represent that we “made clear that GX 411 was a
newly marked exhibit and that we intended to offer it.”

From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:17 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

I am trying to review this transcript but I think I am missing a document--- our letter to the defense
that the judge views as not fully candid.
Would you pls send?
Thanks.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 2:22 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura (USANYS)
<LBirger@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the AUSAs are
 scrubbing their files and drafting their declarations.



Begin forwarded message:

          From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
          Date: March 9, 2020 at 2:05:16 PM EDT
          To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn (USANYS)"
          <SCrowley@usa.doj.gov>
          Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

      ﻿



      From: Goretti Moya <gmoya@sdreporters.com>
      Sent: Monday, March 9, 2020 2:05 PM
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 216 of 267


 To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
 Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)




 From: DeLuca, Michael (USANYS) [Contractor] <Michael.DeLuca@usdoj.gov>
 Sent: Monday, March 09, 2020 10:43 AM
 To: Info <Info@sdreporters.com>; reporters <reporters@sdreporters.com>
 Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Good morning – We have a time-sensitive request for this morning’s transcript in the
 ongoing trial in front of Judge Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
 (AJN). We are requesting a copy of this morning’s transcript (from before the jury
 entered the courtroom) as soon as possible, and will pay any fees associated with the
 expedited request.

 Could you please let me know when we would be able to get this? I’m sorry for the
 urgent request and I appreciate your help.

 Thank you,
 Michael

 Michael DeLuca
 Paralegal, Terrorism & International Narcotics Unit
 U.S. Attorney’s Office, SDNY
 Desk: (212) 637-2248
 Cell: (646) 265-8172
     Case   1:18-cr-00224-AJN
         Case                  Document
               1:18-cr-00224-AJN        401-3
                                  Document 277 Filed
                                                 Filed02/22/21
                                                       03/08/20 Page
                                                                 Page217
                                                                       1 ofof2267
                                            U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 8, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

       The Court writes in response to the Court’s order from 9:00 this evening. The Government
apologizes for the lack of clarity in its prior email.

         The Government found GX 411 in its emails on Friday night, looked at the Bank-1
subpoena production, and did not find it. The members of the team discussed the document the
next morning and confirmed that it likely had not been produced to the defense previously. The
Government promptly had a paralegal mark it as an exhibit and produced it to the defense along
with other exhibits and 3500 materials. The Government made clear that GX 411 was a newly
marked exhibit and that we intended to offer it, and asked the defense if they would stipulate to
authenticity. Defense counsel responded shortly after the Government provided GX 411 and asked
how long the Government had GX 411, and why they had not previously received it. The
Government responded and explained that we had been aware of the letter since mid-January, and
that, at the time, the Government had mistakenly believed it was part of the discovery in the case.

        When SAUSA Lynch sent what is now GX 411 to the AUSAs in the case in January, the
AUSAs assumed that this was a document that came from this case (specifically, the subpoena to
Bank-1), and that it was therefore a document that had been previously produced to the defense as
part of the Rule 16 discovery. This was an incorrect assumption. The document in fact was
     Case 1:18-cr-00224-AJN
        Case                 Document
             1:18-cr-00224-AJN        401-3
                                Document 277 Filed
                                              Filed02/22/21
                                                    03/08/20 Page
                                                              Page218
                                                                   2 ofof2267
The Honorable Alison J. Nathan, U.S.D.J.
March 8, 2020
Page 2

obtained in an unrelated DANY investigation and was not provided to this Office before January
2020.

                                                    Respectfully submitted,
                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                              By:          /s/
                                                    Jane Kim / Michael Krouse / Stephanie Lake
                                                       Assistant United States Attorneys
                                                    Garrett Lynch
                                                       Special Assistant United States Attorney
                                                    (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
Case
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       1:18-cr-00224-AJNDocument
                         Document401-3
                                   280-1Filed 02/22/21
                                          Filed 03/08/20Page
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          Exhibit B
                  Case
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                                           Document401-3
                                                     280-1Filed 02/22/21
                                                            Filed 03/08/20Page
                                                                           Page220 of18
                                                                                 2 of 267




From:                      Silverman, Nicholas
Sent:                      Sunday, March 8, 2020 1:36 PM
To:                        Kim, Jane (USANYS) 4; Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid
Cc:                        Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                           [Contractor]
Subject:                   RE: U.S. v. Sadr
Attachments:               092-1 2019-02-25 Pretrial Mem 6 - Exhibit A-c2.pdf



Counsel:

     (1) Are there any other documents in the government’s possession that have not been produced?
     (2) Is there any other Brady information in the government’s possession that has not been produced?
     (3) Is there any information in the government’s possession, custody, or control showing OFAC’s response
         to this letter? This is subject to production under Giglio and/or Napue because it would at a minimum
         undermine Ted Kim’s testimony (A) that to his knowledge, nothing relating to this matter was
         investigated by OFAC, (B) that “it matters a lot” if Iranian involvement in a transaction is concealed,
         and (C) that hiding “Iranian connections … would make it very difficult for me to do my job.”
     (4) As we have said, our requests for Brady and Giglio are continuing in nature. I have attached our
         September 2018 letter in case you want a non-exclusive list of examples of the type of information
         covered by Brady and Giglio in this case. Obviously, any information contrary to government witness
         testimony would be another example.
     (5) Regarding the authenticity of GX 411, we stipulate to authenticity.
     (6) GX 704 – Please let us know what modifications have been made.
     (7) GX 495A, 495B – What is the relevance of Sadr having bank accounts at HSBX from January 2010
         through October 2013?
     (8) GX 456 – We are reviewing and anticipate stipulating to authenticity.
     (9) GX 705A & 705B – We are reviewing.
     (10)         GX 2304A – Subject to our continuing objection (which we understand to have been overruled),
         no further objection.


Nicholas P. Silverman
Associate
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notify the sender immediately by reply e-mail and then delete this message.




From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Sunday, March 8, 2020 9:41 AM

                                                                             1
              Case
               Case1:18-cr-00224-AJN
                     1:18-cr-00224-AJNDocument
                                       Document401-3
                                                 280-1Filed 02/22/21
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To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian, Reid, and Nick:

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.

Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you please let us know
your position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?

Thanks,
Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 10:09 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid
<RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.
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               Case
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                                        Document401-3
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                                                                              4 of 267


Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

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             Case
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   ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
   ‐   3508‐08 – 3500 from today
   ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
       the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
       know how you prefer to proceed.
   ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
       concerns.
   ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
       have any objections.
   ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
       of the data. The content is the same.
   ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
   ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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      Case
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Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

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Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                       September 25, 2018




By Electronic Mail

Andrew DeFilippis
Matthew Laroche
Rebekah Donaleski
Assistant United States Attorneys
Garrett Lynch
Special Assistant United States Attorney
U.S. Attorney’s Office for the
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007

        Re:      United States v. Ali Sadr Hashemi Nejad, No. 18 Cr. 224 (ALC)
                 Request for Discovery, Brady Material, and Particulars

Dear Counsel:

        On behalf of defendant Ali Sadr Hashemi Nejad, we request that the government provide
“open file” discovery in this case, including the prompt production of all of the documents and
other evidence it has obtained in its investigation and all grand jury transcripts, FBI 302s, and
interview memoranda.

        In the event that you elect not to provide “open file” discovery, Sadr respectfully submits
this formal request for discovery in this case, pursuant to the Fifth and Sixth Amendments to the
United States Constitution; Rules 12, 16, and 26.2 of the Federal Rules of Criminal Procedure;
Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
progeny; the Department of Justice’s “Guidance for Prosecutors Regarding Criminal Discovery”;
and the additional authority set forth below.

       We understand that Sadr’s prior counsel at Arnold & Porter made earlier discovery
requests in this matter, including requests in letters and emails dated: March 21, March 25,
     Case
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March 29, April 3, May 15, July 5, July 10, July 26, August 2, August 23, and September 4,
2018. We adopt those requests and ask that you provide any future responsive material directly
to us. Arnold & Porter has provided us with copies of your prior discovery letters and emails
and the discovery productions to date, and we do not need you to reproduce them to us.
Although some of these discovery requests overlap with prior requests by Arnold & Porter, we
submit them to ensure that Sadr has fully protected his rights to discovery and Brady/Giglio
material in this matter.

        Sadr requests that you produce and/or permit him to inspect and copy or photograph the
materials specified below. This request encompasses not only documents1 and information in the
possession, custody, or control of, or that have been reviewed by, the U.S. Attorney’s Office for
the Southern District of New York and the Federal Bureau of Investigation, but also documents
and information in the possession, custody, and control of, or that have been reviewed by, the
Manhattan District Attorney’s Office, and any other federal, state or local agency allied with the
prosecution or involved in any way in investigating the activities alleged in the Indictment or
related conduct. As used in this letter, the words “government” and “you” include your office
and the above-referenced federal, state, or local agencies.

        Sadr requests that the government comply with all of its discovery obligations under
federal law, including, but not limited to, the following:2

I.     Search Warrant Returns

         We request clarification of the government’s position on the discoverability of the data
and documents collected pursuant to search warrants in the investigation. It is our understanding
that the government has produced the full and unfiltered email accounts of Sadr collected
pursuant to search warrants. Arnold & Porter requested the “terabyte” of unfiltered data and
documents from non-Sadr accounts obtained pursuant to search warrants, in an April 3, 2018
letter and an August 2, 2018 email. With respect to that data, it is our understanding that the
government has produced only a subset of materials that it has deemed “pertinent.” We reiterate
Sadr’s request for complete, unfiltered data and documents from all accounts obtained by the


       1
         The word “documents” includes, but is not limited to, all books, papers, letters,
correspondence, reports, memoranda, studies, calendars, appointment books, diaries, notes,
messages, e-mail, text messages, instant messages, other computer facilitated or transmitted
materials, images, photographs, polaroids, information in any computer database, audio and
video tapes, recordings, transcripts, ledgers, printouts, contracts, checks, receipts, and all copies
or portions thereof, and any other written, recorded, or memorialized material of any nature
whatsoever.
       2
        All of these requests are continuing in nature, requiring supplementation in accordance
with Fed. R. Crim. P. 16(c).
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government pursuant to search warrants. If you decline to provide these materials, please
indicate:

       1.      The search terms and/or other filtering process used by the government to identify
the “pertinent” documents from the search warrant returns for the non-Sadr accounts; and

       2.     How the government has satisfied its Brady obligations with respect to the
purportedly non-pertinent data and documents from the search warrant returns for the non-Sadr
accounts.

II.    Statements of the Defendant

        1.      Any written or recorded statements made by Sadr within the possession, custody,
or control of the government, the existence of which is known, or by the exercise of due
diligence may become known, to the government. See Fed. R. Crim. P. 16(a)(1)(B)(i). This
request includes, without limitation:

              a.      All notes, reports, and memoranda summarizing any statement by Sadr to
                      law enforcement officials at the time of his arrest;

              b.      All transcripts and recordings of conversations in which Sadr was a
                      participant;

              c.      All wire and oral communications made by Sadr that were transmitted to
                      or intercepted by, for or on behalf of any government agent or employee
                      or any agency or entity of the U.S. government;

              d.      All written and recorded statements of witnesses that reflect, relate, or
                      incorporate any statements made by Sadr; and

              e.      All other documents that purport to reflect, relate, or incorporate any
                      statements made by Sadr.

       2.      The portion of any written record containing the substance of any oral statement
made by Sadr, whether before or after arrest, in response to interrogation by any person then
known to the defendant to be a government agent. See Fed. R. Crim. P. 16(a)(1)(B)(ii). This
request includes without limitation, all documents, including notes, prepared by any FBI
employee or agent that contain the substance of any relevant statement made by Sadr.

         3.     The substance of any other oral statement made by Sadr, whether before or after
arrest, in response to interrogation by any person then known by Sadr to be a government agent.
See Fed. R. Crim. P. 16(a)(1)(A).
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III.    Documents and Tangible Objects

         1.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that were obtained from or belong to Sadr, or that belonged to Sadr
at the time of the alleged offenses, or that belong or belonged to any agent of Sadr or any entity
allegedly owned or controlled by Sadr. See Fed. R. Crim. P. 16(a)(1)(E)(iii). This request
includes all documents as to which the government or any entity assigned Sadr as a custodian,
whether hard copy or electronic records.

        2.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that the government intends to use at trial in its case-in-chief. See
Fed. R. Crim. P. 16(a)(1)(E)(ii). We request that any materials in this category be specifically
identified from among the materials produced pursuant to the defendant’s other Rule 16 and
Brady requests, both to enable counsel to prepare effectively for trial and to afford Sadr an
opportunity to move to suppress any evidence the prosecution intends to use in its case-in-chief.
See Fed. R. Crim. P. 12(b)(3)(C) and 12(b)(4)(B).

        3.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that are material to the preparation of Sadr’s defense, see Fed. R.
Crim. P. 16(a)(l)(E)(i), including, but not limited to, those items set forth in paragraphs III.4 to
III.14 below.

        4.     All documents reflecting the alleged specific “international financial transactions”
at issue in Count Two of the indictment. Indictment ¶ 19.

       5.     All documents reflecting the alleged “financial transactions” at issue in Counts
Three and Four of the indictment. Indictment ¶¶ 23, 26.

        6.     All documents reflecting the alleged false and fraudulent pretenses,
representations and promises at issue in Counts Three and Four of the indictment. Indictment
¶¶ 23, 26.

       7.     All documents reflecting the alleged monetary transactions and transfers at issue
in Counts Five and Six of the indictment. Indictment ¶¶ 29, 32.

        8.      All documents relating to Sadr or the conduct alleged in the indictment that were
introduced as exhibits before the grand jury. We request that any materials in this category be
specifically identified from among the materials produced pursuant to the defendant’s other Rule
16 and Brady requests.

       9.      All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by or for the grand jury or pursuant to any grand jury or trial subpoena. This request
includes any documents furnished informally to prosecutors in lieu of formal compliance with a
subpoena.
      Case
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       10.     All documents relating to Sadr or the conduct alleged in the indictment obtained
from any witness who testified before the grand jury, or who was interviewed or consulted
during the course of the grand jury investigation.

       11.    All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by any search or seizure pursuant to a search warrant or otherwise.

       12.    All documents relating to Sadr or the conduct alleged in the indictment obtained
from any federal, state or local governmental, regulatory or legislative body or agency.

        13.     All documents relating to press releases or press conferences concerning Sadr or
the investigation of the defendant, and all other documents relating to any contacts between the
government and representatives of the media concerning Sadr or the investigation of the
defendant.

       14.   All documents relating to the reputation of Sadr, including, without limitation,
any documents relating to Sadr’s reputation for honesty, integrity, or competence.

IV.    Brady and Giglio Material

       Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, including Giglio v.
United States, 405 U.S. 150 (1972), United States v. Agurs, 427 U.S. 97 (1976), United States v.
Bagley, 473 U.S. 667 (1985), Kyles v. Whitney, 514 U.S. 419 (1995), and New York Rule of
Professional Conduct 3.8, Sadr requests immediate identification and disclosure of all documents
and information (in whatever form) that are favorable to the defense or that would tend to
exculpate Sadr or mitigate his culpability with respect to the charges in the indictment, that
would tend to impeach any potential witness against Sadr, or that are relevant to the issue of
sentencing, including but not limited to the following:

        1.      Any document or information indicating or tending to establish that any of the
allegations in the indictment are not true.

        2.      Any document or information indicating or tending to establish that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not violate government laws, regulations, standards or established
business practices.

        3.     Any document or information indicating or tending to establish that Sadr believed
that any meeting, conversation, use of words, practice, or conduct that is the subject of the
indictment or forms the basis of the indictment did not constitute a crime.

        4.      Any document or information indicating or tending to establish that any other
person (including but not limited to the alleged co-conspirators) believed that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not constitute a crime.
     Case
      Case1:18-cr-00224-AJN
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        5.      Any documents or information indicating or tending to establish that Sadr did not
instigate, control, authorize, approve, or acquiesce in the practices that are the subject of the
indictment.

        6.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not false.

        7.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not material.

       8.     Any documents or information indicating or tending to establish that a third
person was responsible for the financial transactions at issue in any count of the indictment.

        9.     Any document or information indicating or tending to establish that Sadr engaged
in any conduct that forms the basis of the indictment in reliance upon advice provided by counsel
or accountants.

       10.     Any document or information (in whatever form) that could be used to impeach
any potential government witness, or any person whose statements will be introduced pursuant to
Fed. R. Evid. 801(d)(2)(C), (D), or (E), including but not limited to:

               a.      Any document or information relating to any conviction, arrest, or
                       criminal record of, and any criminal charge brought against, any potential
                       government witness;

               b.      Any document or information relating to promises, consideration, or
                       inducements made to any potential government witness, whether directly
                       to the witness or indirectly to the witness’ attorney, friends, family,
                       employer, business associates, or other culpable or at risk third-party.
                       “Consideration” means anything of value or use, including immunity
                       grants, whether formal or informal, witness fees, transportation or
                       relocation assistance, money, dropped or reduced charges or suggestions
                       of favorable treatment with respect to any federal, state or local criminal,
                       civil, or administrative matter, expectations of downward departures or
                       motions for reduction of sentence, considerations regarding forfeiture of
                       assets, or stays of deportation or other immigration status considerations;

               c.      Any document or information tending to show the bias of a potential
                       government witness, including animosity toward Sadr, animosity toward
                       any group or entity of which Sadr is a member or with which Sadr is
                       affiliated, a relationship with the alleged victim, or known but uncharged
                       criminal conduct that may provide an incentive to curry favor with a
                       prosecutor;

               d.      Any document or information affecting the reliability of a potential
                       government witness’s testimony, including known alcohol or substance
     Case
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                      abuse, mental health issues or other issues that could affect the witness’s
                      ability to perceive and recall events;

               e.     Any document or information relating to any inconsistency in statements
                      given by any potential government witness;

               f.     Any document or information relating to any inconsistency between
                      agents’ and/or prosecutors’ rough notes and FBI 302s or other memoranda
                      of interviews of any potential government witness;

               g.     Any document or information bearing adversely on the character or
                      reputation for truthfulness of any potential government witness; and

               h.     Each specific instance of conduct from which it could be inferred that any
                      potential government witness is untruthful.

        11.     The date of and participants in each and every interview (including not only
interviews conducted by the U.S. Attorney’s Office or the Manhattan District Attorney’s Office,
but also interviews conducted by third parties), debriefing, “queen for a day” session, proffer,
deposition, or other statement or description of the alleged facts made by each potential
government witness (whether directly or indirectly, such as a proffer made by counsel). In
addition, please specify, as to each such witness, the first date on which the witness made any
allegation that Sadr engaged in any allegedly unlawful conduct or any conduct alleged in the
indictment.

         As you are aware, New York has adopted Rule of Professional Conduct 3.8, entitled
“Special Responsibilities of Prosecutors and Other Government Lawyers,” which provides that a
prosecutor “shall make timely disclosure to [the defense] of evidence or information known to
the prosecutor or other government lawyer that tends to negate the guilt of the accused, mitigate
the degree of the offense, or reduce the sentence . . . .” Rule 3.8(b). The Supreme Court has
recognized that Rule 3.8 imposes a higher standard on prosecutors than the standards mandating
disclosure of exculpatory evidence under Brady. See Kyles, 514 U.S. at 437 (“[Brady] requires
less of the prosecution than the ABA Standards for Criminal Justice, which call generally for
prosecutorial disclosures of any evidence tending to exculpate or mitigate.”); ABA Standards for
Criminal Justice, Prosecution Function and Defense Function 3-3.11(a) (3d ed. 1993) (“A
prosecutor should not intentionally fail to make timely disclosure to the defense, at the earliest
feasible opportunity, of the existence of all evidence or information which tends to negate the
guilt of the accused or mitigate the offense charged or which would tend to reduce the
punishment of the accused”); ABA Model Rule of Professional Conduct 3.8(d) (1984) (“The
prosecutor in a criminal case shall . . . make timely disclosure to the defense of all evidence or
information known to the prosecutor that tends to negate the guilt of the accused or mitigates the
offense”).

       We contend that the foregoing categories of information constitute Brady and Rule 3.8(b)
material, and that disclosure should take place immediately. Sadr further requests that the
      Case
       Case1:18-cr-00224-AJN
        Case 1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN  Document401-3
                                Document 92-1 Filed
                                        280-1  Filed02/22/21
                                                     02/25/19 Page
                                                     03/08/20  Page231
                                                                    9 ofof
                                                                    13 of14267
                                                                           18

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government identify with particularity and provide copies of all materials that qualify as Brady
and Rule 3.8 material, as described above. Please advise us promptly whether the government
will be producing Brady material immediately even if it is contained in what might otherwise be
considered as Jencks material, or whether you take the position that you are not obligated to
produce such material at this time.

       We also request the underlying source material for any Brady and Rule 3.8(d)
information, as opposed to any summary letter or paraphrased description of the information.
Please advise us promptly whether the government will not be producing underlying source
material.

       For purposes of the Brady doctrine, “the format of the information does not determine
whether it is discoverable.” U.S. Attorneys’ Manual § 9-5.002.B.5 (2018). For example,
material exculpatory information that is provided “during a conversation with an agent or a
witness is no less discoverable than if that same information were contained in an email.” Id.
We therefore request that all such information be memorialized and produced to Sadr.

V.     Purportedly Privileged Material

        Sadr specifically requests that the government produce all documents or information (in
whatever form) produced to the government—or over which the government otherwise has
custody, control, or possession—that are responsive to Sadr’s discovery and Brady/Giglio
requests contained herein or that the government would otherwise be legally required to produce,
over which any individual or entity has asserted the attorney-client privilege and/or the attorney
work product doctrine. This request applies to all such documents produced pursuant to (a) a
non-waiver agreement between any individual or entity and the government, (b) a court order
pursuant to Fed. R. Evid. 502, or (c) a court order concluding that the documents are covered by
the crime-fraud exception to the attorney-client privilege.

        Sadr also requests that you identify any person or entity that has asserted any attorney-
client privilege, work product privilege, common interest privilege, or any other privilege as the
basis for withholding or not producing, in whole or in part, any documents to the government or
the grand jury during the investigation. Sadr further requests that you provide all documents
(including all privilege logs) with respect to the assertion of or challenge to any such claimed
privileges. This request specifically encompasses all pleadings, court orders, correspondence,
and other material related to any grand jury litigation by the government in which it challenged
any assertion of any privilege.

VI.    Criminal Records

       Pursuant to Rule 16(a)(1)(D) of the Federal Rules of Criminal Procedure, Sadr requests
copies of his prior criminal record, if any.
       Case
        Case
        Case1:18-cr-00224-AJN
              1:18-cr-00224-ALCDocument
             1:18-cr-00224-AJN  Document
                                Document401-3
                                          92-1 Filed
                                         280-1  Filed02/22/21
                                                Filed 03/08/20 Page
                                                      02/25/19  Page232
                                                               Page  10 of
                                                                     14of  267
                                                                        of14
                                                                           18

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VII.    Jencks Material

         Pursuant to the Jencks Act, 18 U.S.C. § 3500, and Rule 26.2 of the Federal Rules of
Criminal Procedure, Sadr requests that the government provide a list of the names and addresses
of all witnesses that the government intends to call in its case-in-chief and all statements of those
witnesses in the possession, custody, or control of the government or any other government
entity, including, but not limited to, notes of interviews, FBI 302s, or other summaries prepared
by government attorneys or agents, and grand jury transcripts and any other witness statements.
We request that the government begin providing this material as soon as possible, or in any event
no later than ninety (90) days prior to the start of trial.

VIII. Scientific Evidence

        Pursuant to Rule 16(a)(1)(F) of the Federal Rules of Criminal Procedure, Sadr requests
documentation relating to all requests for, and the results of, physical or mental examinations,
scientific tests, or experiments that were conducted in connection with the investigation of the
charges contained in the indictment. This includes, but is not limited to:

               a.      all forensic examinations of any computer hard drive, handheld cellular
                       telephone or mobile device that Sadr possessed or to which Sadr had
                       access;

               b.      all handwriting exemplars, handwriting samples, handwriting or document
                       analyses, and all documents examined or used in or related to such
                       analyses;

               c.      all fingerprint and palm print exemplars, fingerprint samples,
                       comparisons, and opinions of fingerprint experts, and all documents
                       examined or used in connection with, or that relate to, those opinions; and

               d.      all polygraph examinations, psychological stress examinations, hypnotic
                       procedures, or any other scientific procedures devised to determine
                       whether a subject is telling the truth, or to refresh a witness’ memory, and
                       all documents that refer or relate to such examinations.

IX.     Other Crimes Evidence

        Pursuant to the Fifth and Sixth Amendments to the United States Constitution and Rules
403 and 404(b)(2) of the Federal Rules of Evidence, Sadr requests that the government disclose
all evidence of similar crimes, wrongs, or acts, allegedly committed by Sadr (or any person
alleged to have been acting pursuant to his instructions), upon which the government intends to
rely on at trial.
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
                                                    02/25/19  Page233
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                                                                   15of  267
                                                                      of14
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X.     Suppression Issues

      1.      As a predicate to potential motions pursuant to Rule 12(b) of the Federal Rules Of
Criminal Procedure, see Rule 12(b)(4)(B), Sadr requests that he be informed:

              a.      Whether the government intends to offer into evidence any statement
                      made by Sadr or any family member, and the substance of any such
                      statement;

              b.      Whether any evidence in the government’s possession, custody, or control
                      was obtained by a search and seizure conducted by the government, and a
                      description of such evidence;

              c.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through electronic or mechanical surveillance, including
                      without limitation, wiretaps, body wires, pen registers, and/or surveillance
                      of telephone calls, and a description of such evidence;

              d.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through the use of a beeper or other tracking device, and a
                      description of such evidence;

              e.      In connection with any tape recording, wiretaps, or other surveillance of
                      the defendant during the investigation of the allegations of the indictment
                      or any related allegations, Sadr seeks:

                       i.    The names and addresses of all such persons whose personal or
                             business telephones the government tapped or monitored, or whose
                             conversations or actions the government monitored by other means
                             without the person’s knowledge;

                      ii.    Transcripts or other records of the statements or conversations
                             monitored;

                     iii.    The original recorded tapes created during such surveillance;

                     iv.     The procedures used to conduct such surveillance; and

                      v.     The authority under which such surveillance was conducted.

              f.      Whether any evidence in the government's possession, custody, or control
                      was obtained through a mail cover and/or trash cover and a description of
                      such evidence; and

              g.      The identities of any informant or undercover agent employed by the
                      government during its investigation of the charges of the indictment.
       Case
        Case
        Case1:18-cr-00224-AJN
              1:18-cr-00224-ALCDocument
             1:18-cr-00224-AJN  Document
                                Document401-3
                                          92-1 Filed
                                         280-1  Filed02/22/21
                                                Filed 03/08/20 Page
                                                      02/25/19  Page234
                                                               Page  12 of
                                                                     16of  267
                                                                        of14
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        2.       Sadr requests that the prosecution disclose whether it intends to offer in its case-
in-chief, as a statement by the defendant, any of the following, and that it provide the substance
of any such statement:

               a.      Any statement as to which the defendant allegedly manifested his adoption
                       or belief in its truth. See Fed. R. Evid. 801(d)(2)(B).

               b.      Any statement made by another which was purportedly authorized by the
                       defendant. See Fed. R. Evid. 801(d)(2)(C).

               c.      Any statement made by an agent or servant of the defendant concerning a
                       matter within the scope of his agency or employment made during the
                       existence of such a relationship. See Fed. R. Evid. 801(d)(2)(D).

               d.      Any statement made by an alleged co-conspirator of the defendant during
                       the course and in furtherance of any alleged conspiracy. See Fed. R.
                       Evid. 801(d)(2)(E).

XI.     Hearsay

       Sadr requests notice of any hearsay statement that the government plans to offer at trial
under Federal Rule of Evidence 807, including its particulars, the declarant’s name and address,
and other information giving Sadr a fair opportunity to meet the statement. Fed. R. Evid. 807(b).

XII.    Charts and Summaries

        Pursuant to Fed. R. Evid. 1006, Sadr requests that he be advised whether the government
will seek to offer any chart, summary, or calculation in evidence and, if so, (1) that all such
charts, summaries, and calculations be produced, and (2) that all writings, recordings, or other
information on which such charts, summaries, or calculations are based be made available for
inspection and copying.

XIII. Electronically Stored Information

       Sadr requests that the government comply with the “Recommendations for Electronically
Stored Information (ESI) Discovery Production in Federal Criminal Cases” issued by the
Department of Justice and Administrative Office of the U.S. Courts Joint Working Group on
Electronic Technology in the Criminal Justice System in February 2012. To that end, Sadr
requests the ability to “meet and confer” with the government as needed to discuss the nature,
volume, and mechanics of the government’s production of ESI discovery. Among other things,
Sadr makes the following requests:

        1.     The government should produce ESI received from third parties in the format it
               was received. However, if the government has further processed ESI received
               from third parties, such as by adding load files, converting native files to TIFF
               images, extracting metadata or other coding, or making electronic files
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
                                                    02/25/19  Page235
                                                             Page  13 of
                                                                   17of  267
                                                                      of14
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              searchable, the government should produce such enhanced ESI in discovery to
              save Sadr the expense of replicating this work. Sadr does not seek any
              government attorney work product by this request.

       2.     The government should produce a table of contents describing the general
              categories of information available as ESI discovery in order to expedite Sadr’s
              review of discovery and avoid discovery disputes, unnecessary expense, and
              undue delay. Further, the government should produce the cover letters that
              accompanied and described the third party productions of ESI and other
              documents to facilitate Sadr’s review.

       3.     For all ESI produced from a seized, searched, or subpoenaed third-party digital
              device (e.g., computer, hard drive, thumb drive, CD, DVD, cell phone,
              Blackberry, iPhone, Android, smart phone, smart watch, or personal digital
              assistant), the government should identify the digital device that held the ESI,
              identify the device’s owner or custodian, and identify the location where the
              device was seized, searched, or from where it was produced.

       4.     The government should produce any materials received in paper form in
              converted digital files that can be viewed and searched. These materials should
              be produced in multi-page TIFF and OCR format where each document is one file
              that may have multiple pages. Alternatively, a less preferable option would be
              production in multi-page, searchable PDF format. Under no circumstances should
              paper materials be converted into single-page TIFF images without document
              breaks.

       5.     All production of ESI should maintain parent-child relationships between
              documents, such as where an email (the parent document) has attachments (the
              child documents).

XIV. Bill of Particulars

       We also adopt Arnold & Porter’s August 23, 2018 letter requesting a bill of particulars
regarding the allegations in the indictment. We need specification of those allegations in the
indictment to permit Sadr to prepare to defend the charges against him. Please advise us whether
the government will provide the requested information so that we can determine whether it will
be necessary to move for a bill of particulars under Federal Rule of Criminal Procedure 7(f).
     Case
      Case
      Case1:18-cr-00224-AJN
            1:18-cr-00224-ALCDocument
           1:18-cr-00224-AJN  Document
                              Document401-3
                                        92-1 Filed
                                       280-1  Filed02/22/21
                                              Filed 03/08/20 Page
                                                    02/25/19  Page236
                                                             Page  14 of
                                                                   18of  267
                                                                      of14
                                                                         18

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       Please let us know promptly whether there are any requests set forth in this letter with
which you decline to comply. We are available to discuss any of the foregoing requests at your
convenience. We reserve the right to supplement these requests as we continue to review the
discovery material and prepare for trial. Thank you for your consideration.

                                            Sincerely,



                                            Brian M. Heberlig
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 237 of 267




                  EXHIBIT 60
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 238 of 267


From:          Crowley, Shawn (USANYS)
To:            Laroche, Matthew (USANYS); Denton, David (USANYS); Donaleski, Rebekah (USANYS)
Cc:            Bove, Emil (USANYS)
Subject:       FW: GX 411 (002).pdf
Date:          Monday, March 09, 2020 3:33:58 PM
Attachments:   GX 411 (002).pdf
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 239 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 240 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 241 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 242 of 267
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Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 249 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 250 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 251 of 267




                  EXHIBIT 61
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 252 of 267


From:          Crowley, Shawn (USANYS)
To:            Laroche, Matthew (USANYS); Denton, David (USANYS); Lake, Stephanie (USANYS); Krouse, Michael (USANYS);
               Kim, Jane (USANYS) 4; Garrett Lynch; DeFilippis, Andrew (USANYS)
Subject:       Draft-Declaration-Template.docx
Date:          Monday, March 09, 2020 3:38:06 PM
Attachments:   Draft-Declaration-Template.docx
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 253 of 267




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                -v.-                                           DECLARATION

 ALI SADR HASHEMI NEJAD,                                       18 CR 224 (ALC)



         Defendant.


               I, , pursuant to Title 28, United States Code, Section 1746, declare under penalty

of perjury:

               1.      I am an attorney admitted to the bar of the State of New York and the bar

of this Court, and one of the Assistant United States Attorneys for the Southern District of New

York previously responsible for this matter.

               2.      From approximately XX through approximately XX, I was one of the

Assistant United States Attorneys assigned to this case.

               I declare under penalty of perjury that, to the best of my knowledge, the foregoing
information is true and correct.

Dated:         New York, New York
               March 9, 2020

                                                     _________________________________
                                                     Andrew J. DeFilippis
                                                     Assistant United States Attorney




                                                1
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                  EXHIBIT 62
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 255 of 267


From:            Crowley, Shawn (USANYS)
To:              Lynch, Garrett
Subject:         RE: Draft-Declaration-Template.docx
Date:            Monday, March 09, 2020 3:44:18 PM


Can you call my desk? 212-637-1034


From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Monday, March 09, 2020 3:43 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: RE: Draft-Declaration-Template.docx

Shawn, we’ve spoken to four out of the five other people who ever touched this case. They’re all
over the place (including Ireland), and only one still works here (but is out of the office). Can I
represent in my declaration that we spoke with them?


From: Crowley, Shawn (USANYS) [mailto:Shawn.Crowley@usdoj.gov]
Sent: Monday, March 9, 2020 3:38 PM
To: Laroche, Matthew (USANYS) <Matthew.Laroche@usdoj.gov>; Denton, David (USANYS)
<David.Denton@usdoj.gov>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse,
Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>;
Lynch, Garrett <LynchG@dany.nyc.gov>; DeFilippis, Andrew (USANYS)
<Andrew.DeFilippis@usdoj.gov>
Subject: Draft-Declaration-Template.docx




This email communication and any files transmitted with it contain privileged and confidential
information from the New York County District Attorney's Office and are intended solely for
the use of the individuals or entity to whom it has been addressed. If you are not the intended
recipient, you are hereby notified that any dissemination or copying of this email is strictly
prohibited. If you have received this email in error, please delete it and notify the sender by
return email.
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                  EXHIBIT 63
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 257 of 267


From:             Crowley, Shawn (USANYS)
To:               Strauss, Audrey (USANYS)
Subject:          RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:             Monday, March 09, 2020 3:49:25 PM
Attachments:      18cr224 Order 3.08.20.pdf
                  18cr224 Order 3.9.20.pdf


Here is the order referred to in the letter (3.08.20), and the subsequent order asking us to be
prepared to explain how we made clear that GX 411 had been newly marked (3.9.20).


From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:47 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Pls also send the court’s order referred to in letter you just sent.
Thanks


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 3:24 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Thanks. Attaching the email chain in which we produce GX 411 (Saturday at 4:04 p.m.) as well as the
letter we filed with Judge Nathan in which we represent that we “made clear that GX 411 was a
newly marked exhibit and that we intended to offer it.”


From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:17 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

I am trying to review this transcript but I think I am missing a document--- our letter to the defense
that the judge views as not fully candid.
Would you pls send?
Thanks.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 2:22 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura (USANYS)
<LBirger@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 258 of 267


﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the AUSAs are
 scrubbing their files and drafting their declarations.



Begin forwarded message:

          From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
          Date: March 9, 2020 at 2:05:16 PM EDT
          To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn (USANYS)"
          <SCrowley@usa.doj.gov>
          Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

      ﻿



          From: Goretti Moya <gmoya@sdreporters.com>
          Sent: Monday, March 9, 2020 2:05 PM
          To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
          Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)




          From: DeLuca, Michael (USANYS) [Contractor] <Michael.DeLuca@usdoj.gov>
          Sent: Monday, March 09, 2020 10:43 AM
          To: Info <Info@sdreporters.com>; reporters <reporters@sdreporters.com>
          Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

          Good morning – We have a time-sensitive request for this morning’s transcript in the
          ongoing trial in front of Judge Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
          (AJN). We are requesting a copy of this morning’s transcript (from before the jury
          entered the courtroom) as soon as possible, and will pay any fees associated with the
          expedited request.

          Could you please let me know when we would be able to get this? I’m sorry for the
          urgent request and I appreciate your help.

          Thank you,
          Michael

          Michael DeLuca
          Paralegal, Terrorism & International Narcotics Unit
          U.S. Attorney’s Office, SDNY
          Desk: (212) 637-2248
          Cell: (646) 265-8172
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 259 of 267




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 United States of America,

                –v–
                                                                    18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                        ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       The parties shall be ready to begin today, March 9, 2020, at 8:30 a.m. The Government

shall be prepared to discuss, among other matters, its representation to the Court (in response to

the Court’s March 8, 2020 Order) that it “made clear” in its March 7 correspondence with Mr.

Sadr’s counsel “that GX 411 was a newly marked exhibit.” See Dkt. No. 277.

       SO ORDERED.


Dated: March ___9___, 2020
       New York, New York


                                                ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 260 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 261 of 267
Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 262 of 267




                  EXHIBIT 64
    Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 263 of 267


From:              Denton, David (USANYS)
To:                Crowley, Shawn (USANYS); Bove, Emil (USANYS)
Subject:           RE: Draft-Declaration-Template.docx
Date:              Monday, March 09, 2020 3:59:33 PM
Attachments:       2020.03.09 Denton Sadr Declaration.docx


See if this does the trick.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 3:38 PM
To: Laroche, Matthew (USANYS) <MLaroche@usa.doj.gov>; Denton, David (USANYS)
<DDenton@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Krouse, Michael
(USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Garrett Lynch
<LynchG@dany.nyc.gov>; DeFilippis, Andrew (USANYS) <ADeFilippis@usa.doj.gov>
Subject: Draft-Declaration-Template.docx
     Case 1:18-cr-00224-AJN Document 401-3 Filed 02/22/21 Page 264 of 267




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                -v.-                                           DECLARATION

 ALI SADR HASHEMI NEJAD,                                       18 CR 224 (AJN)



         Defendant.


               I, , pursuant to Title 28, United States Code, Section 1746, declare under penalty

of perjury:

               1.      I am an attorney admitted to the bar of the State of New York and the bar

of this Court, and one of the Assistant United States Attorneys for the Southern District of New

York previously responsible for this matter.

               2.      From approximately June 25, 2019 through approximately August 30, 2019,

I was one of the Assistant United States Attorneys assigned to this case.

               3.      On this date, March 9, 2020, I have reviewed the document marked for

identification as Government Exhibit 411, consisting of a letter from Commerzbank AG to the

Department of the Treasury, Office of Foreign Assets Control (“OFAC”) dated June 16, 2011. To

the best of my recollection, I have not seen this document prior to today. I first learned of the

existence of this document and of its general content yesterday, March 8, 2020, during a casual

conversation with one of the Assistant United States Attorneys currently responsible for handling

this matter.

               4.      During the course of my participation in this matter, I communicated with

OFAC representatives on approximately twelve occasions via email and phone.                    My



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communications with OFAC pertained solely to securing (1) the testimony of an OFAC witness at

trial in this matter regarding the applicable Iranian sanctions regulations, and (2) formal

documentation of the fact that the defendant and any entities related to the conduct charged in this

case had not been licensed by OFAC to engage in transactions through the United States for the

benefit of Iran. My involvement with the case ended before any formal list of the relevant entities

had been transmitted to OFAC for a “license check.”

               5.       I did not learn, at any point during my involvement with the case or any of

my communications with OFAC, anything about the status or existence of any OFAC

investigation, inquiry, subpoena, enforcement action, or other matter related to the defendant, his

family, or any entity associated with the defendant or his family. On the contrary, during my

communications with OFAC, I gave a brief description of the charges against the defendant in

order to assist OFAC in identifying an OFAC official with appropriate expertise to testify as a

witness in this case.     It was my understanding that the OFAC personnel with whom I

communicated were not familiar with the case beyond the brief description that I provided.

               I declare under penalty of perjury that, to the best of my knowledge, the foregoing

information is true and correct.


Dated:         New York, New York
               March 9, 2020

                                                      _________________________________
                                                      David W. Denton, Jr.
                                                      Assistant United States Attorney




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                  EXHIBIT 65
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From:             Kim, Jane (USANYS) 4
To:               Kaveh.Miremadi@treasury.gov
Cc:               Bove, Emil (USANYS); MariaHelene.VanWagenberg@treasury.gov; Jacqueline.Brewer@treasury.gov; Lake,
                  Stephanie (USANYS); Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch, Garrett (USANYS) [Contractor];
                  Crowley, Shawn (USANYS)
Subject:          Re: Time Sensitive Question
Date:             Monday, March 09, 2020 4:06:51 PM


Kaveh, just tried your cell. Please let me know when you’re free to talk. Thanks.

On Mar 9, 2020, at 10:50 AM, "Kaveh.Miremadi@treasury.gov"
<Kaveh.Miremadi@treasury.gov> wrote:


        Cell: 202-746-4485


        From: Bove, Emil (USANYS) <Emil.Bove@usdoj.gov>
        Sent: Monday, March 9, 2020 10:25 AM
        To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
        Cc: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg, Maria-Helene
        <MariaHelene.VanWagenberg@treasury.gov>; Brewer, Jacqueline
        <Jacqueline.Brewer@treasury.gov>; Lake, Stephanie (USANYS)
        <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
        <Michael.Krouse@usdoj.gov>; LynchG@dany.nyc.gov; Lynch, Garrett (USANYS)
        [Contractor] <Garrett.Lynch@usdoj.gov>; Crowley, Shawn (USANYS)
        <Shawn.Crowley@usdoj.gov>
        Subject: Re: Time Sensitive Question


        ** Caution: External email. Pay attention to suspicious links and attachments.
        Send suspicious email to suspect@treasury.gov **




        Hi Kaveh, what number can we reach you at?

        On Mar 9, 2020, at 10:04 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

              I don’t. I’m adding my Chiefs to this chain.

              On Mar 9, 2020, at 9:23 AM, "Kaveh.Miremadi@treasury.gov"
              <Kaveh.Miremadi@treasury.gov> wrote:

                     Hi Jane,

                     Do you know who or what division in OFAC this letter was
